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 8
                              UNITED STATES BANKRUPTCY COURT
 9
                 CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
10

11       In re                                              Case No. 8:21-bk-11352-TA
12                                                          Chapter 7
         DON TERUO KOJIMA
13       SUSAN LORRAINE KOJIMA,                             TRUSTEE’S MOTION: (1) TO APPROVE
                                                            SETTLEMENT AGREEMENT WITH
14                                                          CHASE MILES KAUFMAN, MICHAEL
                       Debtors.                             GARRISON, AND ZACHARY POWERS,
15                                                          AND (2) FOR TURNOVER OF ALL
                                                            CLIENT DOCUMENTS FROM THE LAW
16                                                          OFFICE OF ROSS L. HOLLENKAMP;
                                                            MEMORANDUM OF POINTS AND
17                                                          AUTHORITIES; DECLARATION OF
                                                            RICHARD A. MARSHACK IN SUPPORT
18
                                                            Date: December 20, 2022
19                                                          Time: 11:00 a.m.
                                                            Ctrm: 5B1
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27   Judge Albert’s hearings continue to be conducted using ZoomGov audio and video but hearing participants have the
   option of appearing in person. If a hearing participant wishes to appear in person advance notice will be required.
28 Instructions for a moving party to provide advance notice can be found under the Judge Albert’s Self-Calendaring
   section of his webpage.
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 1 TO THE HONORABLE THEODOR C. ALBERT, UNITED STATES BANKRUPTCY JUDGE,

 2 THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:

 3            Richard A. Marshack, in his capacity as Chapter 7 Trustee (“Trustee”) of the Bankruptcy
 4 Estate (“Estate”) of Don Teruo Kojima and Susan Lorraine Kojima (“Debtors”), respectfully files

 5 this motion (1) to approve the settlement agreement between Trustee, on the one hand, and Chase

 6 Miles Kaufman, Michael Garrison, and Zachary Powers (collectively, “KGP”), on the other hand,

 7 and (2) for turnover of all client documents from the Law Office of Ross L. Hollenkamp, and

 8 respectfully represents as follows:

 9 1.         Summary of Argument
10            A bankruptcy trustee’s proposed compromise should be approved if it is in the best interest
11 of the estate and is “fair and equitable” for creditors. Wells Fargo Bank, N.A. v. Guy F. Atkinson Co.

12 (In re Guy F. Atkinson Co.), 242 B.R 497, 502 (B.A.P. 9th Cir. 1999). In this case, Trustee has

13 determined that the Estate’s avoidance claims are in conflict with alleged claims asserted by the

14 Estate’s largest creditors, KGP. If the priority of the claims were litigated and the Trustee were to

15 lose, the Estate would not obtain any further recoveries. On the other hand, if the priority claims

16 were litigated and the Trustee were to prevail, then the dividends to creditors would be diluted with

17 administrative expenses arising from such litigation. Rather than litigating against the creditors,

18 Trustee has entered a proposed agreement to work with them. The proposed agreement provides that

19 the Estate’s claims will take priority over the creditors’ competing claims and also provides for a

20 reduction of their asserted claims and for such reduced claims to be subordinated until other allowed

21 unsecured claims receive a priority 75% distribution. This Court must determine whether to approve

22 Trustee’s proposed agreement as being a proper exercise of business judgment designed to create a

23 larger estate for creditors and to provide for priority distributions to all other allowed unsecured

24 creditors.

25 2.         Factual Background
26            A.      Bankruptcy Case
27            On May 26, 2021, Debtors filed a voluntary petition for bankruptcy under Chapter 11 of Title

28 11 of the United States Code, commencing Case No. 8:21-bk-11352-TA (“Bankruptcy Case”). A
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 1 true and correct copy of the CM/ECF Docket in the Bankruptcy Case is attached to the Declaration

 2 of Richard A. Marshack (“Marshack Declaration”) as Exhibit 1.

 3            On June 16, 2021, Debtors filed their schedules and statement of financial affairs. Docket
 4 No. 30. A true and correct copy of Debtors’ Schedule A/B is attached to the Marshack Declaration

 5 as Exhibit 2. Debtors scheduled, among other things, a 66.6% interest in Kojima Development

 6 Company, LLC (defined above as “KDC”). Marshack Decl. Ex. 2 at 61.

 7            On November 11, 2021, KGP filed a “Stipulation Re: Relief from Automatic Stay to Proceed
 8 with State Court Litigation,” regarding Garrison et al. v. Kojima et al., San Bernardino County

 9 Superior Court (“SBSC”) Case No. CIVDS2001906 (“SBSC Action”). Docket No. 106.

10            On November 16, 2021, the Court entered an “Order Approving Stipulation Re: Relief from
11 the Automatic Stay to Proceed with State Court Litigation” (“SBSC Stipulation Order”). A true and

12 correct copy of the SBSC Stipulation Order is attached to the Marshack Declaration as Exhibit 3.

13            On February 28, 2022, KGP filed a “Complaint for: (1) Determination that Debt Is Non-
14 Dischargeable Pursuant to 11 U.S.C. § 523; and (2) Denial of Debtors’ Discharge Pursuant to 11

15 U.S.C. § 727” (“KGP 523/727 Complaint”), commencing Kaufman et al. v. Kojima et al., Adversary

16 Proceeding No. 8:22-ap-01026-TA (“KGP 523/727 Action”). A true and correct copy of the KGP

17 523/727 Complaint is attached to the Marshack Declaration as Exhibit 4. Broadly speaking, the

18 KGP 523/727 Complaint alleges that Debtors and their son, Cameron Kojima, defrauded KGP by

19 inducing them to invest collectively more than $1,000,000 for a real estate development project in

20 Adelanto, California, and usurped, misappropriated, and embezzled the funds.

21            On March 23, 2022, Debtors filed a “Motion for Order: (1) Approving the Sale of Real
22 Property of the Estate Free and Clear of Liens, Claims, and Interests Pursuant to 11 U.S.C. § 363 . .

23 .” (“Sale Motion”) regarding 7 Shoreridge, Newport Coast, California 92657 (“Shoreridge

24 Property”). Docket No. 192. On April 13, 2022, the Court entered an order granting the Sale Motion.

25 Docket No. 220.

26            On April 12, 2022, Debtors filed an “Application of Debtors and Debtors-in-Possession for
27 Authority to Employ the Law Office of Ross L. Hollenkamp as Special Litigation Counsel,”

28 regarding the SBSC Action and the KGP 523/727 Action. Docket No. 217. On May 10, 2022, the
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 1 Court entered an “Order Granting Application of Debtors and Debtors-in-Possession for Authority to

 2 Employ the Law Office of Ross L. Hollenkamp as Special Litigation Counsel.” Docket No. 242.

 3            On June 22, 2022, as Docket No. 261, Debtors filed a motion to convert the Bankruptcy Case
 4 to Chapter 7. On June 27, 2022, the Court entered an order converting the case to Chapter 7. Docket

 5 No. 263.

 6            On June 29, 2022, Trustee filed his notice of appointment. Docket No. 265.
 7            On July 15, 2022, Trustee filed an “Application by Chapter 7 Trustee to Employ Hahn Fife &
 8 Company LLP as Accountant,” which the Court approved by order entered on August 10, 2022.

 9 Docket Nos. 271, 285.

10            On July 28, 2022, Trustee filed an “Application by Chapter 7 Trustee to Employ Marshack
11 Hays LLP as General Counsel” (“MH Employment Application”). Docket No. 277. On September

12 15, 2022, the Court entered an order granting the MH Employment Application. Docket No. 305.

13            B.      SBSC Action
14            On January 22, 2020, KGP filed a “Complaint for Damages and Equitable Relief: 1. Fraud
15 2. Breach of Fiduciary Duty and Confidence 3. Accounting 4. Unfair Competition, Constructive

16 Trust and Restitution/Disgorgement 5. Conspiracy to Breach Fiduciary Duty 6. Intentional

17 Interference with Economic Advantage and Business Opportunities 7. Wrongful Conversion 8.

18 Declaratory Relief” against Cameron Kojima, Donald Teruo Kojima, Susan Kojima, and Does, in

19 the SBSC Action.

20            On May 3, 2022, KGP filed a “First Amended Complaint for: (1) Fraud (2) Breach of
21 Fiduciary Duty (3) Accounting (4) Unfair Competition, Constructive Trust, and

22 Restitution/Disgorgement (5) Conspiracy to Breach Fiduciary Duty (6) Intentional Interference with

23 Economic Advantage and Business Opportunities (7) Conversion (8) Declaratory Relief (9)

24 Violation of Penal Code § 496” (“SBSC FAC”) against Cameron Kojima, Donald Teruo Kojima,

25 Susan Kojima, several business entities, and Does, which is now the operative complaint in the

26 SBSC Action. A true and correct copy of the SBSC FAC is attached to the Marshack Declaration as

27 Exhibit 5.

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 1            In the SBSC Action, KGP contends that it is entitled to, inter alia: (a) an order that the
 2 “Adelanto Entities”2 are a single enterprise in which KGP is the majority stakeholder; (b) a

 3 constructive trust over all of the assets of the Adelanto Entities; (c) general damages in an amount of

 4 at least $5 million; (d) punitive and exemplary damages; (e) pre-judgment interest; and (f) attorneys’

 5 fees and costs. If it prevailed on all its claims, KGP contends that it would be the sole owner of the

 6 Adelanto Entities and its ownership of real property which would constitute a recovery in excess of

 7 $15 million.

 8            To date, the SBSC Action is pending and is not stayed. A true and correct copy of the docket
 9 in the SBSC Action is attached to the Marshack Declaration as Exhibit 6.

10            KGP contends that its rights to recover the assets of the Adelanto Entities including their
11 ownership of real property would take precedence over the Estate’s rights to avoid and recover

12 transfers made by the Debtor and their entities. Specifically, KGP asserts that they were defrauded

13 into investing into the Debtor and its entities. As a result, the assets acquired by the entities were

14 held in constructive or resulting trusts for their benefit. If successful, Trustee’s claims to avoid

15 transfers of the debtors interests in property would be negatively affected.

16            C.      Claims Against the Estate
17            In the Bankruptcy Case, 23 proofs of claims have been filed against the Estate. A true and
18 correct copy of the claims register in the Bankruptcy Case is attached to the Marshack Declaration as

19 Exhibit 7. The claims include $8,276,884.67 of secured claims and $700,175.62 of priority claims.

20 Marshack Decl. Ex. 7 at 147. KGP each filed a proof of claim asserting a $14,600,000 unsecured

21 claim. Id. at 146. Not including the $8,276,884.67 of secured claims (the secured claims against the

22 house have been paid), and KGP’s claims, there are $976,575.29 of unsecured claims against the

23 Estate.

24            There are also Chapter 11 administrative claims for capital gains and Debtor’s counsel.
25

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27  The Adelanto Entities are multiple business entities, consisting of Apollo Cultivation Management,
   LLC; Cameron Ranch Adelanto Partners, LLC; Dionysus Cultivation Partners, I, LLC; Dionysus
28 Cultivation Partners, II, LLC; Dionysus Cultivation Partners, III, LLC; Mitsui Adelanto Partners;
   and Apollo Management. See Marshack Decl. Ex. 4 at 75 (KGP 523/727 Complaint, ¶ 29 & n.1).
                                              5
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 1            D.          Settlement Agreement
 2            Trustee and KGP have executed an agreement (“Agreement”), to resolve: (a) the competing
 3 claims of the Estate and those held by KGP against the Debtors and other Defendants as set forth in

 4 the SBSC Action, (b) the allowance and partially subordinate priority of claims held by KGP against

 5 the Estate, and (c) other issues related to Debtors’ Bankruptcy Case. A true and correct copy of the

 6 Agreement is attached to the Marshack Declaration as Exhibit 8.

 7            The Agreement contains the following terms (among others):
 8            1) Within five business days after entry of an Order approving the Settlement Agreement,
 9                    Trustee shall file a motion to substantively consolidate the Debtors and Kojima
10                    Development Company, LLC (“KDC”) (“Substantive Consolidation Motion”). The
11                    granting of the Substantive Consolidation Motion is not a condition to the effectiveness
12                    of this agreement.
13            2) Trustee shall investigate and, if appropriate, file one or more actions to avoid and recover
14                    any pre-petition transfers of the interests of the Debtors and KDC in property including,
15                    but not limited to, transfers relating to their interests in the Adelanto Entities (and/or the
16                    property owned by those entities) to Debtors’ son, Cameron Kojima, CK Development
17                    Associates, LLC, and one or more of the Adelanto Entities or other entities controlled by
18                    and/or affiliated with the Debtors (“Fraudulent Transfer Actions”). For the avoidance of
19                    doubt, “Fraudulent Transfer Actions” may include actions to determine that no such
20                    transfers actually took place. Nothing herein binds Trustee to administer any property or
21                    prosecute the Fraudulent Transfer Actions. However, if Trustee determines that he will
22                    not prosecute all or some of the potential Fraudulent Transfer Actions, Trustee shall
23                    assign them to KGP for their own benefit.
24            3) KGP shall dismiss without prejudice the Debtors and the Debtors’ Estate from the State
25                    Court Action and shall seek to stay the State Court Action against all non-debtor
26                    defendants therein, including KDC. Except as expressly provided in paragraph 6 hereof,
27                    KGP shall not prosecute any claims or causes of action or seek any judgment or remedies
28                    that directly or indirectly affect the Estate’s rights and claims, including Trustee’s efforts
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 1                    to seek substantive consolidation or prosecute the Fraudulent Transfer Actions. The
 2                    Parties will use their best efforts to resolve informally any disputes regarding whether
 3                    KGP’s efforts conflict with Trustee’s claims. To the extent any dispute cannot be
 4                    resolved informally, the bankruptcy court shall have the sole and exclusive jurisdiction to
 5                    resolve any such dispute. KGP hereby irrevocably offers to assign its claims to Trustee.
 6                    The assignment by KGP to the Trustee shall be deemed effective upon written notice by
 7                    the Trustee of acceptance of such assignment. Following such assignment, KGP’s
 8                    aforementoned claims shall be prosecuted by the Estate, with recoveries to be distributed
 9                    as set forth in paragraph 6 below.
10            4) Trustee shall file an application to employ Elkins Kalt as special litigation counsel for the
11                    purpose of objecting to Debtors’ discharge under 11 U.S.C. § 727 (“Objection to
12                    Discharge”). The granting of this application is not a condition of this agreement. Subject
13                    to approval of the Bankruptcy Court, Elkins Kalt shall be entitled to a Chapter 7
14                    administrative claim against the Estate for its allowed fees and costs related to the
15                    Objection to Discharge. Trustee has requested and Elkins Kalt has agreed that the
16                    Estate’s responsibility for its fees will be capped at a reduced blended hourly rate of $350
17                    per hour. Elkins Kalt retains the right to seek compensation from KGP for the difference
18                    between its regular hourly rates and this capped blended hourly rate. Trustee shall be the
19                    sole plaintiff in such action and shall retain all decision-making authority. If the
20                    application to employ Elkins Kalt is denied, Trustee will retain alternate counsel.
21            5) The Parties acknowledge that KGP’s and Trustee’s claims may conflict in that they both
22                    seek to recover property transferred to or assets held by the Adelanto Entities. Based on
23                    these conflicting theories as to ownership or claims to the entities and their assets,
24                    Trustee and KGP agree that recovery on claims currently held by either shall constitute
25                    property of the Estate. If requested by Trustee, KGP’s counsel shall provide assistance to
26                    Trustee, including serving as special litigation counsel (on terms mutually acceptable to
27                    the Trustee and Elkins Kalt), to prosecute or jointly prosecute all such litigation claims.
28                    Subject to bankruptcy court approval, Elkins Kalt shall be entitled to an administrative
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 1                    claim at their regular hourly rates for all such services. Lastly, Trustee contends that some
 2                    or all of KGP’s claims may be subject to subordination under Section 510; KGP
 3                    disagrees with the Trustee’s contention. To resolve such claims and as additional
 4                    consideration given in support of this Agreement, the Parties agree that distributions by
 5                    Trustee to allowed claims will be as follows:
 6                       a. Allowed Chapter 7 Administrative Claims to be paid in full. Notwithstanding ¶ 7
 7                           of the Agreement, KGP shall be responsible for and must pay all fees and
 8                           expenses associated with the 4.7 Acre Parcel including all allowed Chapter 7
 9                           administrative claims. Trustee’s compensation shall be calculated at 4% of the
10                           value of such property on the date of recovery if title is recovered and delivered to
11                           KGP.
12                       b. Allowed Chapter 11 Administrative Claims, including any capital gains taxes
13                           arising from Debtors’ sale of their residence, to be paid in full.
14                       c. Trustee and KGP shall each retain standing to respond to any applications for
15                           allowance of fees and costs including any application by former counsel for the
16                           Debtors, Winthrop Golubow Hollander, LLP, or any other Chapter 11
17                           professionals.
18                       d. Allowed Priority Claims to be paid in full.
19                       e. Allowed Unsecured Claims (other than KGP) – to be paid 75% of their allowed
20                           amounts.
21                       f. KGP shall have an allowed claim of $6.98 million, which claim will be partially
22                           subordinated to the extent necessary for other allowed unsecured claims to be paid
23                           as set forth above. After other allowed unsecured claims have received
24                           distributions equal to 75% of their allowed amounts, KGP shall be entitled to pro
25                           rata distributions along with all other unsecured creditors based on their reduced,
26                           unpaid balances.
27            6) To the extent recovered as a result of the Fraudulent Transfer Actions or otherwise, title
28                    to the 4.7 acres (parcel number 3129-261-27 Cameron Ranch Adelanto Partners “4.7
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 1                    Acre Parcel”), shall be vested in KGP. Nothing in this Agreement shall limit Trustee’s
 2                    ability to settle any claim or dispute regarding the 4.7 Acre Parcel in a manner that does
 3                    not include a transfer or recovery of real property. To the extent Trustee’s settles claims
 4                    relating to the 4.7 Acre Parcel, all cash or other consideration attributable to the 4.7 Acre
 5                    Parcel, less allowed Chapter 7 administrative claims relating to such property, shall be
 6                    paid to KGP. To the extent that KGP does not agree to a cash settlement of claims
 7                    relating to the 4.7 Acre Parcel, the Trustee shall promptly abandon or assign such claims
 8                    to KGP. After any abandonment or assignment of claims, KGP’s liability to pay allowed
 9                    Chapter 7 administrative claims including compensation to Trustee (calculated at a
10                    reduced 2% of the value of the property to the extent recovered or of the value of any
11                    settlement) shall remain payable. KGP’s allowed unsecured claim of $6.98 million shall
12                    not be offset or diminished by the transfer of the 4.7 Acre Parcel (or the cash or other
13                    consideration attributable to the 4.7 Acre Parcel) to KGP and, instead, shall be deemed to
14                    be additional consideration to KGP.
15            7) Trustee and KGP shall each retain standing to object to the allowance of any claim
16                    regardless of priority. KGP shall retain standing to object to any compromise proposed by
17                    Trustee that results in the allowance of any unsecured claim.
18            8) Except as set forth in the Settlement Agreement, the Parties shall exchange mutual and
19                    general releases including 1542 waivers. Trustee’s agreement to exchange such releases
20                    is dependent upon KGP’s representations that they have not received any transfers of
21                    property from Debtors.
22            9) Trustee’s motion for approval of the Settlement Agreement shall seek confirmation by
23                    the bankruptcy court that Ross Hollenkamp’s services to the Estate terminated upon
24                    conversion to Chapter 7. Trustee shall also seek turnover of all client documents in Mr.
25                    Hollenkamp’s possession including attorney-client communications. Trustee retains the
26                    privilege and decision whether to retain or waive such privilege.
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 1    3.      Legal Argument
 2            A.       The Agreement is in the best interest of creditors and the Estate for
 3            purposes of Rule 9019.
 4            Under Rule 9019 of the Federal Rules of Bankruptcy Procedure (“FRBP”), the court may
 5 approve a compromise or settlement on motion by the trustee. Fed. R. Bankr. P. 9019. A

 6 compromise should be approved if it is in the best interest of the estate and is “fair and equitable” for

 7 the creditors. Wells Fargo Bank, N.A. v. Guy F. Atkinson Co. (In re Guy F. Atkinson Co.), 242 B.R.

 8 497, 502 (B.A.P. 9th Cir. 1999) (“At its base, the approval of a settlement turns on the question of

 9 whether the compromise is in the best interest of the estate.”); Burton v. Ulrich (In re Schmitt), 215

10 B.R. 417, 424 (B.A.P. 9th Cir. 1997). “In determining the fairness, reasonableness and adequacy of a

11 proposed settlement agreement, the court must consider:

12            (a)      the probability of success of the litigation;
13            (b)      the difficulties, if any, to be encountered in the matter of collection;
14            (c)      the complexity of the litigation involved, and the expense, inconvenience and delay
15                     necessarily attending it; [and]
16            (d)      the paramount interest of the creditors and a proper deference to their reasonable
17                     views in the premises.”
18 In re A & C Properties, 784 F.2d 1377, 1380-81 (9th Cir. 1986); United States v. Edwards, 595 F.3d

19 1004, 1012 (9th Cir. 2010) (same).

20            Each factor supports approval of the Agreement.
21                    i.      Probability of Success in Litigation
22            The Agreement provides for payment of administrative expenses and a 75% distribution to
23 general unsecured creditors, after which the general unsecured creditors will receive a pro rata

24 distribution on their reduced claims with KGP’s reduced $6.98 million claim. KGP will dismiss

25 without prejudice Debtors and the Estate from the SBSC Action and shall seek to stay the SBSC

26 Action against all non-debtor defendants therein. KGP has further agreed to irrevocably assign their

27 litigation claims to Trustee, who will then seek to prosecute the claims, with recoveries to be

28 distributed as set forth in the Agreement.
                                            10
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 1            Achieving the results in the Agreement would require Trustee to object to KGP’s claims
 2 based on a theory of subordination under 11 U.S.C. § 510, which would likely be contentious. The

 3 basis of the subordination claims would be that KGP was investing into Debtors and their entities.

 4 As such, under Section 510, their claims should be subordinated to other creditors.

 5            Further, without the Agreement, KGP might oppose Trustee’s motion to substantively
 6 consolidate the Estate with KDC, and they may compete with Trustee the same assets sought in

 7 Trustee’s action(s) to avoid and recover any pre-petition transfers of the interests of Debtors and

 8 KDC in property.

 9            Lastly, the Agreement provides for a 75% priority distribution to general unsecured claims
10 other than KGP, followed by a pro rata distribution between general unsecured claims and KGP’s

11 reduced $6.98 million claim. Although Trustee believes he can subordinate the entire amount of

12 KGP’s claims, achieving a 75% priority distribution in favor of all other unsecured creditors without

13 incurring substantial administrative expenses provides a tremendous benefit. This factor supports

14 granting the Motion.

15                    ii.   Difficulties in Collection
16            Absent approval of the Agreement, collection will be difficult. Trustee would have to file a
17 substantive consolidation motion, which KGP may oppose, and Trustee’s prosecution of the

18 avoidance and recovery actions described in the Agreement would create a race to the courthouse

19 between Trustee and KGP given that some of the same assets may be sought.

20            The Agreement addresses all of these issues by providing for Trustee’s filing of a substantive
21 consolidation motion, Trustee’s filing of fraudulent transfer actions, KGP’s dismissal of Debtor and

22 the Estate from the SBSC Action and stay of the SBSC Action against all non-debtor defendants,

23 and KGP’s assignment to Trustee of its litigation claims for prosecution and recovery by the Estate.

24 The Agreement, in fact, provides that “Trustee and KGP agree that recovery on claims currently held

25 by either shall constitute property of the Estate.”

26            The Agreement resolves difficulties in collection, and this factor weighs in favor of its
27 approval.

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 1                    iii.   Complexity, Expense, Inconvenience, and Delay of the Litigation
 2            If the Agreement is not approved, Trustee will have to seek substantive consolidation and
 3 prosecute fraudulent transfer and § 727 claims without KGP’s cooperation. Trustee would further

 4 have to object to KGP’s $14.6 million claims based on a § 510 subordination theory. This litigation

 5 would be costly and time-consuming, especially if KGP opposed any of it, and the claim objections

 6 may not even succeed.

 7            The Agreement provides that Trustee shall seek substantive consolidation of Debtors’ Estate
 8 and KDC, and that Trustee shall investigate and, if appropriate, file avoidance and recovery claims

 9 regarding any pre-petition transfers of interests of Debtors and KDC in property. The Agreement

10 further provides for partial subordination and reduction of KGP’s claim (from $14.6 million to $6.98

11 million), without the need for a complex § 510 claim objection.

12            The Agreement reduces the complexity, expense, inconvenience, and delay of litigation and
13 administration of the Estate, and this factor supports its approval.

14                    iv.    Paramount Interest of Creditors
15            Under the Agreement, Trustee will prosecute any avoidance and recovery actions, without
16 competition with KGP for the same assets. Trustee will further be assigned KGP’s litigation claims

17 for prosecution and recovery by the Estate. And, Trustee will seek to consolidate Debtors’ Estate

18 with KDC, which may result in the addition of further assets to the Estate that can be used to satisfy

19 creditor claims.

20            The Agreement provides for all allowed Chapter 7 and Chapter 11 administrative claims to
21 be paid in full, and it imposes the expenses regarding the 4.7 Acre Parcel on KGP. The Agreement

22 further provides for payment in full of allowed priority claims, and 75% distribution on allowed

23 unsecured claims. After the 75% distribution, KGP shall be entitled to pro rata distributions on a

24 reduced claim of $6.98 million along with all other unsecured creditors based on their reduced,

25 unpaid balances.

26            The Agreement has the added benefit to creditors of Trustee’s prosecution of a § 727 action
27 against Debtors, where Trustee’s proposed special litigation counsel, Elkins Kalt, has agreed to a

28 reduced blended hourly rate of $350/hour. KGP have further agreed to pay amounts in excess of the
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 1 $350/hour blended rate being paid by the Estate. If Trustee prevails in the § 727 action, not only will

 2 creditors receive the above distribution in the Bankruptcy Case, but they will be able to seek further

 3 collection post-bankruptcy with regard to any unpaid balances owed on account of their claims.

 4            The Agreement, which provides for a 75% recovery for allowed general unsecured claims
 5 before any distribution to KGP, as well as Trustee’s prosecution of a denial-of-discharge action, is in

 6 the best interest of creditors. And, because the Agreement is in the best interest of creditors and the

 7 Estate, Trustee requests that the Court enter an order approving the Agreement in its entirety.

 8            B.      Trustee requests an order requiring the Law Office of Ross L.
 9                    Hollenkamp to Turn Over Debtors’ Client Files.
10            Upon conversion of a bankruptcy case from Chapter 11 to Chapter 7, the employment of
11 professionals on behalf of the bankruptcy estate terminates. See, e.g., In re McInerney, 528 B.R. 684,

12 690 (Bankr. E.D. Mich. 2014) (noting that after conversion from Chapter 11 to Chapter 7, the trustee

13 chose not to employ a Chapter 11 professional to represent him in prosecuting an action, and thus the

14 professional’s representation of the bankruptcy estate was terminated).

15            Upon the filing of a bankruptcy petition, all of a debtor’s legal or equitable interests in
16 property became property of the bankruptcy estate, including the debtor’s interest in litigation,

17 contracts, work product, client files, etc. See 11 U.S.C. § 541. Trustee is the sole and exclusive

18 representative of the Estate, and he is charged with the duty of identifying and collecting property of

19 the Estate. See 11 U.S.C. §§ 323, 704.

20            All client papers and property, including but not limited to correspondence, pleadings,
21 deposition transcripts, exhibits, physical evidence, expert’s reports, retainer agreements, e-mails,

22 texts, any electronically stored information, work product, and other items related to the Debtors

23 constitute property of the Estate. See 11 U.S.C. §§ 541-542. Section 542(e) expressly includes client

24 files in the possession of Debtors’ former counsel as property that must be turned over, subject to

25 any applicable privilege.

26            Here, the Chapter 11 Debtors employed the Law Office of Ross L. Hollenkamp
27 (“Hollenkamp Firm”) to represent them in the SBSC Action and the KGP 523/727 Action. Docket

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 1 Nos. 217, 242. Now that the Hollenkamp Firm’s representation of the Estate has been terminated,

 2 Trustee seeks turnover of the Hollenkamp Firm’s client files from the representation.

 3            Upon Trustee’s demand, the Hollenkamp Firm is also required to turn over all work product.
 4 “The work product doctrine pertains to materials prepared by an attorney in preparation for litigation

 5 when the materials are sought by an adversary of the attorney’s client. Fed. R. Civ. P.

 6 26(b)(3) speaks of “documents and tangible things . . . . prepared in anticipation of litigation or for

 7 trial by or for another party or by or for that other party's representative . . . .” (emphasis

 8 added). Thus, the work product doctrine does not apply to the situation in which a client seeks access

 9 to documents or other tangible things created or amassed by his attorney during the course of the

10 representation. Spivey v. Zant, 683 F.2d 881, 885 (5th Cir. 1982), cert. denied, Spivey v.

11 Georgia, 469 U.S. 1132, 83 L. Ed. 2d 809, 105 S. Ct. 816 (1985). The reasoning of the Spivey court

12 is apparent and speaks for itself.” Roberts v. Heim, 123 F.R.D. 614, 631 (N.D. Cal. 1988).

13    4.      Conclusion
14            Based on the foregoing, Trustee respectfully requests that the Court enter an order:
15            1.      Granting the Motion;
16            2.      Approving the Agreement attached to the Marshack Declaration as Exhibit 8;
17            3.      Requiring KGP to dismiss without prejudice Debtors and Debtors’ Estate from the
18 SBSC Action and to seek to stay the SBSC Action against all non-debtor defendant therein,

19 including KDC;

20            4.      Confirming that any litigation claims by KGP against Debtors or the Estate, including
21 the claims set forth in the SBSC Action, are irrevocably assigned to the Estate, and that Trustee shall

22 have the right to prosecute the claims on behalf of the Estate, with the recoveries to be distributed as

23 set forth in the Agreement;

24            5.      Authorizing the distribution scheme set forth in Paragraph 6 of the Agreement;
25            6.      Allowing title to the 4.7 Acre Parcel to vest in KGP to the extent recovered as a result
26 of the Fraudulent Transfer Actions or otherwise, and requiring KGP to pay all fees and expenses

27 associated with the 4.7 Acre Parcel, including all allowed Chapter 7 administrative claims, and

28 Trustee’s compensation calculated at 4% of the value of such property on the date of recovery if title
                                            14
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 1 is recovered and delivered to KGP;

 2            7.      Confirming that the Hollenkamp Firm’s services to the Estate terminated upon
 3 conversion to Chapter 7;

 4            8.      Ordering the Hollenkamp Firm to turn over to Trustee all client documents of Debtors
 5 and the Estate in its possession, including attorney-client communications, within 14 days after entry

 6 of the order granting the Motion; and

 7            9.      For such other and further relief as the Court deems just and proper under the
 8 circumstances of this case.

 9
     Dated: November 29, 2022                         Respectfully submitted,
10

11                                                    MARSHACK HAYS LLP
                                                      By: /s/ D. Edward Hays
12                                                        D. EDWARD HAYS
                                                          LAILA MASUD
13                                                        BRADFORD N. BARNHARDT
                                                          Attorneys for Chapter 7 Trustee,
14
                                                          RICHARD A. MARSHACK
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 1                                 Declaration of Richard A. Marshack
 2            I, RICHARD A. MARSHACK, say and declare as follows:
 3            1.      I am an individual over 18 years of age and competent to make this declaration.
 4            2.      If called upon to do so, I could and would competently testify as to the facts set forth
 5 in this Declaration. The facts set forth below are true of my personal knowledge.

 6            3.      I am the duly appointed, qualified, and acting Chapter 7 Trustee for the bankruptcy
 7 estate (“Estate”) of Don Teruo Kojima and Susan Lorraine Kojima (“Debtors”).

 8            4.      I make this Declaration in support of the Motion (1) To Approve Settlement
 9 Agreement with Chase Miles Kaufman, Michael Garrison, and Zachary Powers, and (2) for

10 Turnover of All Client Documents from Ross Hollenkamp (“Motion”).

11            5.      All terms not otherwise defined herein are used as they are defined in the Motion.
12            6.      A true and correct copy of the CM/ECF Docket in the Bankruptcy Case is attached as
13 Exhibit 1.

14            7.      A true and correct copy of Debtors’ Schedule A/B is attached as Exhibit 2.
15            8.      A true and correct copy of the SBSC Stipulation Order is attached as Exhibit 3.
16            9.      A true and correct copy of the KGP 523/727 Complaint is attached as Exhibit 4.
17            10.     A true and correct copy of the SBSC FAC is attached as Exhibit 5.
18            11.     A true and correct copy of the docket in the SBSC Action is attached as Exhibit 6.
19            12.     A true and correct copy of the claims register in the Bankruptcy Case is attached as
20 Exhibit 7.

21            13.     I have entered an agreement (“Agreement”) with KGP, to resolve: (a) the competing
22 claims of the Estate and those held by KGP against the Debtors and other Defendants as set forth in

23 the SBSC Action, (b) the allowance and partially subordinate priority of claims held by KGP against

24 the Estate, and (c) other issues related to Debtors’ Bankruptcy Case. A true and correct copy of the

25 Agreement is attached as Exhibit 8.

26            14.     Prior to entering the Agreement, my counsel and I thoroughly investigated KGP’s
27 claims including their contentions that their claims would take priority over my ability to prosecute

28 avoidance actions for the benefit of the estate. While I do not necessarily agree with their
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 1 contentions, litigation would be time-consuming and expensive. Moreover, if I did not prevail, the

 2 Estate would not obtain any additional recoveries. On the other hand, under the Agreement, the

 3 Estate’s litigation claims take precedence over KGP’s claims and KGP is reducing its claims by

 4 approximately one-half and subordinating them to permit me to make 75% distributions to all other

 5 allowed unsecured claims before they receive any dividends. In exchange for these concessions,

 6 KGP will be entitled to a 4.7 acre parcel of real property if recovered or all such settlement proceeds.

 7 On the other hand, the Estate obtains full recovery of the other two parcels of property at issue which

 8 are an approximate 40 acre and an approximate 2 acre parcel.
 9            15.     I believe, in my business judgment, that approval of the Agreement is in the best
10 interest of creditors and the Estate.

11            16.     The Agreement is the result of several months of intensive negotiation between
12 myself and KGP. I believe that the terms of the Agreement are fair and equitable and in the best

13 interests of all creditors of the Estate.

14            17.     I therefore request that the Court enter an order approving the Agreement in its
15 entirety.

16            I declare under penalty of perjury that the foregoing is true and correct. E
                                                                                         Executed on
17 November 29, 2022.

18                                                          RICHARD A.
                                                                    A MARSHACK
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        MOTION TO APPROVE SETTLEMENT AGREEMENT AND FOR TURNOVER OF CLIENT DOCUMENTS
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11/29/22, 5:10 PM                                              CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)

                                                                                                 Incomplete, 727OBJ, CONVERTED


                                                   U.S. Bankruptcy Court
                                          Central District of California (Santa Ana)
                                          Bankruptcy Petition #: 8:21-bk-11352-TA
                                                                                                                 Date filed:   05/26/2021
 Assigned to: Theodor Albert                                                                              Date converted:      06/27/2022
 Chapter 7                                                                                                   341 meeting:      11/29/2022
                                                                                                Deadline for filing claims:    11/14/2022
 Previous chapter 11
                                                                                     Deadline for objecting to discharge:      10/03/2022
 Original chapter 11                                                            Deadline for financial mgmt. course (db):      10/03/2022
 Voluntary                                                                      Deadline for financial mgmt. course (jdb):     10/03/2022
 Asset



 Debtor                                                                           represented by Ryan A Baggs
 Don Teruo Kojima                                                                                Winthrop Golubow Hollander, LLP
 26 Enchanted                                                                                    1301 Dove St, Ste 500
 Irvine, CA 92620                                                                                Newport Beach, CA 92660
 ORANGE-CA                                                                                       949-720-4100
 SSN / ITIN: xxx-xx-0263                                                                         Fax : 949-720-4111
                                                                                                 Email: rabaggs@michaelbest.com

                                                                                                     Richard H Golubow
                                                                                                     Winthrop Golubow Hollander, LLP
                                                                                                     1301 Dove Street, Suite 500
                                                                                                     Newport Beach, CA 92660
                                                                                                     949-720-4100
                                                                                                     Fax : 949-720-4111
                                                                                                     Email: rgolubow@wghlawyers.com

                                                                                                     Ross L Hollenkamp
                                                                                                     Desert Legal Aid, Inc.
                                                                                                     423 N. Palm Canyon Dr.
                                                                                                     Palm Springs
                                                                                                     Palm Springs, CA 92262
                                                                                                     760-832-9770
                                                                                                     Fax : 760-832-9769
                                                                                                     Email: rlh@hollenkamplaw.com

                                                                                                     Peter W Lianides
                                                                                                     Winthrop Golubow Hollander, LLP
                                                                                                     1301 Dove Street, Suite 500
                                                                                                     Newport Beach, CA 92660
                                                                                                     949-720-4100
                                                                                                     Fax : 949-720-4111
                                                                                                     Email: plianides@wghlawyers.com

 Joint Debtor                                                                     represented by Ryan A Baggs
 Susan Lorraine Kojima                                                                           (See above for address)
 26 Enchanted
 Irvine, CA 92620                                                                                    Richard H Golubow
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                                     1/40


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 ORANGE-CA                                                                                           (See above for address)
 SSN / ITIN: xxx-xx-8758
                                                                                                     Ross L Hollenkamp
                                                                                                     (See above for address)

                                                                                                     Peter W Lianides
                                                                                                     (See above for address)

 Trustee
 CASE REOP/CONV/OR CLOSED WITHOUT A
 TRUSTEE
 TERMINATED: 06/28/2022

 Trustee                                                                          represented by D Edward Hays
 Richard A Marshack (TR)                                                                         Marshack Hays LLP
 Marshack Hays LLP                                                                               870 Roosevelt Ave
 870 Roosevelt                                                                                   Irvine, CA 92620
 Irvine, CA 92620                                                                                949-333-7777
 949-333-7777                                                                                    Fax : 949-333-7778
                                                                                                 Email: ehays@marshackhays.com

                                                                                                     Laila Masud
                                                                                                     Marshack Hays LLP
                                                                                                     870 Roosevelt
                                                                                                     Irvine, CA 92620
                                                                                                     949-333-777
                                                                                                     Fax : 949-333-7778
                                                                                                     Email: lmasud@marshackhays.com

 U.S. Trustee                                                                     represented by Queenie K Ng
 United States Trustee (SA)                                                                      411 West Fourth St.
 411 W Fourth St., Suite 7160                                                                    Suite 7160
 Santa Ana, CA 92701-4593                                                                        Santa Ana, CA 92701
 (714) 338-3400                                                                                  714-338-3403
                                                                                                 Fax : 714-338-3421
                                                                                                 Email: queenie.k.ng@usdoj.gov


     Filing Date                         #                                                      Docket Text

   05/26/2021                          1                      Chapter 11 Voluntary Petition Individual. Fee Amount $1738 Filed by
                                       (27 pgs; 2 docs)       Don Kojima, Susan Kojima List of Equity Security Holders due
                                                              06/9/2021. Summary of Assets and Liabilities (Form 106Sum or 206Sum )
                                                              due 06/9/2021. Schedule A/B: Property (Form 106A/B or 206A/B) due
                                                              06/9/2021. Schedule C: The Property You Claim as Exempt (Form 106C)
                                                              due 06/9/2021. Schedule D: Creditors Who Have Claims Secured by
                                                              Property (Form 106D or 206D) due 06/9/2021. Schedule E/F: Creditors
                                                              Who Have Unsecured Claims (Form 106E/F or 206E/F) due 06/9/2021.
                                                              Schedule G: Executory Contracts and Unexpired Leases (Form 106G or
                                                              206G) due 06/9/2021. Schedule H: Your Codebtors (Form 106H or 206H)
                                                              due 06/9/2021. Schedule I: Your Income (Form 106I) due 06/9/2021.
                                                              Schedule J: Your Expenses (Form 106J) due 06/9/2021. Declaration About
                                                              an Individual Debtors Schedules (Form 106Dec) due 06/9/2021.
                                                              Declaration Under Penalty of Perjury for Non-Individual Debtors (Form
                                                              202) due 06/9/2021. Statement of Financial Affairs (Form 107 or 207) due

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                               2/40


                                                                                                        EXHIBIT 1, PAGE 19
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11/29/22, 5:10 PM                                              CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)
                                                              06/9/2021. Chapter 11 Statement of Your Current Monthly Income (Form
                                                              122B) Due: 06/9/2021. Incomplete Filings due by 06/9/2021. (Golubow,
                                                              Richard)WARNING: See docket entry no 3 for correction. Debtors'
                                                              middle name updated as reflect the pdf. Case deficient re Declaration Re
                                                              Schedules due 6/9/2021. Statement of Related Cases (LBR Form F1015-2)
                                                              due 6/9/2021. Disclosure of Compensation of Attorney for Debtor (Form
                                                              2030) due 6/9/2021. Declaration by Debtors as to Whether Income was
                                                              Received from an Employer within 60-Days of the Petition Date (LBR
                                                              Form F1002-1) due by 6/9/2021. TERMINATED DEADLINE OF
                                                              DOCUMENT NOT REQUIRED Declaration on Non Individual Schedule;
                                                              Equity Security Holder. Modified on 5/26/2021 (Nguyen, Vi). (Entered:
                                                              05/26/2021)

                                                              Receipt of Voluntary Petition (Chapter 11)( 8:21-bk-11352) [misc,volp11]
                                                              (1738.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount 1738.00.
   05/26/2021                                                 (re: Doc# 1) (U.S. Treasury) (Entered: 05/26/2021)

                                       2                      Statement About Your Social Security Number (Official Form 121) Filed
                                                              by Debtor Don Kojima, Joint Debtor Susan Kojima. (Golubow, Richard)
   05/26/2021                                                 (Entered: 05/26/2021)

                                                              Set Case Commencement Deficiency Deadlines (ccdn) (RE: related
                                                              document(s)1 Voluntary Petition (Chapter 11) filed by Debtor Don Teruo
                                                              Kojima, Joint Debtor Susan Lorraine Kojima) Statement of Related Cases
                                                              (LBR Form F1015-2) due 6/9/2021. Disclosure of Compensation of
                                                              Attorney for Debtor (Form 2030) due 6/9/2021. Declaration by Debtors as
                                                              to Whether Income was Received from an Employer within 60-Days of
                                                              the Petition Date (LBR Form F1002-1) due by 6/9/2021. Incomplete
   05/26/2021                                                 Filings due by 6/9/2021. (Nguyen, Vi) (Entered: 05/26/2021)

                                       3                      Notice to Filer of Correction Made/No Action Required:
                                                              Incorrect/incomplete debtor(s)middle names entered. THE COURT
                                                              HAS CORRECTED THIS INFORMATION. THIS ENTRY IS
                                                              PROVIDED FOR FUTURE REFERENCE. Incorrect schedules
                                                              /statements recorded as deficient. THE PROPER DEFICIENCY HAS
                                                              BEEN ISSUED. (RE: related document(s)1 Voluntary Petition (Chapter
                                                              11) filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine
   05/26/2021                                                 Kojima) (Nguyen, Vi) (Entered: 05/26/2021)

                                       4                      Case Commencement Deficiency Notice (BNC) (RE: related
                                       (1 pg)                 document(s)1 Voluntary Petition (Chapter 11) filed by Debtor Don Teruo
                                                              Kojima, Joint Debtor Susan Lorraine Kojima) (Nguyen, Vi) (Entered:
   05/26/2021                                                 05/26/2021)

                                       5                      Order Setting Scheduling And Case Management Conference (BNC-PDF)
                                       (2 pgs)                (Related Doc # 1 ) Signed on 5/26/2021 (Deramus, Glenda) (Entered:
   05/26/2021                                                 05/26/2021)

                                       6                      Hearing Set (RE: related document(s)1 Voluntary Petition (Chapter 11)
                                                              filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima)
                                                              Status hearing to be held on 6/30/2021 at 10:00 AM at Crtrm 5B, 411 W
                                                              Fourth St., Santa Ana, CA 92701. The case judge is Theodor Albert
   05/26/2021                                                 (Deramus, Glenda) (Entered: 05/26/2021)

   05/27/2021                                                 Notice of Debtor's Prior Filings for joint debtors Don Teruo Kojima and
                                                              Susan Lorraine Kojima Case Number 97-12872, Chapter 11 filed in
                                                              California Central Bankruptcy on 03/03/1997; Case Number 97-12872,

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                                 3/40


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11/29/22, 5:10 PM                                              CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)
                                                              Chapter 11 filed in California Central Bankruptcy on 03/03/1997 ,
                                                              Standard Discharge on 11/03/1998.(Admin) (Entered: 05/27/2021)

                                       7                      Meeting of Creditors 341(a) meeting to be held on 6/30/2021 at 02:00 PM
                                       (3 pgs)                at UST-SA1, TELEPHONIC MEETING. CONFERENCE LINE:1-866-
                                                              919-0527, PARTICIPANT CODE:2240227. Last day to oppose discharge
   05/28/2021                                                 or dischargeability is 8/30/2021. (Le, James) (Entered: 05/28/2021)

                                       8                      BNC Certificate of Notice (RE: related document(s)1 Voluntary Petition
                                       (2 pgs)                (Chapter 11) filed by Debtor Don Teruo Kojima, Joint Debtor Susan
                                                              Lorraine Kojima) No. of Notices: 1. Notice Date 05/28/2021. (Admin.)
   05/28/2021                                                 (Entered: 05/28/2021)

                                       9                      BNC Certificate of Notice (RE: related document(s)4 Case
                                       (2 pgs)                Commencement Deficiency Notice (BNC)) No. of Notices: 1. Notice Date
   05/28/2021                                                 05/28/2021. (Admin.) (Entered: 05/28/2021)

                                       10                     BNC Certificate of Notice - PDF Document. (RE: related document(s)5
                                       (3 pgs)                Order (Generic) (BNC-PDF)) No. of Notices: 1. Notice Date 05/28/2021.
   05/28/2021                                                 (Admin.) (Entered: 05/28/2021)

                                       11                     BNC Certificate of Notice (RE: related document(s)7 Meeting of
                                       (6 pgs)                Creditors Chapter 11 (Individual or Joint Debtors) (309E1)) No. of
   05/30/2021                                                 Notices: 29. Notice Date 05/30/2021. (Admin.) (Entered: 05/30/2021)

                                       12                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Lee,
   06/02/2021                          (1 pg)                 Nancy. (Lee, Nancy) (Entered: 06/02/2021)

                                       13                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Wong,
   06/02/2021                          (1 pg)                 Jennifer. (Wong, Jennifer) (Entered: 06/02/2021)

                                       14                     Request for a Certified Copy Fee Amount $11. (RE: related document(s)1
                                                              Voluntary Petition (Chapter 11) filed by Debtor Don Teruo Kojima, Joint
   06/02/2021                                                 Debtor Susan Lorraine Kojima) (Shimizu, Tina) (Entered: 06/02/2021)

                                                              Receipt of Certification Fee - $11.00 by 12. Receipt Number 80075537.
   06/02/2021                                                 (admin) (Entered: 06/02/2021)

                                                              Receipt of Photocopies Fee - $13.00 by 12. Receipt Number 80075537.
   06/02/2021                                                 (admin) (Entered: 06/02/2021)

                                       15                     Notice of motion and motion for relief from the automatic stay with
                                       (105 pgs)              supporting declarations REAL PROPERTY RE: 7 Shore Ridge, Newport
                                                              Beach, CA 92657-1812 with Proof of Service - Hearing: 6/29/21 at 10:30
                                                              a.m.. Fee Amount $188, Filed by Creditor Cory Meredith (St John, Sarah)
   06/08/2021                                                 (Entered: 06/08/2021)

                                                              Receipt of Motion for Relief from Stay - Real Property( 8:21-bk-11352-
                                                              TA) [motion,nmrp] ( 188.00) Filing Fee. Receipt number AXXXXXXXX. Fee
   06/08/2021                                                 amount 188.00. (re: Doc# 15) (U.S. Treasury) (Entered: 06/08/2021)

   06/08/2021                          16                     Notice Supplemental Notice of Hearing to be Held Remotely Using
                                       (3 pgs)                ZoomGov Audio and Video with Proof of Service - Hearing: 6/29/21 at
                                                              10:30 a.m. Filed by Creditor Cory Meredith (RE: related document(s)15
                                                              Notice of motion and motion for relief from the automatic stay with
                                                              supporting declarations REAL PROPERTY RE: 7 Shore Ridge, Newport
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                                4/40


                                                                                                        EXHIBIT 1, PAGE 21
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                                                              Beach, CA 92657-1812 with Proof of Service - Hearing: 6/29/21 at 10:30
                                                              a.m.. Fee Amount $188, Filed by Creditor Cory Meredith (St John,
                                                              Sarah)). (St John, Sarah) (Entered: 06/08/2021)

                                       17                     Hearing Set (RE: related document(s)15 Motion for Relief from Stay -
                                                              Real Property filed by Creditor Cory Meredith) The Hearing date is set for
                                                              6/29/2021 at 10:30 AM at Crtrm 5B, 411 W Fourth St., Santa Ana, CA
                                                              92701. The case judge is Theodor Albert (Daniels, Sally) (Entered:
   06/08/2021                                                 06/08/2021)

                                       18                     Notice of Appearance Filed by Creditors Zach Powers, Michael Garrison,
   06/09/2021                          (5 pgs)                Chase Kaufman. (Gottfried, Michael) (Entered: 06/09/2021)

                                       19                     Ex parte application Debtors Ex Parte Application For Extension Of Time
                                       (7 pgs)                To File Schedules, Statement Of Financial Affairs, And List Of Executory
                                                              Contracts And Unexpired Leases; Declaration Of Susan Kojima In
                                                              Support Thereof Filed by Debtor Don Teruo Kojima, Joint Debtor Susan
   06/09/2021                                                 Lorraine Kojima (Golubow, Richard) (Entered: 06/09/2021)

                                       20                     ORDER Granting Debtor's Ex Parte Application For Extension Of Time
                                       (2 pgs)                To File Schedules, Statement Of Financial Affairs, And List Of Executory
                                                              Contracts And Unexpired Leases (BNC-PDF) - ORDERED That: 1. The
                                                              Application Is Granted; 2. The Time Within Which The Debtors Have To
                                                              File Their Schedules Is Extended Through And Including June 16, 2021,
                                                              Without Prejudice To The Debtors' Right To Seek Further Extensions Of
                                                              Such Time Period, For Cause Shown. Signed on 6/9/2021. (Deramus,
   06/09/2021                                                 Glenda) (Entered: 06/09/2021)

                                       21                     BNC Certificate of Notice - PDF Document. (RE: related document(s)20
                                       (4 pgs)                ORDER to extend time (Generic Order - No Motion) (BNC-PDF)) No. of
   06/11/2021                                                 Notices: 1. Notice Date 06/11/2021. (Admin.) (Entered: 06/11/2021)

                                       22                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Brown,
   06/15/2021                          (1 pg)                 Ronald. (Brown, Ronald) (Entered: 06/15/2021)

                                       23                     Opposition to (related document(s): 15 Notice of motion and motion for
                                       (19 pgs)               relief from the automatic stay with supporting declarations REAL
                                                              PROPERTY RE: 7 Shore Ridge, Newport Beach, CA 92657-1812 with
                                                              Proof of Service - Hearing: 6/29/21 at 10:30 a.m.. Fee Amount $188, filed
                                                              by Creditor Cory Meredith) Debtors Opposition To Cory Merediths
                                                              Motion For Relief From The Automatic Stay; Declarations Of John
                                                              Mcmonigle, Robert J. White, Richard H. Golubow And Don Kojima Filed
                                                              Separately In Support Hereof Filed by Debtor Don Teruo Kojima, Joint
   06/15/2021                                                 Debtor Susan Lorraine Kojima (Golubow, Richard) (Entered: 06/15/2021)

                                       24                     Objection (related document(s): 15 Notice of motion and motion for relief
                                       (12 pgs)               from the automatic stay with supporting declarations REAL PROPERTY
                                                              RE: 7 Shore Ridge, Newport Beach, CA 92657-1812 with Proof of Service
                                                              - Hearing: 6/29/21 at 10:30 a.m.. Fee Amount $188, filed by Creditor
                                                              Cory Meredith) Evidentiary Objections And Request To Strike From The
                                                              Record Declarations Of Ron Householder, Clarence Yoshikane And Cory
                                                              Meredith In Support Of Cory Merediths Motion For Relief From The
                                                              Automatic Stay Filed by Debtor Don Teruo Kojima, Joint Debtor Susan
   06/15/2021                                                 Lorraine Kojima (Golubow, Richard) (Entered: 06/15/2021)

   06/15/2021                          25                     Declaration re: Declaration Of John McMonigle In Support Of Debtors
                                       (7 pgs)                Opposition To Cory Merediths Motion For Relief From The Automatic

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                                5/40


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                                                              Stay Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine
                                                              Kojima (RE: related document(s)23 Opposition). (Golubow, Richard)
                                                              (Entered: 06/15/2021)

                                       26                     Declaration re: Declaration Of Robert J. White In Support Of Debtors
                                       (9 pgs)                Opposition To Cory Merediths Motion For Relief From The Automatic
                                                              Stay Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine
                                                              Kojima (RE: related document(s)23 Opposition). (Golubow, Richard)
   06/15/2021                                                 (Entered: 06/15/2021)

                                       27                     Declaration re: Declaration Of Richard H. Golubow In Support Of
                                       (31 pgs)               Debtors Opposition To Cory Merediths Motion For Relief From The
                                                              Automatic Stay Filed by Debtor Don Teruo Kojima, Joint Debtor Susan
                                                              Lorraine Kojima (RE: related document(s)23 Opposition). (Golubow,
   06/15/2021                                                 Richard) (Entered: 06/15/2021)

                                       28                     Declaration re: Declaration Of Donald Kojima In Support Of Debtors
                                       (9 pgs)                Opposition To Cory Merediths Motion For Relief From The Automatic
                                                              Stay Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine
                                                              Kojima (RE: related document(s)23 Opposition). (Baggs, Ryan) (Entered:
   06/15/2021                                                 06/15/2021)

                                       29                     Status report Case Status Report Filed by Debtor Don Teruo Kojima, Joint
                                       (8 pgs)                Debtor Susan Lorraine Kojima (RE: related document(s)1 Voluntary
   06/16/2021                                                 Petition (Chapter 11)). (Golubow, Richard) (Entered: 06/16/2021)

                                       30                     List of Creditors (Master Mailing List of Creditors) , Statement of Related
                                       (63 pgs)               Cases (LBR Form 1015-2.1) , Summary of Assets and Liabilities for
                                                              Individual (Official Form 106Sum or 206Sum) , Schedule A/B Individual:
                                                              Property (Official Form 106A/B or 206A/B) , Schedule C: The Property
                                                              You Claimed as Exempt (Official Form 106C) , Schedule D Individual:
                                                              Creditors Who Have Claims Secured by Property (Official Form 106D or
                                                              206D) , Schedule E/F Individual: Creditors Who Have Unsecured Claims
                                                              (Official Form 106F or 206F) , Schedule G Individual: Executory
                                                              Contracts and Unexpired Leases (Official Form 106G or 206G) , Schedule
                                                              H Individual: Your Codebtors (Official Form 106H or 206H) , Schedule I
                                                              Individual: Your Income (Official Form 106I) , Schedule J: Your Expenses
                                                              (Official Form 106J) , Declaration About an Individual Debtor's Schedules
                                                              (Official Form 106Dec) , Statement of Financial Affairs for Individual
                                                              Filing for Bankruptcy (Official Form 107 or 207) , AMENDED Statement
                                                              About Your Social Security Number (Official Form 121), Disclosure of
                                                              Compensation of Attorney for Debtor (Official Form 2030) , Verification
                                                              of Master Mailing List of Creditors (LBR Form F1007-1) Filed by Debtor
                                                              Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima. (Golubow,
                                                              Richard)WARNING: See docket entry # 31 for correction. Additional
   06/16/2021                                                 attachment(s) added on 6/16/2021 (Nguyen, Vi). (Entered: 06/16/2021)

   06/16/2021                          31                     Notice to Filer of Correction Made/No Action Required: The Statement
                                                              About Your Social Security Numbers (Official Form 121) was
                                                              included with the petition or PDF document. To adhere to privacy
                                                              law, you must always file this document separately from the petition
                                                              with its assigned docket event. THE COURT HAS CORRECTED
                                                              THIS INFORMATION. THIS ENTRY IS PROVIDED FOR
                                                              FUTURE REFERENCE. (RE: related document(s)30 List of Creditors
                                                              (Master Mailing List of Creditors) filed by Debtor Don Teruo Kojima,
                                                              Joint Debtor Susan Lorraine Kojima, Statement of Related Cases (LBR
                                                              Form 1015-2.1), Summary of Assets and Liabilities (Official Form
                                                              106Sum or 206Sum), Schedule A/B: Property (Official Form 106A/B or
                                                              206A/B), Schedule C: The Property You Claimed as Exempt (Official
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                                6/40


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                                                              Form 106C), Schedule D: Creditors Who Have Claims Secured by
                                                              Property (Official Form 106D or 206D), Schedule E/F: Creditors Who
                                                              Have Unsecured Claims (Official Form 106F or 206F), Schedule G:
                                                              Executory Contracts and Unexpired Leases (Official Form 106G or
                                                              206G), Schedule H: Your Codebtors (Official Form 106H or 206H),
                                                              Schedule I: Your Income (Official Form 106I), Schedule J: Your Expenses
                                                              (Official Form 106J), Declaration About an Individual Debtor's Schedules
                                                              (Official Form 106Dec), Statement of Financial Affairs (Official Form 107
                                                              or 207) (Official Form 107 or 207), Statement About Your Social Security
                                                              Numbers (Official Form 121) (AMENDED STATEMENT), Disclosure of
                                                              Compensation of Atty for Debtor (Official Form 2030), Verification of
                                                              Master Mailing List of Creditors (LBR F1007-1)) (Nguyen, Vi) (Entered:
                                                              06/16/2021)

                                       32                     Reply to (related document(s): 23 Opposition filed by Debtor Don Teruo
                                       (10 pgs)               Kojima, Joint Debtor Susan Lorraine Kojima) in Support of Secured
                                                              Creditor Cory Meredith's Motion for Relief from the Automatic Stay with
                                                              Proof of Service Filed by Creditor Cory Meredith (St John, Sarah)
   06/22/2021                                                 (Entered: 06/22/2021)

                                       33                     Opposition to (related document(s): 24 Objection filed by Debtor Don
                                       (9 pgs)                Teruo Kojima, Joint Debtor Susan Lorraine Kojima) Debtors' Evidentiary
                                                              Objections to Declarations in Support of Secured Creditor Cory
                                                              Meredith's Motion for Relief from the Automatic Stay with Proof of Service
                                                              Filed by Creditor Cory Meredith (St John, Sarah) - Warning: See docket
                                                              entry no.: 34 for corrections Modified on 6/22/2021 (Deramus, Glenda).
   06/22/2021                                                 (Entered: 06/22/2021)

                                       34                     Notice to Filer of Error and/or Deficient Document Incorrect hearing
                                                              date/time/location was selected. THE FILER IS INSTRUCTED TO
                                                              FILE AN AMENDED NOTICE OF OPPOSITION/HEARING WITH
                                                              THE CORRECT HEARING INFORMATION. THE HEARING
                                                              DATE IS CORRECT BUT THE HEARING TIME NEEDS TO BE
                                                              CHANGED TO 10:30 A.M. - NOT 11:00 A.M.; CORRECT
                                                              HEARING DATE & TIME JUNE 29, 2021 AT 10:30 A.M., RM 5B
                                                              (RE: related document(s)33 Opposition filed by Creditor Cory Meredith)
   06/22/2021                                                 (Deramus, Glenda) (Entered: 06/22/2021)

                                       35                     Errata Notice as to Hearing Time on Opposition to Debtors' Evidentiary
                                       (3 pgs)                Objections to Declarations in Support of Secured Creditor Cory
                                                              Meredith's Motion for Relief from the Automatic Stay with Proof of Service
                                                              Filed by Creditor Cory Meredith (RE: related document(s)33 Opposition).
   06/22/2021                                                 (St John, Sarah) (Entered: 06/22/2021)

                                       36                     Chapter 11 Monthly Operating Report for the Month Ending: 05/31/2021
                                       (11 pgs; 2 docs)       Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
                                                              (Attachments: # 1 Attachment - Explanation Page / Bank Statements)
   06/25/2021                                                 (Golubow, Richard) (Entered: 06/25/2021)

                                       37                     Application to Employ Winthrop Golubow Hollander, LLP as General
                                       (32 pgs)               Insolvency Counsel Notice Of Application And Application Of Debtors
                                                              And Debtors-In-Possession For Authority To Employ Winthrop Golubow
                                                              Hollander, LLP As Their General Insolvency Counsel; Memorandum Of
                                                              Points And Authorities; And Declarations Of Don Kojima And Richard H.
                                                              Golubow In Support Thereof Filed by Debtor Don Teruo Kojima, Joint
   06/25/2021                                                 Debtor Susan Lorraine Kojima (Golubow, Richard) (Entered: 06/25/2021)

   06/29/2021                                                 Hearing (Bk Motion) Continued (RE: related document(s) 15 MOTION

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                                 7/40


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                                                              FOR RELIEF FROM STAY - REAL PROPERTY filed by Cory Meredith)
                                                              Hearing to be held on 07/27/2021 at 10:30 AM Ronald Reagan Federal
                                                              Bldg 411 W Fourth St Crtrm 5B Santa Ana, CA 92701 for 15 , (Deramus,
                                                              Glenda) (Entered: 06/29/2021)

                                       38                     Periodic Report on Related Entities Regarding Value, Operations and
                                       (25 pgs)               Profitability of Entities in Which the Estate Holds a Substantial or
                                                              Controlling Interest. Report as of: 5/26/2021 Filed by Debtor Don Teruo
                                                              Kojima, Joint Debtor Susan Lorraine Kojima. (Golubow, Richard)
   06/29/2021                                                 (Entered: 06/29/2021)

                                       39                     Hearing Continued Status Conference (RE: related document(s)1
                                                              Voluntary Petition (Chapter 11) filed by Debtor Don Teruo Kojima, Joint
                                                              Debtor Susan Lorraine Kojima) Status hearing to be held on 10/27/2021 at
                                                              10:00 AM at Crtrm 5B, 411 W Fourth St., Santa Ana, CA 92701. The case
                                                              judge is Theodor Albert - Deadline For Filing Plan And Disclosure
                                                              Statement: September 30, 2021; Claims Bar: 60 Days After Dispatch Of
                                                              Notice To Creditors Advising Of Bar Date; Debtor To Give Notice Of The
                                                              Deadline By: July 15, 2021; Debtor's Counsel To Submit Scheduling
   06/30/2021                                                 Order. (Deramus, Glenda) (Entered: 06/30/2021)

                                       40                     Continuance of Meeting of Creditors (Rule 2003(e)) Filed by U.S. Trustee
                                                              United States Trustee (SA). 341(a) Meeting Continued to 7/27/2021 at
                                                              01:00 PM at UST-SA1, TELEPHONIC MEETING. CONFERENCE
                                                              LINE:1-866-919-0527, PARTICIPANT CODE:2240227. (Ng, Queenie)
   06/30/2021                                                 (Entered: 06/30/2021)

                                       41                     Supplemental Proof of Service of Secured Creditor Cory Meredith's
                                       (4 pgs)                Motion for Relief from the Automatic Stay, Docket No. 15 with Proof of
                                                              Service Filed by Creditor Cory Meredith. (O'Dea, Ryan) (Entered:
   07/02/2021                                                 07/02/2021)

                                       42                     Notice Supplemental Notice of Hearing to be Held Remotely Using
                                       (5 pgs)                ZoomGov Audio and Video with Proof of Service - Hearing: 7/27/21 at
                                                              10:30 a.m. Filed by Creditor Cory Meredith (RE: related document(s)15
                                                              Notice of motion and motion for relief from the automatic stay with
                                                              supporting declarations REAL PROPERTY RE: 7 Shore Ridge, Newport
                                                              Beach, CA 92657-1812 with Proof of Service - Hearing: 6/29/21 at 10:30
                                                              a.m.. Fee Amount $188, Filed by Creditor Cory Meredith (St John,
   07/02/2021                                                 Sarah)). (O'Dea, Ryan) (Entered: 07/02/2021)

                                       43                     Notice of Continued Hearing on Secured Creditor Cory Meredith's Motion
                                       (5 pgs)                for Relief from the Automatic Stay with Proof of Service - Continued
                                                              Hearing: 7/27/21 at 10:30 a.m. Filed by Creditor Cory Meredith (RE:
                                                              related document(s)15 Notice of motion and motion for relief from the
                                                              automatic stay with supporting declarations REAL PROPERTY RE: 7
                                                              Shore Ridge, Newport Beach, CA 92657-1812 with Proof of Service -
                                                              Hearing: 6/29/21 at 10:30 a.m.. Fee Amount $188, Filed by Creditor Cory
   07/02/2021                                                 Meredith (St John, Sarah)). (O'Dea, Ryan) (Entered: 07/02/2021)

                                       44                     Notice of Bar Date for Filing Proofs of Claim in a Chapter 11 September
                                       (7 pgs)                7, 2021 Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine
   07/06/2021                                                 Kojima. (Golubow, Richard) (Entered: 07/06/2021)

   07/17/2021                          45                     Declaration re: Supplemental Declaration Of Richard H. Golubow In
                                       (4 pgs)                Support Of Application Of Debtors And Debtors-In-Possession For
                                                              Authority To Employ Winthrop Golubow Hollander, LLP As Their General
                                                              Insolvency Counsel Filed by Debtor Don Teruo Kojima, Joint Debtor
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                                 8/40


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                                                              Susan Lorraine Kojima (RE: related document(s)37 Application to
                                                              Employ Winthrop Golubow Hollander, LLP as General Insolvency
                                                              Counsel Notice Of Application And Application Of Debtors And Debtors-
                                                              In-Possession For Authority To Employ Winthrop Golubow Hollander,
                                                              LLP As Their General Insolvency Counsel). (Golubow, Richard) (Entered:
                                                              07/17/2021)

                                       46                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (36 pgs)               1(o)(3)) Declaration That No Party Requested A Hearing On Motion Filed
                                                              by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima (RE:
                                                              related document(s)37 Application to Employ Winthrop Golubow
                                                              Hollander, LLP as General Insolvency Counsel Notice Of Application And
                                                              Application Of Debtors And Debtors-In-Possession For Authority To
                                                              Employ Winthrop Golubow Hollander, LLP As Their General Insolvency
   07/17/2021                                                 Counsel). (Golubow, Richard) (Entered: 07/17/2021)

                                       47                     Order Granting Application of Debtors and Debtors-In-Possession for
                                       (2 pgs)                authority to Employ Winthrop Golubow Hollander, LLP as their General
                                                              Insolvency Counsel (BNC-PDF) (Related Doc # 37) Signed on 7/20/2021.
   07/20/2021                                                 (Mccall, Audrey) (Entered: 07/20/2021)

                                       48                     Chapter 11 Monthly Operating Report for the Month Ending: 06/30/2021
                                       (8 pgs)                Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
   07/22/2021                                                 (Golubow, Richard) (Entered: 07/22/2021)

                                       49                     BNC Certificate of Notice - PDF Document. (RE: related document(s)47
                                       (4 pgs)                Order on Application to Employ (BNC-PDF)) No. of Notices: 3. Notice
   07/22/2021                                                 Date 07/22/2021. (Admin.) (Entered: 07/22/2021)

                                       50                     Notice of Debtor's Request for Mortgage Forbearance Due to the Covid-
                                       (6 pgs; 2 docs)        19 Pandemic for 90 days. Certificate of Service Filed. Filed by Creditor
                                                              BANK OF AMERICA, N.A.. (Attachments: # 1 Certificate of Service)
   07/23/2021                                                 (Wysinger, Reiko) (Entered: 07/23/2021)

                                       51                     Motion to Appear pro hac vice Application of Non-Resident Attorney to
                                       (7 pgs)                Appear in a Specific Case - Elizabeth Fiechter Filed by Debtor Don Teruo
                                                              Kojima, Joint Debtor Susan Lorraine Kojima (Golubow, Richard)
   07/23/2021                                                 (Entered: 07/23/2021)

                                       52                     Order Granting Motion To Appear pro hac vice - Elizabeth Fiechter
                                       (2 pgs)                (BNC-PDF) (Related Doc # 51 ) Signed on 7/26/2021 (Deramus, Glenda)
   07/26/2021                                                 (Entered: 07/26/2021)

                                       53                     Continuance of Meeting of Creditors (Rule 2003(e)) Filed by U.S. Trustee
                                                              United States Trustee (SA). 341(a) Meeting Continued to 8/25/2021 at
                                                              12:30 PM at UST-SA1, TELEPHONIC MEETING. CONFERENCE
                                                              LINE:1-866-919-0527, PARTICIPANT CODE:2240227. (Ng, Queenie)
   07/26/2021                                                 (Entered: 07/26/2021)

                                       54                     Stipulation By Don Teruo Kojima, Susan Lorraine Kojima and Stipulation
                                       (9 pgs)                for Adequate Protection Payments Filed by Debtor Don Teruo Kojima,
                                                              Joint Debtor Susan Lorraine Kojima (Golubow, Richard) (Entered:
   07/26/2021                                                 07/26/2021)

   07/27/2021                          55                     Order Approving Stipulation For Adequate Protection Payments - Hearing
                                       (2 pgs)                On Relief Of Stay Is Continued To August 31, 2021 at 10:30 a.m., Merely


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                                  9/40


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                                                              As A Holding Date. (BNC-PDF) - Please See Order For Further Ruling
                                                              Signed on 7/27/2021. (Deramus, Glenda) (Entered: 07/27/2021)

                                       56                     Hearing Continued (RE: related document(s)15 Motion for Relief from
                                                              Stay - Real Property filed by Creditor Cory Meredith) The Hearing date is
                                                              set for 8/31/2021 at 10:30 AM at Crtrm 5B, 411 W Fourth St., Santa Ana,
                                                              CA 92701. The case judge is Theodor Albert - Per Order Approving
                                                              Stipulation For Adequate Protection Payments Entered 7-27-21 (Deramus,
   07/27/2021                                                 Glenda) (Entered: 07/27/2021)

                                       57                     BNC Certificate of Notice - PDF Document. (RE: related document(s)52
                                       (4 pgs)                Order on Motion to Appear pro hac vice (BNC-PDF)) No. of Notices: 1.
   07/28/2021                                                 Notice Date 07/28/2021. (Admin.) (Entered: 07/28/2021)

                                       58                     Notice of Debtor's Request for Mortgage Forbearance Due to the Covid-
                                       (6 pgs)                19 Pandemic for 92 days. Certificate of Service Filed. Filed by Creditor
   07/29/2021                                                 BANK OF AMERICA, N.A.. (Wolff, Katie) (Entered: 07/29/2021)

                                       59                     BNC Certificate of Notice - PDF Document. (RE: related document(s)55
                                       (4 pgs)                Stipulation and ORDER thereon (BNC-PDF)) No. of Notices: 1. Notice
   07/29/2021                                                 Date 07/29/2021. (Admin.) (Entered: 07/29/2021)

                                       60                     Notice of Debtor's Request for Mortgage Forbearance Due to the Covid-
                                       (6 pgs)                19 Pandemic for 61 days. Certificate of Service Filed. Filed by Creditor
   08/02/2021                                                 BANK OF AMERICA, N.A.. (Wolff, Katie) (Entered: 08/02/2021)

                                       61                     Notice of Change of Address Filed by Creditor Cory Meredith. (O'Dea,
   08/02/2021                          (1 pg)                 Ryan) (Entered: 08/02/2021)

                                       62                     Notice of Order Approving Stipulation for Adequate Protection Payments
                                       (18 pgs)               and Opportunity to Request a Hearing on Stipulation Filed by Creditor
                                                              Cory Meredith (RE: related document(s)54 Stipulation By Don Teruo
                                                              Kojima, Susan Lorraine Kojima and Stipulation for Adequate Protection
                                                              Payments Filed by Debtor Don Teruo Kojima, Joint Debtor Susan
                                                              Lorraine Kojima, 55 Order Approving Stipulation For Adequate
                                                              Protection Payments - Hearing On Relief Of Stay Is Continued To August
                                                              31, 2021 at 10:30 a.m., Merely As A Holding Date. (BNC-PDF) - Please
                                                              See Order For Further Ruling Signed on 7/27/2021.). (O'Dea, Ryan)
   08/03/2021                                                 (Entered: 08/03/2021)

                                       63                     Stipulation By Don Teruo Kojima, Susan Lorraine Kojima and Stipulation
                                       (4 pgs)                Re: Document Production by the Debtors Filed by Debtor Don Teruo
                                                              Kojima, Joint Debtor Susan Lorraine Kojima (Golubow, Richard)
   08/04/2021                                                 (Entered: 08/04/2021)

                                       64                     Order Approving Stipulation Re: Document Production By The Debtors
                                       (2 pgs)                (BNC-PDF) (Related Doc # 63 ) - ORDERED That: 1. The Stipulation Is
                                                              Approved In Its Entirety; 2. No Further Notice or Hearing Shall Be
                                                              Necessary To Effectuate The Foregoing. Signed on 8/5/2021 (Deramus,
   08/05/2021                                                 Glenda) (Entered: 08/05/2021)

                                       65                     Stipulation By Don Teruo Kojima, Susan Lorraine Kojima and Stipulation
                                       (5 pgs)                Between Debtors and Cory Meredith Re: Document Production by the
                                                              Debtors Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine
   08/06/2021                                                 Kojima (Golubow, Richard) (Entered: 08/06/2021)

   08/07/2021                          66                     BNC Certificate of Notice - PDF Document. (RE: related document(s)64
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                                  10/40


                                                                                                        EXHIBIT 1, PAGE 27
     Case 8:21-bk-11352-TA                     Doc 317 Filed 11/29/22 Entered 11/29/22 19:38:59                              Desc
                                               Main Document    Page 31 of 165
11/29/22, 5:10 PM                                              CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)

                                       (4 pgs)                Stipulation and ORDER thereon (BNC-PDF)) No. of Notices: 1. Notice
                                                              Date 08/07/2021. (Admin.) (Entered: 08/07/2021)

                                       67                     Order Approving Stipulation Between Debtors And Cory Meredith Re:
                                       (2 pgs)                Document Production By The Debtors (BNC-PDF) (Related Doc # 65 ) -
                                                              ORDERED That: 1. The Stipulation Is Approved In Its Entirety; 2. No
                                                              Further Notice Or Hearing Shall Be Necessary To Effectuate The
   08/11/2021                                                 Foregoing. Signed on 8/11/2021 (Deramus, Glenda) (Entered: 08/11/2021)

                                       68                     BNC Certificate of Notice - PDF Document. (RE: related document(s)67
                                       (4 pgs)                Stipulation and ORDER thereon (BNC-PDF)) No. of Notices: 1. Notice
   08/13/2021                                                 Date 08/13/2021. (Admin.) (Entered: 08/13/2021)

                                       69                     Stipulation By Chase Kaufman and STIPULATION RE: EXTENSION OF
                                       (6 pgs)                DEADLINES FOR CREDITORS CHASE KAUFMAN, MICHAEL
                                                              GARRISON, AND ZACH POWERS TO (1) OBJECT TO DISCHARGE OR
                                                              DISCHARGEABILITY OF DEBTS, AND (2) FILE PROOF OF CLAIMS
                                                              Filed by Creditor Chase Kaufman (Gottfried, Michael) (Entered:
   08/19/2021                                                 08/19/2021)

                                       70                     Opposition to (related document(s): 54 Stipulation By Don Teruo Kojima,
                                       (54 pgs)               Susan Lorraine Kojima and Stipulation for Adequate Protection Payments
                                                              filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima)
                                                              CREDITORS LIMITED OBJECTION TO STIPULATION FOR
                                                              ADEQUATE PROTECTION PAYMENTS, AND REQUEST FOR
                                                              HEARING; DECLARATION OF MICHAEL I. GOTTFRIED Filed by
   08/20/2021                                                 Creditor Chase Kaufman (Gottfried, Michael) (Entered: 08/20/2021)

                                       71                     Order Approving Stipulation Re: Extension Of Deadlines For Creditors
                                       (2 pgs)                Chase Kaufman, Michael Garrison, And Zach Powers To (1) Object To
                                                              Discharge Or Dischargeability Of Debts And (2) File Proof Of Claims
                                                              (BNC-PDF) (Related Doc # 69 ) - Please See Order For Further Ruling.
   08/20/2021                                                 Signed on 8/20/2021 (Deramus, Glenda) (Entered: 08/20/2021)

                                       72                     BNC Certificate of Notice - PDF Document. (RE: related document(s)71
                                       (4 pgs)                Stipulation and ORDER thereon (BNC-PDF)) No. of Notices: 1. Notice
   08/22/2021                                                 Date 08/22/2021. (Admin.) (Entered: 08/22/2021)

                                       73                     Chapter 11 Monthly Operating Report for the Month Ending: 07/31/2021
                                       (9 pgs)                Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
   08/23/2021                                                 (Golubow, Richard) (Entered: 08/23/2021)

                                       74                     Reply to (related document(s): 70 Opposition filed by Creditor Chase
                                       (7 pgs)                Kaufman) Debtor's Reply to Creditors' Limited Objection to Stipulation
                                                              for Adequate Protection Payments Filed by Debtor Don Teruo Kojima,
                                                              Joint Debtor Susan Lorraine Kojima (Golubow, Richard) (Entered:
   08/27/2021                                                 08/27/2021)

                                       75                     Declaration re: Declaration of Richard H. Golubow in Support of Debtors'
                                       (44 pgs)               Reply to Creditors' Limited Objection to Stipulation for Adequate
                                                              Protection Payments Filed by Debtor Don Teruo Kojima, Joint Debtor
                                                              Susan Lorraine Kojima (RE: related document(s)74 Reply). (Golubow,
   08/27/2021                                                 Richard) (Entered: 08/27/2021)

   08/31/2021                                                 Hearing (Bk Motion) Continued (RE: related document(s) 15 MOTION
                                                              FOR RELIEF FROM STAY - REAL PROPERTY filed by Cory Meredith)
                                                              Hearing to be held on 11/30/2021 at 10:30 AM Ronald Reagan Federal
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                                11/40


                                                                                                        EXHIBIT 1, PAGE 28
     Case 8:21-bk-11352-TA                     Doc 317 Filed 11/29/22 Entered 11/29/22 19:38:59                              Desc
                                               Main Document    Page 32 of 165
11/29/22, 5:10 PM                                              CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)
                                                              Bldg 411 W Fourth St Crtrm 5B Santa Ana, CA 92701 for 15, -
                                                              Stipulation Is Approved As Written On An Interim Basis. Debtor's
                                                              Counsel To Submit Order. Continuing Hearing On November 30, 2021 at
                                                              10:30 A.M. (Deramus, Glenda). (Entered: 08/31/2021)

                                       76                     Motion to Extend Exclusivity Period for Filing a Chapter 11 Plan and
                                       (22 pgs)               Disclosure Statement Debtors Notice Of Motion And Motion For
                                                              Extension Of The Exclusive Periods To File A Plan And To Solicit
                                                              Acceptances Thereto, And For Extension Of The Deadline For The
                                                              Debtors To File A Plan; Memorandum Of Points And Authorities;
                                                              Declarations Of Don Kojima And Richard H. Golubow In Support Thereof
                                                              Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima
   09/03/2021                                                 (Golubow, Richard) (Entered: 09/03/2021)

                                       77                     Order Approving Stipulation Re : Adequate Protection Payments (BNC-
                                       (2 pgs)                PDF) (Related Doc # 54 ) - ORDERS That: 1. The Stipulation Is
                                                              Approved As Written On An Interim Basis; 2. The Hearing To Further
                                                              Consider The Terms Of The Stipulation Is Continued To November 30,
                                                              2021 at 10:30 A.M.; 3. No Further Notice Or Hearing Shall Be Necessary
                                                              To Effectuate The Foregoing. Signed on 9/8/2021 (Deramus, Glenda)
   09/08/2021                                                 (Entered: 09/08/2021)

                                       78                     BNC Certificate of Notice - PDF Document. (RE: related document(s)77
                                       (4 pgs)                Stipulation and ORDER thereon (BNC-PDF)) No. of Notices: 1. Notice
   09/10/2021                                                 Date 09/10/2021. (Admin.) (Entered: 09/10/2021)

                                       79                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (26 pgs)               1(o)(3)) Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine
                                                              Kojima (RE: related document(s)76 Motion to Extend Exclusivity Period
                                                              for Filing a Chapter 11 Plan and Disclosure Statement Debtors Notice Of
                                                              Motion And Motion For Extension Of The Exclusive Periods To File A
                                                              Plan And To Solicit Acceptances Thereto, And For Extension Of The
   09/21/2021                                                 Deadline). (Golubow, Richard) (Entered: 09/21/2021)

                                       80                     Chapter 11 Monthly Operating Report for the Month Ending: 08/31/2021
                                       (10 pgs)               Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
   09/21/2021                                                 (Golubow, Richard) (Entered: 09/21/2021)

                                       81                     Order Granting Motion For Extension Of The Exclusive Periods To File A
                                       (2 pgs)                Chapter 11 Plan And To Solicit Acceptances Thereto, And For Extension
                                                              Of The Deadline For The Debtors To File A Plan (BNC-PDF) (Related
                                                              Doc # 76 ) - IT IS HEREBY ORDERED That: 1. The Motion Is Granted;
                                                              2. The Debtors' Exclusive Period To File A Plan Is Extended From
                                                              September 23, 2021 To November 22, 2021; 3. The Debtors' Exclusive
                                                              Period To Solicit Acceptances To A Plan Is Extended From November 22,
                                                              2021 To January 24, 2022; 4. The Plan Deadline Is Extended To
                                                              November 30, 2021 - Please See Order Further Ruling - Signed on
   09/23/2021                                                 9/23/2021 (Deramus, Glenda) (Entered: 09/23/2021)

                                       82                     BNC Certificate of Notice - PDF Document. (RE: related document(s)81
                                       (4 pgs)                Order on Motion to Extend Exclusivity Period (BNC-PDF)) No. of
   09/25/2021                                                 Notices: 1. Notice Date 09/25/2021. (Admin.) (Entered: 09/25/2021)

                                       83                     Statement Professional Fee Statement No. 1 - May/June 2021 - Winthrop
                                       (18 pgs)               Golubow Hollander, LLP Filed by Debtor Don Teruo Kojima, Joint Debtor
   10/04/2021                                                 Susan Lorraine Kojima. (Golubow, Richard) (Entered: 10/04/2021)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                             12/40


                                                                                                        EXHIBIT 1, PAGE 29
     Case 8:21-bk-11352-TA                     Doc 317 Filed 11/29/22 Entered 11/29/22 19:38:59                                 Desc
                                               Main Document    Page 33 of 165
11/29/22, 5:10 PM                                              CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)
   10/08/2021                          84                     Continuance of Meeting of Creditors (Rule 2003(e)) Filed by U.S. Trustee
                                                              United States Trustee (SA). 341(a) Meeting Continued to 10/14/2021 at
                                                              12:30 PM at UST-SA1, TELEPHONIC MEETING. CONFERENCE
                                                              LINE:1-866-919-0527, PARTICIPANT CODE:2240227. (Ng, Queenie)
                                                              (Entered: 10/08/2021)

                                       85                     Stipulation By Michael Garrison, Chase Kaufman, Zach Powers and
                                       (5 pgs)                SECOND STIPULATION RE: EXTENSION OF DEADLINES FOR
                                                              CREDITORS TO (1) OBJECT TO DISCHARGE OR
                                                              DISCHARGEABILITY OF DEBTS, AND (2) FILE PROOF OF CLAIMS
                                                              Filed by Creditors Michael Garrison, Chase Kaufman, Zach Powers (Zur,
   10/13/2021                                                 Roye) (Entered: 10/13/2021)

                                       86                     Order Approving Second Stipulation Re: Extension Of Deadlines For
                                       (2 pgs)                Creditors Chase Kaufman, Michael Garrison, And Zach Powers To (1)
                                                              Object To Discharge or Dischargeability Of Debts, And (2) File Proof Of
                                                              Claims (BNC-PDF) (Related Doc # 85 ) - IT IS HEREBY ORDERED
                                                              THAT: 1. The Stipulation shall be and hereby is APPROVED; 2. The last
                                                              day for Creditors to object to the Debtor's discharge or to the
                                                              dischargeability of any debts shall be and hereby is extended to and
                                                              including November 19, 2021; 3. The last day for Creditors to file Proofs
                                                              of Claims Shall be and hereby is extended to and including November 19,
                                                              2021; 4. This Order is without prejudice to the Parties' agreement to
                                                              additional extensions of the deadlines as provided herein, or further order
                                                              of the Court extending such deadlines. Signed on 10/13/2021 (Deramus,
   10/13/2021                                                 Glenda) (Entered: 10/13/2021)

                                       87                     BNC Certificate of Notice - PDF Document. (RE: related document(s)86
                                       (4 pgs)                Stipulation and ORDER thereon (BNC-PDF)) No. of Notices: 1. Notice
   10/15/2021                                                 Date 10/15/2021. (Admin.) (Entered: 10/15/2021)

                                       88                     Status report Case Status Report Filed by Debtor Don Teruo Kojima, Joint
                                       (4 pgs)                Debtor Susan Lorraine Kojima (RE: related document(s)1 Voluntary
   10/20/2021                                                 Petition (Chapter 11)). (Golubow, Richard) (Entered: 10/20/2021)

                                       89                     Notice of Hearing Notice of Case Status Conference Filed by Debtor Don
                                       (6 pgs)                Teruo Kojima, Joint Debtor Susan Lorraine Kojima. (Golubow, Richard)
   10/20/2021                                                 (Entered: 10/20/2021)

                                       90                     Chapter 11 Monthly Operating Report for the Month Ending: 09/30/2021
                                       (10 pgs)               Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
   10/22/2021                                                 (Golubow, Richard) (Entered: 10/22/2021)

                                                              Hearing (Bk Other) Continued (RE: related document(s) 1 VOLUNTARY
                                                              PETITION (CHAPTER 11) filed by Don Teruo Kojima) Status Hearing to
                                                              be held on 01/05/2022 at 10:00 AM Ronald Reagan Federal Bldg 411 W
                                                              Fourth St Crtrm 5B Santa Ana, CA 92701 for 1 , (Deramus, Glenda)
   10/27/2021                                                 (Entered: 10/27/2021)

                                       91                     Motion for Order Requiring Production of Documents from Apollo
                                       (21 pgs)               Cultivation Management LLC, Pursuant to Federal Rule of Bankruptcy
                                                              Procedure 2004; Memorandum of Points and Authorities; Declaration of
                                                              Michael I Gottfried in Support Filed by Creditors Michael Garrison, Chase
   11/03/2021                                                 Kaufman, Zach Powers (Zur, Roye) (Entered: 11/03/2021)

   11/03/2021                          92                      Motion for 2004 Examination for Order Requiring Production of
                                       (20 pgs)                Documents from CK Development Associates LLC Filed by Creditors

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                                                                                                        EXHIBIT 1, PAGE 30
     Case 8:21-bk-11352-TA                     Doc 317 Filed 11/29/22 Entered 11/29/22 19:38:59                            Desc
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11/29/22, 5:10 PM                                              CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)
                                                               Michael Garrison, Chase Kaufman, Zach Powers (Zur, Roye) (Entered:
                                                               11/03/2021)

                                       93                      Motion for 2004 Examination for Order Requiring Production of
                                       (20 pgs)                Documents from Apollo Management LLC Filed by Creditors Michael
                                                               Garrison, Chase Kaufman, Zach Powers (Zur, Roye) (Entered:
   11/03/2021                                                  11/03/2021)

                                       94                      Motion for 2004 Examination for Order Requiring Production of
                                       (20 pgs)                Documents from Cameron Ranch Adelanto Partners LLC Filed by
                                                               Creditors Michael Garrison, Chase Kaufman, Zach Powers (Zur, Roye)
   11/03/2021                                                  (Entered: 11/03/2021)

                                       95                      Motion for 2004 Examination for Order Requiring Production of
                                       (21 pgs)                Documents from Janet Luyet and Janet Luyet Accounting Services Filed
                                                               by Creditors Michael Garrison, Chase Kaufman, Zach Powers (Zur,
   11/03/2021                                                  Roye) (Entered: 11/03/2021)

                                       96                      Order Granting Motion Of Creditors Chase Kaufman, Michael Garrison,
                                       (2 pgs)                 And Zach Powers For Order Requiring Production Of Documents From
                                                               Apollo Cultivation Management LLC, Pursuant To Federal Rule Of
                                                               Bankruptcy Procedure 2004 (BNC-PDF) (Related Doc # 91 ) - Please
                                                               See Order For Further Ruling Signed on 11/5/2021 (Deramus, Glenda)
   11/05/2021                                                  (Entered: 11/05/2021)

                                       97                      Order Granting Motion Of Creditors Chase Kaufman, Michael Garrison,
                                       (2 pgs)                 And Zach Powers For Order Requiring Production Of Documents From
                                                               CK Development Associates LLC, Pursuant To Federal Rule Of
                                                               Bankruptcy Procedure 2004 Examination (PDF-BNC) (Related Doc # 92
                                                               ) - Please See Order For Further Ruling Signed on 11/5/2021 (Deramus,
   11/05/2021                                                  Glenda) (Entered: 11/05/2021)

                                       98                      Order Granting Motion Of Creditors Chase Kaufman, Michael Garrison,
                                       (2 pgs)                 And Zach Powers For Order Requiring Production Of Documents From
                                                               Apollo Management LLC, Pursuant To Federal Rule Of Bankruptcy
                                                               Procedure 2004 Examination (PDF-BNC) (Related Doc # 93 ) - Please
                                                               See Order For Further Ruling Signed on 11/5/2021 (Deramus, Glenda)
   11/05/2021                                                  (Entered: 11/05/2021)

                                       99                      Order Granting Motion Of Creditor Chase Kaufman, Michael Garrison,
                                       (2 pgs)                 And Zach Powers For Order Requiring Production Of Documents From
                                                               Cameron Ranch Adelanto Partners LLC, Pursuant To Federal Rule Of
                                                               Bankruptcy Procedure 2004 Examination (PDF-BNC) (Related Doc # 94
                                                               ) - Please See Order For Further Ruling Signed on 11/5/2021 (Deramus,
   11/05/2021                                                  Glenda) (Entered: 11/05/2021)

                                       100                     Order Granting Motion Of Creditors Chase Kaufman, Michael Garrison,
                                       (2 pgs)                 And Zach Powers For Order Requiring Production Of Documents From
                                                               Janet Luyet And Janet Luyet Accounting Services Pursuant To Federal
                                                               Rule Of Bankruptcy Procedure 2004 Examination (PDF-BNC) (Related
                                                               Doc # 95 ) - Please See Order For Further Ruling Signed on 11/5/2021
   11/05/2021                                                  (Deramus, Glenda) (Entered: 11/05/2021)

                                       101                     BNC Certificate of Notice - PDF Document. (RE: related document(s)96
                                       (4 pgs)                 Order on Generic Motion (BNC-PDF)) No. of Notices: 1. Notice Date
   11/07/2021                                                  11/07/2021. (Admin.) (Entered: 11/07/2021)


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                                                                                                        EXHIBIT 1, PAGE 31
     Case 8:21-bk-11352-TA                     Doc 317 Filed 11/29/22 Entered 11/29/22 19:38:59                               Desc
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11/29/22, 5:10 PM                                              CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)
   11/07/2021                          102                     BNC Certificate of Notice - PDF Document. (RE: related document(s)97
                                       (4 pgs)                 Order on Motion for Examination (BNC-PDF)) No. of Notices: 1. Notice
                                                               Date 11/07/2021. (Admin.) (Entered: 11/07/2021)

                                       103                     BNC Certificate of Notice - PDF Document. (RE: related document(s)98
                                       (4 pgs)                 Order on Motion for Examination (BNC-PDF)) No. of Notices: 1. Notice
   11/07/2021                                                  Date 11/07/2021. (Admin.) (Entered: 11/07/2021)

                                       104                     BNC Certificate of Notice - PDF Document. (RE: related document(s)99
                                       (4 pgs)                 Order on Motion for Examination (BNC-PDF)) No. of Notices: 1. Notice
   11/07/2021                                                  Date 11/07/2021. (Admin.) (Entered: 11/07/2021)

                                       105                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)100 Order on Motion for Examination (BNC-PDF)) No. of
   11/07/2021                                                  Notices: 1. Notice Date 11/07/2021. (Admin.) (Entered: 11/07/2021)

                                       106                     Stipulation By Michael Garrison, Chase Kaufman, Zach Powers and
                                       (5 pgs)                 STIPULATION RE: RELIEF FROM THE AUTOMATIC STAY TO
                                                               PROCEED WITH STATE COURT LITIGATION Filed by Creditors
                                                               Michael Garrison, Chase Kaufman, Zach Powers (Gottfried, Michael)
   11/11/2021                                                  (Entered: 11/11/2021)

                                       107                     Proof of service Filed by Creditors Michael Garrison, Chase Kaufman,
                                       (5 pgs)                 Zach Powers (RE: related document(s)106 Stipulation By Michael
                                                               Garrison, Chase Kaufman, Zach Powers and STIPULATION RE:
                                                               RELIEF FROM THE AUTOMATIC STAY TO PROCEED WITH STATE
   11/15/2021                                                  COURT LITIGATION). (Zur, Roye) (Entered: 11/15/2021)

                                       108                     Order Approving Stipulation Re: Relief From The Automatic Stay To
                                       (2 pgs)                 Proceed With State Court Litigation (BNC-PDF) (Related Doc # 106 ) -
                                                               Please See Order For Further Ruling Signed on 11/16/2021 (Deramus,
   11/16/2021                                                  Glenda) (Entered: 11/16/2021)

                                       109                     Stipulation By Michael Garrison, Chase Kaufman, Zach Powers and
                                       (5 pgs)                 Third Stipulation Re: Extension of Deadlines for Creditors Chase
                                                               Kaufman, Michael Garrison, and Zach Powers to (1) Oppose Discharge
                                                               or Dischargeability and (2) File Proof of Claims Filed by Creditors
                                                               Michael Garrison, Chase Kaufman, Zach Powers (Gottfried, Michael)
   11/17/2021                                                  (Entered: 11/17/2021)

                                       110                     Order Approving Third Stipulation Re: Extension Of Deadlines For
                                       (2 pgs)                 Creditors Chase Kaufman, Michael Garrison, And Zach Powers To (1)
                                                               Oppose DIscharge or Dischargeability And (2) File Proof Of Claims
                                                               (BNC-PDF) (Related Doc # 109 ) - IT IS HEREBY ORDERED THAT:
                                                               1. The Stipulation shall be and hereby is APPROVED; 2. The last day for
                                                               Creditors to oppose discharge or dischargeability shall be further
                                                               extended to and including January 5, 2022; 3. The last day for Creditors
                                                               to file Proofs of Claims shall be further extended to and including
                                                               January 5, 2022; and 4. This Stipulation is without prejudice to the
                                                               Parties' agreement to additional extensions of the deadlines as provided
                                                               herein, or further order of the Court extending such deadlines. Signed on
   11/17/2021                                                  11/17/2021 (Deramus, Glenda) (Entered: 11/17/2021)

                                       111                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)108 Stipulation and ORDER thereon (BNC-PDF)) No. of
   11/18/2021                                                  Notices: 1. Notice Date 11/18/2021. (Admin.) (Entered: 11/18/2021)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                              15/40


                                                                                                        EXHIBIT 1, PAGE 32
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11/29/22, 5:10 PM                                              CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)
   11/19/2021                          112                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)110 Stipulation and ORDER thereon (BNC-PDF)) No. of
                                                               Notices: 1. Notice Date 11/19/2021. (Admin.) (Entered: 11/19/2021)

                                       113                     Chapter 11 Plan of Reorganization Debtor's Chapter 11 Plan of
                                       (52 pgs)                Reorganization Filed by Debtor Don Teruo Kojima, Joint Debtor Susan
   11/22/2021                                                  Lorraine Kojima. (Golubow, Richard) (Entered: 11/22/2021)

                                       114                     Disclosure Statement Debtor's Disclosure Statement In Support of
                                       (136 pgs; 2 docs)       Debtors' Chapter 11 Plan of Reorganization Filed by Debtor Don Teruo
                                                               Kojima, Joint Debtor Susan Lorraine Kojima. (Attachments: # 1 Exhibit
   11/22/2021                                                  Exhibits 1-5)(Golubow, Richard) (Entered: 11/22/2021)

                                       115                     Notice of Hearing Notice of Hearing on Approval of Debtors' Disclosure
                                       (6 pgs)                 Statement in Support of Debtors' Chapter 11 Plan of Reorganization
                                                               Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
   11/22/2021                                                  (Golubow, Richard) (Entered: 11/22/2021)

                                       116                     Hearing Set (RE: related document 114 Debtors' Disclosure Statement In
                                                               Support Of Debtors' Chapter 11 Plan Of Reorganization) The Hearing
                                                               date is set for 1/5/2022 at 10:00 AM at Crtrm 5B, 411 W Fourth St.,
                                                               Santa Ana, CA 92701. The case judge is Theodor Albert (Bolte, Nickie)
   11/22/2021                                                  (Entered: 11/23/2021)

                                       117                     Application to Employ Residential Agent Inc. as Real Estate Broker
                                       (39 pgs)                Notice of Application and Application of Debtors and Debtors-in-
                                                               Possession for Authority to Employ Residential Agent Inc. as Real Estate
                                                               Broker; Memorandum of Points and Authorities; and Declarations of
                                                               Don Kojima and John McMonigle in Support Thereof Filed by Debtor
                                                               Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima (Golubow,
   11/24/2021                                                  Richard) (Entered: 11/24/2021)

                                       118                     Hearing Held Re:15 Motion For Relief From The Automatic Stay -
                                                               REAL PROPERTY - Grant On Continuing Terms Per Stipulation.
                                                               Debtor's Counsel To Submit Order. (Deramus, Glenda) (Entered:
   11/30/2021                                                  11/30/2021)

                                       119                     Chapter 11 Monthly Operating Report for the Month Ending: 10/31/2021
                                       (10 pgs)                Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
   12/01/2021                                                  (Golubow, Richard) (Entered: 12/01/2021)

                                       120                     Order Aprroving Stipulation RE Adequate Protection Payments on a
                                       (2 pgs)                 Final Basis (BNC-PDF) (Related Doc # 15 ) Signed on 12/3/2021
   12/03/2021                                                  (Mccall, Audrey) (Entered: 12/03/2021)

                                       121                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)120 Motion for relief from the automatic stay REAL
                                                               PROPERTY (BNC-PDF)) No. of Notices: 1. Notice Date 12/05/2021.
   12/05/2021                                                  (Admin.) (Entered: 12/05/2021)

                                       122                     Objection (related document(s): 114 Disclosure Statement filed by
                                       (5 pgs)                 Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima) to
                                                               Approval of Disclosure Statement in Support of Chapter 11 Plan Filed by
   12/10/2021                                                  Creditor Wells Fargo Bank, N.A. (Wong, Jennifer) (Entered: 12/10/2021)

   12/15/2021                          doc                     Supplemental Proof of Claim for CARES Forbearance Claim, Director's
                                       (4 pgs)                 Form 4100S. (Claim # 1) . Filed by Creditor Wells Fargo Bank, N.A..
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                              16/40


                                                                                                        EXHIBIT 1, PAGE 33
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11/29/22, 5:10 PM                                              CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)
                                                               (Wong, Jennifer) (Entered: 12/15/2021)

                                       123                     Notice of Change of Address Filed by Creditor Wells Fargo Bank, N.A..
   12/16/2021                          (3 pgs)                 (Tamburo, John) (Entered: 12/16/2021)

                                       124                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (43 pgs)                1(o)(3)) Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine
                                                               Kojima (RE: related document(s)117 Application to Employ Residential
                                                               Agent Inc. as Real Estate Broker Notice of Application and Application
                                                               of Debtors and Debtors-in-Possession for Authority to Employ
                                                               Residential Agent Inc. as Real Estate Broker; Memorandum of Points
   12/16/2021                                                  and Authorities;). (Golubow, Richard) (Entered: 12/16/2021)

                                       125                     Order Granting Application Of Debtors And Debtors-In-Possession For
                                       (2 pgs)                 Authority To Employ Residential Agent Inc. As Real Estate Broker
                                                               (BNC-PDF) (Related Doc # 117) Signed on 12/17/2021. (Deramus,
   12/17/2021                                                  Glenda) (Entered: 12/17/2021)

                                       126                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)125 Order on Application to Employ (BNC-PDF)) No. of
   12/19/2021                                                  Notices: 1. Notice Date 12/19/2021. (Admin.) (Entered: 12/19/2021)

                                       127                     Objection (related document(s): 114 Disclosure Statement filed by
                                       (8 pgs)                 Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima) to
                                                               Debtors' Disclosure Statement in Support of Debtors' Chapter 11 Plan of
                                                               Reorganization Filed by Creditor THE BANK OF NEW YORK
                                                               MELLON FKA THE BANK OF NEW YORK, SUCCESSOR
                                                               INDENTURE TRUSTEE TO JPMORGAN CHASE BANK, N.A., AS
                                                               INDENTURE TRUSTEE ON BEHALF OF THE NOTEHOLDERS OF
                                                               THE CWHEQ INC., CWHEQ REVOLVING HOM (Lee, Nancy)
   12/21/2021                                                  (Entered: 12/21/2021)

                                       128                     Objection (related document(s): 114 Disclosure Statement filed by
                                       (6 pgs)                 Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima) with
                                                               proof of service Filed by Creditor Katherine Meredith (Brown, Ronald)
   12/22/2021                                                  (Entered: 12/22/2021)

                                       129                     Status report Case Status Report Filed by Debtor Don Teruo Kojima,
                                       (4 pgs)                 Joint Debtor Susan Lorraine Kojima (RE: related document(s)1
                                                               Voluntary Petition (Chapter 11)). (Golubow, Richard) (Entered:
   12/22/2021                                                  12/22/2021)

                                       130                     Stipulation By Michael Garrison, Chase Kaufman, Zach Powers and Don
                                       (5 pgs)                 Teruo Kojima and Susan Lorraine Kojima re Extension of Deadlines for
                                                               Creditors to (1) Oppose Discharge or Dischargeability and (2) File
                                                               Proof of Claims Filed by Creditors Michael Garrison, Chase Kaufman,
   12/27/2021                                                  Zach Powers (Gottfried, Michael) (Entered: 12/27/2021)

   12/27/2021                          131                     Order Approving Fourth Stipulation Re: Extension Of Deadlines For
                                       (2 pgs)                 Creditors Chase Kaufman, Michael Garrison, And Zach Powers To (1)
                                                               Oppose Discharge Or Dischargeablity And (2) File Proofs Of Claims
                                                               (BNC-PDF) (Related Doc # 130 ) - IT IS HEREBY ORDERED THAT:
                                                               1. The Stipulation shall be and hereby is APPROVED. 2. The last day for
                                                               Creditors to oppose discharge or dischargeability shall be further
                                                               extended to and including February 28, 2022; 3. The last day for
                                                               Creditors to file Proofs of Claims shall be further extended to and
                                                               including February 28, 2022; and 4. This Stipulation is without prejudice

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                                                                                                        EXHIBIT 1, PAGE 34
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                                                               to the Parties' agreement to additional extensions of the deadline as
                                                               provided herein, or further order of the Court extending such deadlines.
                                                               Signed on 12/27/2021 (Deramus, Glenda) (Entered: 12/27/2021)

                                       132                     Chapter 11 Monthly Operating Report for the Month Ending: 11/30/2021
                                       (9 pgs; 2 docs)         Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
                                                               (Attachments: # 1 Exhibit Statements) (Golubow, Richard) (Entered:
   12/29/2021                                                  12/29/2021)

                                       133                     Reply to (related document(s): 122 Objection filed by Creditor Wells
                                       (7 pgs)                 Fargo Bank, N.A., 127 Objection filed by Creditor THE BANK OF
                                                               NEW YORK MELLON FKA THE BANK OF NEW YORK,
                                                               SUCCESSOR INDENTURE TRUSTEE TO JPMORGAN CHASE
                                                               BANK, N.A., AS INDENTURE TRUSTEE ON BEHALF OF THE
                                                               NOTEHOLDERS OF THE CWHEQ INC., CWHEQ REVOLVING
                                                               HOM, 128 Objection filed by Creditor Katherine Meredith) Debtor's
                                                               Omnibus Reply to Objections Filed by (1) Wells Fargo Bank, (2) Bank of
                                                               New York, and (3) Katherine Meredith to the Debtors' Disclosure
                                                               Statement Filed by Debtor Don Teruo Kojima, Joint Debtor Susan
   12/29/2021                                                  Lorraine Kojima (Golubow, Richard) (Entered: 12/29/2021)

                                       134                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)131 Stipulation and ORDER thereon (BNC-PDF)) No. of
   12/29/2021                                                  Notices: 1. Notice Date 12/29/2021. (Admin.) (Entered: 12/29/2021)

                                       135                     Objection to Confirmation of Plan Filed by Creditor Nissan Motor
                                       (9 pgs; 2 docs)         Acceptance Corporation (RE: related document(s)113 Chapter 11 Plan of
                                                               Reorganization Debtor's Chapter 11 Plan of Reorganization Filed by
                                                               Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.).
   01/03/2022                                                  (Attachments: # 1 Exhibit)(Nagel, Austin) (Entered: 01/03/2022)

                                       136                     Motion to Restrict Access to Previously Filed Document Under
                                       (4 pgs)                 Bankruptcy Rule 9037 Filed by Creditor Nissan Motor Acceptance
                                                               Corporation (Martinez, Kirsten). WARNING: See docket entry no: 139
                                                               for corrective action. NO Action taken at this time. Modified on
                                                               1/3/2022 (Daniels, Sally). Modified on 1/24/2022 (Corona, Heidi).
   01/03/2022                                                  (Entered: 01/03/2022)

                                       137                     Notice of lodgment Filed by Creditor Nissan Motor Acceptance
                                       (4 pgs; 2 docs)         Corporation (RE: related document(s)136 Motion to Restrict Access to
                                                               Previously Filed Document Under Bankruptcy Rule 9037 Filed by
                                                               Creditor Nissan Motor Acceptance Corporation). (Attachments: # 1
   01/03/2022                                                  Proposed Order) (Martinez, Kirsten) (Entered: 01/03/2022)

                                       138                     Order Granting Motion to Restrict Access to Previously Filed Document
                                       (1 pg)                  Under Bankruptcy Rule 9037 (BNC-PDF) (Related Doc # 136 ) Signed
   01/03/2022                                                  on 1/3/2022 (Mccall, Audrey) (Entered: 01/03/2022)

   01/03/2022                          139                     Notice to Filer of Error and/or Deficient Document Docket event was
                                                               incorrectly selected for filings requiring no filing fee, however, the
                                                               document filed indicates that a filing fee is due. The correct event
                                                               code is "Redact (for Protective Order to Restrict Access Pers. ID
                                                               (LBR Form F9037-1.1)" which is located under Bankruptcy Events
                                                               > BK - Motions/Applications. THIS IS PROVIDED FOR FUTURE
                                                               REFERENCE. THE FILER NEEDS TO PAY THE FILING FEE OF
                                                               $26.00 DIRECTLY TO THE COURT BEFORE THE COURT CAN
                                                               RESTRICT THE DOCUMENT. (RE: related document(s)136 Generic

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                                                               Motion filed by Creditor Nissan Motor Acceptance Corporation)
                                                               (Daniels, Sally) (Entered: 01/03/2022)

                                       140                     Notice of Hearing Notice of Continued Disclosure Statement Hearing
                                       (6 pgs)                 and Case Status Conference Filed by Debtor Don Teruo Kojima, Joint
                                                               Debtor Susan Lorraine Kojima. (Golubow, Richard) Warning: See docket
                                                               entry no: 141 for corrective action. Modified on 1/5/2022 (Daniels,
   01/05/2022                                                  Sally). (Entered: 01/05/2022)

                                       141                     Notice to Filer of Error and/or Deficient Document Other - THE
                                                               FILER IS INSTRUCTED TO FILE THE SUPPLEMENTAL
                                                               NOTICE OF HEARING WITH THE PROPER ZOOM
                                                               INFORMATION WHICH CAN BE LOCATED ON THE COURT'S
                                                               WEBSITE AT WWW.CACB.USCOURTS.GOV UNDER SELF-
                                                               CALENDARING FOR JUDGE ALBERT (RE: related
                                                               document(s)140 Notice of Hearing filed by Debtor Don Teruo Kojima,
                                                               Joint Debtor Susan Lorraine Kojima) (Daniels, Sally) (Entered:
   01/05/2022                                                  01/05/2022)

                                       142                     Hearing Continued (RE: related document(s)1 Voluntary Petition
                                                               (Chapter 11) filed by Debtor Don Teruo Kojima, Joint Debtor Susan
                                                               Lorraine Kojima) Status hearing to be held on 1/26/2022 at 10:00 AM at
                                                               Crtrm 5B, 411 W Fourth St., Santa Ana, CA 92701. The case judge is
   01/05/2022                                                  Theodor Albert (Mccall, Audrey) (Entered: 01/05/2022)

                                       143                     Hearing Continued (RE: related document(s)114 Disclosure Statement
                                                               filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima)
                                                               Hearing to be held on 1/26/2022 at 10:00 AM at Crtrm 5B, 411 W Fourth
                                                               St., Santa Ana, CA 92701. Debtor's counsel to give notice. The case
   01/05/2022                                                  judge is Theodor Albert (Mccall, Audrey) (Entered: 01/05/2022)

                                       144                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (3 pgs)                 document(s)138 Order on Generic Motion (BNC-PDF)) No. of Notices:
   01/05/2022                                                  1. Notice Date 01/05/2022. (Admin.) (Entered: 01/05/2022)

                                       145                     Notice of Hearing Supplemental Notice of Hearing to Be Held Remotely
                                       (6 pgs)                 Using ZoomGov Audio and Video Filed by Debtor Don Teruo Kojima,
                                                               Joint Debtor Susan Lorraine Kojima. (Golubow, Richard) (Entered:
   01/06/2022                                                  01/06/2022)

                                       146                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Heston,
   01/14/2022                          (1 pg)                  Richard. (Heston, Richard) (Entered: 01/14/2022)

                                       147                     Objection (related document(s): 114 Disclosure Statement filed by
                                       (7 pgs)                 Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima)
                                                               Creditors' Objection to Approval of Debtors' Disclosure Statement in
                                                               Support of Debtors' Chapter 11 Plan of Reorganization Filed by
                                                               Creditors Michael Garrison, Chase Kaufman, Zach Powers (Gottfried,
   01/14/2022                                                  Michael) (Entered: 01/14/2022)

                                       148                     Amending Schedules (D) , Statement of Financial Affairs for Individual
                                       (11 pgs)                Filing for Bankruptcy (Official Form 107 or 207) , Amended Schedule
                                                               A/B Individual: Property (Official Form 106A/B or 206A/B) , Schedule
                                                               G Individual: Executory Contracts and Unexpired Leases (Official Form
                                                               106G or 206G) , Statement of Related Cases (LBR Form 1015-2.1) Filed
                                                               by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
   01/18/2022                                                  (Golubow, Richard) (Entered: 01/18/2022)

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   01/18/2022                                                  Receipt of Amending Schedules D and/or E/F (Official Form 106D,
                                                               106E/F, 206D, or 206E/F) (Fee)( 8:21-bk-11352-TA) [misc,amdsch] (
                                                               32.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount 32.00. (re:
                                                               Doc# 148) (U.S. Treasury) (Entered: 01/18/2022)

                                       149                     Motion to Convert Case From Chapter 11 to 7. Fee Amount $15 Filed by
                                       (260 pgs)               Creditors Michael Garrison, Chase Kaufman, Zach Powers (Gottfried,
   01/18/2022                                                  Michael) (Entered: 01/18/2022)

                                                               Receipt of Motion to Convert Case( 8:21-bk-11352-TA) [motion,mconv]
                                                               ( 15.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount 15.00. (re:
   01/18/2022                                                  Doc# 149) (U.S. Treasury) (Entered: 01/18/2022)

                                       150                     Notice of Hearing to be Held Remotely Using ZoomGov Audio and Video
                                       (5 pgs)                 (Supplemental) Filed by Creditors Michael Garrison, Chase Kaufman,
                                                               Zach Powers (RE: related document(s)149 Motion to Convert Case From
                                                               Chapter 11 to 7. Fee Amount $15 Filed by Creditors Michael Garrison,
                                                               Chase Kaufman, Zach Powers). (Gottfried, Michael) (Entered:
   01/18/2022                                                  01/18/2022)

                                       151                     Hearing Set (RE: related document(s)149 Motion to Convert Case filed
                                                               by Creditor Chase Kaufman, Creditor Michael Garrison, Creditor Zach
                                                               Powers) The Hearing date is set for 2/9/2022 at 10:00 AM at Crtrm 5B,
                                                               411 W Fourth St., Santa Ana, CA 92701. The case judge is Theodor
   01/18/2022                                                  Albert (Deramus, Glenda) (Entered: 01/19/2022)

                                                               Receipt of Overages - $26.00 by 20. Receipt Number 20244655. (admin)
   01/20/2022                                                  (Entered: 01/20/2022)

                                       152                     Motion to Extend Exclusivity Period for Filing a Chapter 11 Plan and
                                       (21 pgs)                Disclosure Statement Debtors Notice Of Motion And Motion For
                                                               Extension Of The Exclusive Period To Solicit Acceptances To Chapter 11
                                                               Plan; Memorandum Of Points And Authorities; Declaration Of Don
                                                               Kojima In Support Thereof Filed by Debtor Don Teruo Kojima, Joint
                                                               Debtor Susan Lorraine Kojima (Golubow, Richard) (Entered:
   01/24/2022                                                  01/24/2022)

                                       153                     Chapter 11 Monthly Operating Report for the Month Ending: 12/31/2021
                                       (18 pgs)                Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
   01/25/2022                                                  (Golubow, Richard) (Entered: 01/25/2022)

                                       154                     Reply to (related document(s): 133 Reply filed by Debtor Don Teruo
                                       (6 pgs)                 Kojima, Joint Debtor Susan Lorraine Kojima) Debtors Supplement To
                                                               Omnibus Reply To Objections Filed By (1) Wells Fargo Bank, (2) Bank
                                                               Of New York, And (3) Katherine Meredith To The Debtors Disclosure
                                                               Statement Filed by Debtor Don Teruo Kojima, Joint Debtor Susan
   01/25/2022                                                  Lorraine Kojima (Golubow, Richard) (Entered: 01/25/2022)

   01/26/2022                          155                     Hearing Rescheduled/Continued Status Conference (RE: related
                                                               document(s)1 Voluntary Petition (Chapter 11) filed by Debtor Don Teruo
                                                               Kojima, Joint Debtor Susan Lorraine Kojima) Status hearing to be held
                                                               on 2/16/2022 at 11:00 AM at Crtrm 5B, 411 W Fourth St., Santa Ana,
                                                               CA 92701. The case judge is Theodor Albert - Continued to February 16,
                                                               2022 at 11:00 a.m. Conversion motion set for February 9, 2022 at 10:00
                                                               a.m. continued February 10, 2022 at 11:00 a.m. (Deramus, Glenda) -
                                                               Correction Has Been Made Regarding The Motion To Convert Case Has

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                              20/40


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                                                               Been Continued To February 10, 2022 at 11:00 a.m. Modified on
                                                               1/26/2022 (Deramus, Glenda). (Entered: 01/26/2022)

                                       156                     Hearing Rescheduled/Continued (RE: related document(s)149 Motion to
                                                               Convert Case filed by Creditor Chase Kaufman, Creditor Michael
                                                               Garrison, Creditor Zach Powers) The Hearing date is set for 2/10/2022 at
                                                               11:00 AM at Crtrm 5B, 411 W Fourth St., Santa Ana, CA 92701. The
                                                               case judge is Theodor Albert (Deramus, Glenda) - Correction Has Been
                                                               Made Regarding The Hearing Date and Time Modified on 1/26/2022
   01/26/2022                                                  (Deramus, Glenda). (Entered: 01/26/2022)

                                       157                     Hearing Rescheduled/Continued Debtor's Disclosure Statement Re:114
                                                               In Support Of Debtor's Chapter 11 Plan Of Reorganization. The Hearing
                                                               date is set for 2/16/2022 at 11:00 AM at Crtrm 5B, 411 W Fourth St.,
                                                               Santa Ana, CA 92701. The case judge is Theodor Albert - Continued to
                                                               February 16, 2022 at 11:00 a.m. Debtor to give notice Conversion motion
                                                               set for February 9, 2022 at 10:00 a.m., continued to February 10, 2022 at
                                                               11:00 a.m. (Deramus, Glenda) - Correction Has Been Made Regarding
                                                               the Motion to Convert Date and Time Modified on 1/26/2022 (Deramus,
   01/26/2022                                                  Glenda). (Entered: 01/26/2022)

                                       158                     Opposition to (related document(s): 149 Motion to Convert Case From
                                       (5 pgs)                 Chapter 11 to 7. Fee Amount $15 filed by Creditor Chase Kaufman,
                                                               Creditor Michael Garrison, Creditor Zach Powers) with proof of service
                                                               Filed by Creditor Katherine Meredith (Brown, Ronald) (Entered:
   01/26/2022                                                  01/26/2022)

                                       159                     Opposition to (related document(s): 149 Motion to Convert Case From
                                       (37 pgs)                Chapter 11 to 7. Fee Amount $15 filed by Creditor Chase Kaufman,
                                                               Creditor Michael Garrison, Creditor Zach Powers) Debtors Opposition
                                                               To Motion Of Creditors Chase Kaufman, Michael Garrison, And Zach
                                                               Powers For Entry Of Order Pursuant To 11 U.S.C. § 1112(b) To
                                                               Converting Case To A Chapter 7 Liquidation Filed by Debtor Don Teruo
                                                               Kojima, Joint Debtor Susan Lorraine Kojima (Golubow, Richard)
   01/26/2022                                                  (Entered: 01/26/2022)

                                       160                     Declaration re: Declaration Of Don Kojima In Support Of Debtors
                                       (34 pgs)                Opposition To Motion Of Creditors Chase Kaufman, Michael Garrison,
                                                               And Zach Powers For Entry Of Order Pursuant To 11 U.S.C. § 1112(b)
                                                               To Converting Case To A Chapter 7 Liquidation Filed by Debtor Don
                                                               Teruo Kojima, Joint Debtor Susan Lorraine Kojima (RE: related
   01/26/2022                                                  document(s)159 Opposition). (Golubow, Richard) (Entered: 01/26/2022)

                                       161                     Declaration re: Declaration Of Susan Kojima In Support Of Debtors
                                       (7 pgs)                 Opposition To Motion Of Creditors Chase Kaufman, Michael Garrison,
                                                               And Zach Powers For Entry Of Order Pursuant To 11 U.S.C. § 1112(B)
                                                               To Converting Case To A Chapter 7 Liquidation Filed by Debtor Don
                                                               Teruo Kojima, Joint Debtor Susan Lorraine Kojima (RE: related
   01/26/2022                                                  document(s)159 Opposition). (Golubow, Richard) (Entered: 01/26/2022)

                                       162                     Declaration re: Declaration Of Shawn Halan In Support Of Debtors
                                       (33 pgs)                Opposition To Motion Of Creditors Chase Kaufman, Michael Garrison,
                                                               And Zach Powers For Entry Of Order Pursuant To 11 U.S.C. § 1112(b)
                                                               To Converting Case To A Chapter 7 Liquidation Filed by Debtor Don
                                                               Teruo Kojima, Joint Debtor Susan Lorraine Kojima (RE: related
   01/26/2022                                                  document(s)159 Opposition). (Golubow, Richard) (Entered: 01/26/2022)

   01/26/2022                          163                     Request for judicial notice Request For Judicial Notice In Support Of
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11/29/22, 5:10 PM                                              CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)
                                       (184 pgs; 2 docs)       Debtors Opposition To Motion Of Creditors Chase Kaufman, Michael
                                                               Garrison, And Zach Powers For Entry Of Order Pursuant To 11 U.S.C. §
                                                               1112(b) To Converting Case To A Chapter 7 Liquidation Filed by Debtor
                                                               Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima (RE: related
                                                               document(s)159 Opposition). (Attachments: # 1 Exhibit 1-6) (Golubow,
                                                               Richard) (Entered: 01/26/2022)

                                       164                     Objection (related document(s): 149 Motion to Convert Case From
                                       (3 pgs)                 Chapter 11 to 7. Fee Amount $15 filed by Creditor Chase Kaufman,
                                                               Creditor Michael Garrison, Creditor Zach Powers) Evidentiary
                                                               Objections To Declaration Of Michael I. Gottfried Re Motion Of
                                                               Creditors Chase Kaufman, Michael Garrison, And Zach Powers For
                                                               Entry Of Order Pursuant To 11 U.S.C. § 1112(b) To Converting Case To
                                                               A Chapter 7 Liquidation Filed by Debtor Don Teruo Kojima, Joint
                                                               Debtor Susan Lorraine Kojima (Golubow, Richard) (Entered:
   01/26/2022                                                  01/26/2022)

                                       165                     Opposition to (related document(s): 149 Motion to Convert Case From
                                       (32 pgs; 2 docs)        Chapter 11 to 7. Fee Amount $15 filed by Creditor Chase Kaufman,
                                                               Creditor Michael Garrison, Creditor Zach Powers) Filed by Interested
                                                               Party Cameron Kojima (Attachments: # 1 Affidavit Declaration of Ross
   01/27/2022                                                  L. Hollenkamp, Esq.) (Hollenkamp, Ross) (Entered: 01/27/2022)

                                       166                     Notice of Hearing Notice of Continued Disclosure Statement Hearing
                                       (8 pgs)                 Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
   01/31/2022                                                  (Golubow, Richard) (Entered: 01/31/2022)

                                                               Receipt of BK-Motions/Applicatiopns-Redact (Fee) (Motion) - $26.00 by
   01/31/2022                                                  08. Receipt Number 80075896. (admin) (Entered: 01/31/2022)

                                                               Receipt of Returned Check Fee - $53.00 by 16. Receipt Number
   02/01/2022                                                  80075898. (admin) (Entered: 02/01/2022)

                                       167                     Objection (related document(s): 160 Declaration filed by Debtor Don
                                       (17 pgs)                Teruo Kojima, Joint Debtor Susan Lorraine Kojima) Evidentiary
                                                               Objections of Creditors Chase Kaufman, Michael Garrison, and Zach
                                                               Powers to Declaration of Don Kojima [Docket No. 160] Filed by
                                                               Creditors Michael Garrison, Chase Kaufman, Zach Powers (Gottfried,
   02/02/2022                                                  Michael) (Entered: 02/02/2022)

                                       168                     Objection (related document(s): 161 Declaration filed by Debtor Don
                                       (6 pgs)                 Teruo Kojima, Joint Debtor Susan Lorraine Kojima) Evidentiary
                                                               Objections of Creditors Chase Kaufman, Michael Garrison, and Zach
                                                               Powers to Declaration of Susan Kojima [Docket No. 161] Filed by
                                                               Creditors Michael Garrison, Chase Kaufman, Zach Powers (Gottfried,
   02/02/2022                                                  Michael) (Entered: 02/02/2022)

                                       169                     Objection (related document(s): 162 Declaration filed by Debtor Don
                                       (9 pgs)                 Teruo Kojima, Joint Debtor Susan Lorraine Kojima) Evidentiary
                                                               Objections of Creditors Chase Kaufman, Michael Garrison, and Zach
                                                               Powers to Declaration of Shawn Halan [Docket No. 162] Filed by
                                                               Creditors Michael Garrison, Chase Kaufman, Zach Powers (Gottfried,
   02/02/2022                                                  Michael) (Entered: 02/02/2022)

   02/02/2022                          170                     Reply to (related document(s): 164 Objection filed by Debtor Don Teruo
                                       (7 pgs)                 Kojima, Joint Debtor Susan Lorraine Kojima) Responses to Debtors
                                                               Evidentiary Objections to Declaration of Michael I. Gottfried Re Motion

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                                                                                                        EXHIBIT 1, PAGE 39
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                                                               of Creditors Chase Kaufman, Michael Garrison, and Zach Powers for
                                                               Entry of Order Pursuant to 11 U.S.C. § 1112(b) to Converting [Sic] Case
                                                               to a Chapter 7 Liquidation [Docket No. 164] Filed by Creditors Michael
                                                               Garrison, Chase Kaufman, Zach Powers (Gottfried, Michael) (Entered:
                                                               02/02/2022)

                                       171                     Reply to (related document(s): 159 Opposition filed by Debtor Don
                                       (146 pgs; 7 docs)       Teruo Kojima, Joint Debtor Susan Lorraine Kojima) Reply of Creditors
                                                               Chase Kaufman, Michael Garrison, and Zach Powers to Debtors
                                                               Opposition to Motion for Entry of Order Pursuant to 11 U.S.C. § 1112(b)
                                                               to Converting Case To a Chapter 7 Liquidation; Declarations of
                                                               Cameron Meredith and Dimple Mehra, and Supplemental Declaration of
                                                               Michael I. Gottfried In Support Thereof Filed by Creditors Michael
                                                               Garrison, Chase Kaufman, Zach Powers (Attachments: # 1 Exhibit H # 2
                                                               Exhibit I # 3 Exhibit J # 4 Exhibit EXHIBIT K # 5 Exhibit EXHIBIT L #
   02/02/2022                                                  6 Exhibit EXHIBIT M) (Gottfried, Michael) (Entered: 02/02/2022)

                                       172                     Reply to (related document(s): 165 Opposition filed by Interested Party
                                       (8 pgs)                 Cameron Kojima) Reply of Creditors Chase Kaufman, Michael Garrison,
                                                               and Zach Powers to Party-in-Interest Cameron Kojimas Opposition to
                                                               Motion for Entry of Order Pursuant to 11 U.S.C. § 1112(b) to Converting
                                                               Case to a Chapter 7 Liquidation Filed by Creditors Michael Garrison,
                                                               Chase Kaufman, Zach Powers (Gottfried, Michael) (Entered:
   02/02/2022                                                  02/02/2022)

                                       173                     Reply to (related document(s): 158 Opposition filed by Creditor
                                       (7 pgs)                 Katherine Meredith) Reply of Creditors Chase Kaufman, Michael
                                                               Garrison, and Zach Powers to Katherine Meredith's Opposition to
                                                               Motion for Entry of Order Pursuant to 11 U.S.C. § 1112(b) to Converting
                                                               Case to a Chapter 7 Liquidation Filed by Creditors Michael Garrison,
                                                               Chase Kaufman, Zach Powers (Gottfried, Michael) (Entered:
   02/02/2022                                                  02/02/2022)

                                       174                     Hearing Held (Bk Motion) (RE: related document(s) 149 Motion to
                                                               Convert Case) - Continued To 2-10-22 at 11:00 A.M. Per Status
                                                               Conference Hearing Held On 1-26-22 (Deramus, Glenda) Modified on
   02/09/2022                                                  2/9/2022 (Deramus, Glenda). (Entered: 02/09/2022)

                                       175                     Hearing Rescheduled/Continued (RE: related document(s)149 Motion to
                                                               Convert Case filed by Creditor Chase Kaufman, Creditor Michael
                                                               Garrison, Creditor Zach Powers) The Hearing date is set for 2/10/2022 at
                                                               11:00 AM at Crtrm 5B, 411 W Fourth St., Santa Ana, CA 92701. The
                                                               case judge is Theodor Albert - Per Status Conference Hearing Held On 1-
   02/09/2022                                                  26-22 (Deramus, Glenda) (Entered: 02/09/2022)

                                                               Hearing Rescheduled/Continued (Motion) (BK Case - BNC Option) (RE:
                                                               related document(s) 149 MOTION TO CONVERT CASE filed by Zach
                                                               Powers) Hearing to be held on 05/25/2022 at 11:00 AM Ronald Reagan
                                                               Federal Bldg 411 W Fourth St Crtrm 5B Santa Ana, CA 92701 for 149 ,
   02/10/2022                                                  (Deramus, Glenda) (Entered: 02/10/2022)

                                       176                     Notice of Continued Hearing on Creditors' Motion for Entry of Order
                                       (5 pgs)                 Pursuant to 11 U.S.C. § 1112(b) Filed by Creditors Michael Garrison,
                                                               Chase Kaufman, Zach Powers (RE: related document(s)149 Motion to
                                                               Convert Case From Chapter 11 to 7. Fee Amount $15 Filed by Creditors
                                                               Michael Garrison, Chase Kaufman, Zach Powers). (Gottfried, Michael)
   02/10/2022                                                  (Entered: 02/10/2022)


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   02/14/2022                          177                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (25 pgs)                1(o)(3)) Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine
                                                               Kojima (RE: related document(s)152 Motion to Extend Exclusivity
                                                               Period for Filing a Chapter 11 Plan and Disclosure Statement Debtors
                                                               Notice Of Motion And Motion For Extension Of The Exclusive Period To
                                                               Solicit Acceptances To Chapter 11 Plan; Memorandum Of Points And
                                                               Authorities; Decla). (Golubow, Richard) (Entered: 02/14/2022)

                                       178                     Supplemental Debtors Further Supplement To Omnibus Reply To
                                       (4 pgs)                 Objections Filed By (1) Wells Fargo Bank, (2) Bank Of New York, and
                                                               (3) Katherine Meredith To The Debtors Disclosure Statement Filed by
                                                               Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
   02/15/2022                                                  (Golubow, Richard) (Entered: 02/15/2022)

                                       179                     Order Granting Motion For Extension Of The Exclusive Period To
                                       (2 pgs)                 Solicit Acceptances To Chapter 11 Plan (BNC-PDF) (Related Doc # 152
                                                               ) - IT IS HEREBY ORDERED that: 1. The Motion is granted; 2. The
                                                               Debtors' exclusive period to solicit acceptances to a plan is extended
                                                               from January 24, 2022 to March 31, 2022; 3. This Order is entered
                                                               without prejudice to any right that the Debtors may have to seek further
                                                               extensions of the exclusity period; and 4. No further notice or a hearing
                                                               shall be necessary to effectuate the foregoing. Signed on 2/15/2022
   02/15/2022                                                  (Deramus, Glenda) (Entered: 02/15/2022)

                                       180                     Motion to Approve Stipulation for Plan Treatment on First Lien Secured
                                       (14 pgs; 2 docs)        by Real Property Located at 7 Shoreridge, Newport Beach, CA 92657
                                                               Filed by Creditor Wells Fargo Bank, N.A. (Attachments: # 1 Exhibit)
   02/15/2022                                                  (Wong, Jennifer) (Entered: 02/15/2022)

                                       181                     Notice of Opportunity To Request a Hearing On Motion (LBR 9013-
                                       (19 pgs; 2 docs)        1(o)) Filed by Creditor Wells Fargo Bank, N.A. (RE: related
                                                               document(s)180 Motion to Approve Stipulation for Plan Treatment on
                                                               First Lien Secured by Real Property Located at 7 Shoreridge, Newport
                                                               Beach, CA 92657 Filed by Creditor Wells Fargo Bank, N.A.
                                                               (Attachments: # 1 Exhibit)). (Attachments: # 1 Exhibit) (Wong, Jennifer)
   02/15/2022                                                  (Entered: 02/15/2022)

                                                               Hearing Rescheduled/Continued (Other) (BK Case - BNC Option) (RE:
                                                               related document(s) 1 VOLUNTARY PETITION (CHAPTER 11) filed
                                                               by Don Teruo Kojima) Status Hearing to be held on 03/23/2022 at 10:00
                                                               AM Ronald Reagan Federal Bldg 411 W Fourth St Crtrm 5B Santa Ana,
   02/16/2022                                                  CA 92701 for 1 , (Deramus, Glenda) (Entered: 02/16/2022)

                                       182                     Hearing Rescheduled/Continued Re:114 Debtor's Disclosure Statement
                                                               In Support Of Debtors' Chapter 11 Plan Of Reorganization; The Hearing
                                                               date is set for 3/23/2022 at 10:00 AM at Crtrm 5B, 411 W Fourth St.,
                                                               Santa Ana, CA 92701. The case judge is Theodor Albert (Deramus,
   02/16/2022                                                  Glenda) (Entered: 02/16/2022)

                                       183                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)179 Order on Motion to Extend Exclusivity Period (BNC-
                                                               PDF)) No. of Notices: 1. Notice Date 02/17/2022. (Admin.) (Entered:
   02/17/2022                                                  02/17/2022)

                                       184                    Chapter 11 Monthly Operating Report for the Month Ending: 01/31/2022
                                       (20 pgs; 2 docs)       Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
   02/23/2022                                                 (Attachments: # 1 Exhibit) (Golubow, Richard) (Entered: 02/23/2022)

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   02/23/2022                          185                    Opposition to (related document(s): 180 Motion to Approve Stipulation for
                                       (9 pgs)                Plan Treatment on First Lien Secured by Real Property Located at 7
                                                              Shoreridge, Newport Beach, CA 92657 filed by Creditor Wells Fargo
                                                              Bank, N.A.) Creditors' Opposition to Wells Fargo N.A.'s Motion to
                                                              Approve Stipulation for Plan Treatment on First Lien Secured by Real
                                                              Property Located at 7 Shoreridge, Newport Beach, CA 92657 Filed by
                                                              Creditors Michael Garrison, Chase Kaufman, Zach Powers (Gottfried,
                                                              Michael) (Entered: 02/23/2022)

                                       186                    Adversary case 8:22-ap-01026. Complaint by Chase Kaufman, Michael
                                       (25 pgs; 3 docs)       Garrison, Zach Powers against Don Teruo Kojima, Susan Lorraine
                                                              Kojima. Fee Amount $350 (Attachments: # 1 Adversary Proceeding Cover
                                                              Sheet # 2 Summons and Notice of Status Conference in Adversary
                                                              Proceeding) Nature of Suit: (62 (Dischargeability - 523(a)(2), false
                                                              pretenses, false representation, actual fraud)),(67 (Dischargeability -
                                                              523(a)(4), fraud as fiduciary, embezzlement, larceny)),(68
                                                              (Dischargeability - 523(a)(6), willful and malicious injury)),(41 (Objection
                                                              / revocation of discharge - 727(c),(d),(e))) (Gottfried, Michael) (Entered:
   02/28/2022                                                 02/28/2022)

                                       187                    Notice of Debtor's Request for Mortgage Forbearance Due to the Covid-
                                       (5 pgs)                19 Pandemic for 30 days. Certificate of Service Filed. Filed by Creditor
   03/02/2022                                                 BANK OF AMERICA, N.A.. (Wolff, Katie) (Entered: 03/02/2022)

                                       188                    Notice of Hearing on Motion to Approve Stipulation for Plan Treatment on
                                       (5 pgs)                First Lien Secured by Real Property Located at 7 Shoreridge, Newport
                                                              Beach, CA 92657 Filed by Creditor Wells Fargo Bank, N.A. (RE: related
                                                              document(s)180 Motion to Approve Stipulation for Plan Treatment on
                                                              First Lien Secured by Real Property Located at 7 Shoreridge, Newport
                                                              Beach, CA 92657 Filed by Creditor Wells Fargo Bank, N.A. (Attachments:
   03/04/2022                                                 # 1 Exhibit)). (Wong, Jennifer) (Entered: 03/04/2022)

                                       189                    Hearing Set (RE: related document(s)180 Motion To Approve Stipulation
                                                              For Plan Treatment On First Lien Secured filed by Creditor Wells Fargo
                                                              Bank, N.A.) The Hearing date is set for 3/23/2022 at 10:00 AM at Crtrm
                                                              5B, 411 W Fourth St., Santa Ana, CA 92701. The case judge is Theodor
   03/04/2022                                                 Albert (Deramus, Glenda) (Entered: 03/04/2022)

                                       190                    Notice of Hearing Notice of Continued Disclosure Statement Hearing and
                                       (8 pgs)                Status Conference Filed by Debtor Don Teruo Kojima, Joint Debtor Susan
   03/14/2022                                                 Lorraine Kojima. (Golubow, Richard) (Entered: 03/14/2022)

                                       191                    Reply to (related document(s): 133 Reply filed by Debtor Don Teruo
                                       (5 pgs)                Kojima, Joint Debtor Susan Lorraine Kojima) Debtor's Further
                                                              Supplement to Omnibus Reply to Objections Filed by (1) Wells Fargo
                                                              Bank, (2) Bank of New York, and (3) Katherine Meredith to the Debtors'
                                                              Disclosure Statement Filed by Debtor Don Teruo Kojima, Joint Debtor
   03/21/2022                                                 Susan Lorraine Kojima (Golubow, Richard) (Entered: 03/21/2022)

                                       192                    Motion to Sell Property of the Estate Free and Clear of Liens under
                                       (25 pgs)               Section 363(f) Debtors Motion For Order: (1) Approving The Sale Of
                                                              Real Property Of The Estate Free And Clear Of Liens, Claims, And
                                                              Interests Pursuant To 11 U.S.C. § 363; (2) Waiving The 14-Day Stay
                                                              Periods Set Forth In Bankruptcy Rules 6004(h) AND 6006(d); and (3)
                                                              Granting Related Relief; Memorandum Of Points And Authorities In
                                                              Support. Fee Amount $188, Filed by Debtor Don Teruo Kojima, Joint
   03/23/2022                                                 Debtor Susan Lorraine Kojima (Golubow, Richard) (Entered: 03/23/2022)

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   03/23/2022                                                 Receipt of Motion to Sell Property of the Estate Free and Clear of Liens
                                                              under Section 363(f) - Fee( 8:21-bk-11352-TA) [motion,msell] ( 188.00)
                                                              Filing Fee. Receipt number AXXXXXXXX. Fee amount 188.00. (re: Doc#
                                                              192) (U.S. Treasury) (Entered: 03/23/2022)

                                       193                    Notice of sale of estate property (LBR 6004-2) 7 Shoreridge, Newport
                                       (7 pgs)                Coast, California 92657 Filed by Debtor Don Teruo Kojima, Joint Debtor
   03/23/2022                                                 Susan Lorraine Kojima. (Golubow, Richard) (Entered: 03/23/2022)

                                       194                    Declaration re: Declaration Of Don Kojima In Support Of Debtors Motion
                                       (71 pgs)               For Order: (1) Approving The Sale Of Real Property Of The Estate Free
                                                              And Clear Of Liens, Claims, And Interests Pursuant To 11 U.S.C. § 363;
                                                              (2) Waiving The 14-Day Stay Periods Set Forth In Bankruptcy Rules
                                                              6004(h) AND 6006(d); and (3) Granting Related Relief Filed by Debtor
                                                              Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima (RE: related
                                                              document(s)192 Motion to Sell Property of the Estate Free and Clear of
                                                              Liens under Section 363(f) Debtors Motion For Order: (1) Approving The
                                                              Sale Of Real Property Of The Estate Free And Clear Of Liens, Claims,
                                                              And Interests Pursuant To 11 U.S.C. § 363; (2) Wa, 193 Notice of sale of
   03/23/2022                                                 estate property (LBR 6004-2)). (Golubow, Richard) (Entered: 03/23/2022)

                                       195                    Declaration re: Declaration Of Shawn Halan In Support Of Debtors
                                       (11 pgs)               Motion For Order: (1) Approving The Sale Of Real Property Of The
                                                              Estate Free And Clear Of Liens, Claims, And Interests Pursuant To 11
                                                              U.S.C. § 363; (2) Waiving The 14-Day Stay Periods Set Forth In
                                                              Bankruptcy Rules 6004(h) and 6006(d); and (3) Granting Related Relief
                                                              Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima
                                                              (RE: related document(s)192 Motion to Sell Property of the Estate Free
                                                              and Clear of Liens under Section 363(f) Debtors Motion For Order: (1)
                                                              Approving The Sale Of Real Property Of The Estate Free And Clear Of
                                                              Liens, Claims, And Interests Pursuant To 11 U.S.C. § 363; (2) Wa, 193
                                                              Notice of sale of estate property (LBR 6004-2)). (Golubow, Richard)
   03/23/2022                                                 (Entered: 03/23/2022)

                                       196                    Notice of Hearing Notice Of Hearing On Debtors Motion For Order: (1)
                                       (8 pgs)                Approving The Sale Of Real Property Of The Estate Free And Clear Of
                                                              Liens, Claims, And Interests Pursuant To 11 U.S.C. § 363; (2) Waiving The
                                                              14-Day Stay Periods Set Forth In Bankruptcy Rules 6004(H) AND
                                                              6006(D); and (3) Granting Related Relief Filed by Debtor Don Teruo
                                                              Kojima, Joint Debtor Susan Lorraine Kojima (RE: related document(s)192
                                                              Motion to Sell Property of the Estate Free and Clear of Liens under
                                                              Section 363(f) Debtors Motion For Order: (1) Approving The Sale Of
                                                              Real Property Of The Estate Free And Clear Of Liens, Claims, And
                                                              Interests Pursuant To 11 U.S.C. § 363; (2) Waiving The 14-Day Stay
                                                              Periods Set Forth In Bankruptcy Rules 6004(h) AND 6006(d); and (3)
                                                              Granting Related Relief; Memorandum Of Points And Authorities In
                                                              Support. Fee Amount $188, Filed by Debtor Don Teruo Kojima, Joint
                                                              Debtor Susan Lorraine Kojima). (Golubow, Richard) (Entered:
   03/23/2022                                                 03/23/2022)

                                       197                    Hearing Set (RE: related document(s)192 Motion to Sell Property of the
                                                              Estate Free and Clear of Liens under Section 363(f) - Fee filed by Debtor
                                                              Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima) The Hearing
                                                              date is set for 4/13/2022 at 10:00 AM at Crtrm 5B, 411 W Fourth St.,
                                                              Santa Ana, CA 92701. The case judge is Theodor Albert (Deramus,
   03/23/2022                                                 Glenda) (Entered: 03/23/2022)

   03/23/2022                          198                    Hearing Rescheduled/Continued (RE: related document(s)1 Voluntary
                                                              Petition (Chapter 11) filed by Debtor Don Teruo Kojima, Joint Debtor
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                                                              Susan Lorraine Kojima) The Hearing date is set for 5/25/2022 at 11:00
                                                              AM at Crtrm 5B, 411 W Fourth St., Santa Ana, CA 92701. The case judge
                                                              is Theodor Albert (Deramus, Glenda) (Entered: 03/23/2022)

                                       199                    Hearing Held (RE: related document(s)180 Motion To Approve
                                                              Stipulation For Plan Treatment On First Lien Secured By Real Property
                                                              Located at 7 Shoreridge, Newport Beach, CA 92657 filed by Creditor
                                                              Wells Fargo Bank, N.A.) Approved. Movant To Submit Order. (Deramus,
   03/23/2022                                                 Glenda) (Entered: 03/23/2022)

                                       200                    Hearing Rescheduled/Continued Re:114 Debtor's Disclosure Statement In
                                                              Support Of Debtor's Chapter 11 Plan Of Reorganization; The Hearing date
                                                              is set for 5/25/2022 at 11:00 AM at Crtrm 5B, 411 W Fourth St., Santa
                                                              Ana, CA 92701. The case judge is Theodor Albert (Deramus, Glenda)
   03/23/2022                                                 (Entered: 03/23/2022)

                                       201                    Notice of lodgment of Order in Bankruptcy Case re: Motion to Approve
                                       (5 pgs; 2 docs)        Stipulation for Plan Treatment on First Lien Secured by Real Property
                                                              Located at 7 Shoreridge, Newport Beach, CA 92657 Filed by Creditor
                                                              Wells Fargo Bank, N.A. (RE: related document(s)180 Motion to Approve
                                                              Stipulation for Plan Treatment on First Lien Secured by Real Property
                                                              Located at 7 Shoreridge, Newport Beach, CA 92657 Filed by Creditor
                                                              Wells Fargo Bank, N.A. (Attachments: # 1 Exhibit)). (Attachments: # 1
   03/24/2022                                                 Order) (Wong, Jennifer) (Entered: 03/24/2022)

                                       202                    Chapter 11 Monthly Operating Report for the Month Ending: 02/28/2022
                                       (16 pgs)               Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
   03/24/2022                                                 (Golubow, Richard) (Entered: 03/24/2022)

                                       203                    Non-Opposition to Debtors' Motion for Order Approving the Sale of Real
                                       (3 pgs)                Property of the Estate Free and Clear of Liens, Claims, and Interests
                                                              Pursuant to 11 U.S.C. §363 192 Filed by Creditor Wells Fargo Bank,
                                                              N.A.. (Wong, Jennifer) Warning: See docket entry no: 204 for corrective
   03/28/2022                                                 action. Modified on 3/28/2022 (Daniels, Sally). (Entered: 03/28/2022)

                                       204                    Notice to Filer of Error and/or Deficient Document Incorrect hearing
                                                              date/time/location was selected. Incorrect hearing time of 10:00 PM
                                                              reflected. THE FILER IS INSTRUCTED TO FILE AN AMENDED
                                                              NOTICE WITH THE CORRECT HEARING INFORMATION. (RE:
                                                              related document(s)203 Non-Opposition filed by Creditor Wells Fargo
   03/28/2022                                                 Bank, N.A.) (Daniels, Sally) (Entered: 03/28/2022)

                                       205                    Non-Opposition (Amended) to Debtor's Motion for Order Approving The
                                       (3 pgs)                Sale of Real Property of the Estate Free and Clear of Liens, Claims and
                                                              Interests Pursuant to 11 U.S.C. §363 192 Filed by Creditor Wells Fargo
   03/28/2022                                                 Bank, N.A.. (Wong, Jennifer) (Entered: 03/28/2022)

                                       206                    Non-Opposition to Debtors' Motion for Order Approving the Sale of Real
                                       (7 pgs)                Property [Dkt. 192] Filed by Creditor THE BANK OF NEW YORK
                                                              MELLON FKA THE BANK OF NEW YORK, SUCCESSOR
                                                              INDENTURE TRUSTEE TO JPMORGAN CHASE BANK, N.A., AS
                                                              INDENTURE TRUSTEE ON BEHALF OF THE NOTEHOLDERS OF
                                                              THE CWHEQ INC., CWHEQ REVOLVING HOM. (Lee, Nancy)
   03/29/2022                                                 (Entered: 03/29/2022)

   03/30/2022                          207                    Opposition to (related document(s): 192 Motion to Sell Property of the
                                       (15 pgs)               Estate Free and Clear of Liens under Section 363(f) Debtors Motion For

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                                                              Order: (1) Approving The Sale Of Real Property Of The Estate Free And
                                                              Clear Of Liens, Claims, And Interests Pursuant To 11 U.S.C. § 363; (2) Wa
                                                              filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima)
                                                              Creditors' Limited Opposition to Debtors' Motion For Order: (1)
                                                              Approving the Sale of Real Property of the Estate Free and Clear of Liens,
                                                              Claims, and Interests Pursuant to 11 U.S.C. § 363; (2) Waiving the 14-Day
                                                              Stay Periods Set Forth in Bankruptcy Rules 6004(h) and 6006(d); and (3)
                                                              Granting Related Relief Filed by Creditors Michael Garrison, Chase
                                                              Kaufman, Zach Powers (Gottfried, Michael) (Entered: 03/30/2022)

                                       208                    Response to (related document(s): 192 Motion to Sell Property of the
                                       (4 pgs)                Estate Free and Clear of Liens under Section 363(f) Debtors Motion For
                                                              Order: (1) Approving The Sale Of Real Property Of The Estate Free And
                                                              Clear Of Liens, Claims, And Interests Pursuant To 11 U.S.C. § 363; (2) Wa
                                                              filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima)
                                                              with proof of service Filed by Creditor Katherine Meredith (Brown,
   03/31/2022                                                 Ronald) (Entered: 03/31/2022)

                                       209                    Motion to Extend Exclusivity Period for Filing a Chapter 11 Plan and
                                       (21 pgs)               Disclosure Statement Debtor's Notice of Motion and Motion for Further
                                                              Extension of the Exclusive Period to Solicit Acceptances to Chapter 11
                                                              Plan; Memorandum of Points and Authorities; Declaration of Don Kojima
                                                              in Support Thereof Filed by Debtor Don Teruo Kojima, Joint Debtor Susan
   03/31/2022                                                 Lorraine Kojima (Golubow, Richard) (Entered: 03/31/2022)

                                       210                    Answer to Complaint Filed by Don Teruo Kojima, Susan Lorraine
                                       (17 pgs)               Kojima. (Hollenkamp, Ross) Warning: See docket entry no: 211 for
                                                              corrective action. Modified on 4/1/2022 (Daniels, Sally). (Entered:
   03/31/2022                                                 03/31/2022)

                                       211                    Notice to Filer of Error and/or Deficient Document Document was filed
                                                              in the incorrect case. The Answer needs to be filed in the adversary
                                                              case THE FILER IS INSTRUCTED TO RE-FILE THE DOCUMENT
                                                              IN THE CORRECT CASE IMMEDIATELY. (RE: related
                                                              document(s)210 Answer to Complaint filed by Debtor Don Teruo Kojima,
                                                              Joint Debtor Susan Lorraine Kojima) (Daniels, Sally) (Entered:
   04/01/2022                                                 04/01/2022)

                                       212                    Order Granting Motion To Approve Stipulation For Plan Treatment On
                                       (2 pgs)                First Lien Secured By Real Property Located At 7 Shoreridge, Newport
                                                              Beach, CA 92657 (BNC-PDF) (Related Doc # 180 ) - IT IS HEREBY
                                                              ORDERED that the Motion is GRANTED and the Stipulation attached as
                                                              Exhibit "1" to the Motion is APPROVED - Please See Order For Further
   04/04/2022                                                 Ruling Signed on 4/4/2022 (Deramus, Glenda) (Entered: 04/04/2022)

                                       213                    Reply to (related document(s): 207 Opposition filed by Creditor Chase
                                       (30 pgs)               Kaufman, Creditor Michael Garrison, Creditor Zach Powers) Debtors
                                                              Reply To Opposition To Motion For Order: (1) Approving The Sale Of
                                                              Real Property Of The Estate Free And Clear Of Liens, Claims, And
                                                              Interests Pursuant To 11 U.S.C. § 363; (2) Waiving The 14-Day Stay
                                                              Periods Set Forth In Bankruptcy Rules 6004(h) and 6006(d); AND (3)
                                                              Granting Related Relief; Supplemental Declaration Of Shawn Halan In
                                                              Support Thereof Filed by Debtor Don Teruo Kojima, Joint Debtor Susan
   04/06/2022                                                 Lorraine Kojima (Golubow, Richard) (Entered: 04/06/2022)

   04/06/2022                          214                    Declaration re: Declaration Of Donald T. Fife In Support Of Debtors
                                       (6 pgs)                Reply To Opposition To Motion For Order: (1) Approving The Sale Of
                                                              Real Property Of The Estate Free And Clear Of Liens, Claims, And

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                               28/40


                                                                                                        EXHIBIT 1, PAGE 45
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                                                              Interests Pursuant To 11 U.S.C. § 363; (2) Waiving The 14-Day Stay
                                                              Periods Set Forth In Bankruptcy Rules 6004(h) AND 6006(d); and (3)
                                                              Granting Related Relief Filed by Debtor Don Teruo Kojima, Joint Debtor
                                                              Susan Lorraine Kojima (RE: related document(s)213 Reply). (Golubow,
                                                              Richard) (Entered: 04/06/2022)

                                       215                    Request for judicial notice Request For Judicial Notice In Support Of
                                       (46 pgs)               Debtors Reply To Opposition To Motion For Order: (1) Approving The
                                                              Sale Of Real Property Of The Estate Free And Clear Of Liens, Claims,
                                                              And Interests Pursuant To 11 U.S.C. § 363; (2) waiving the 14-day stay
                                                              periods set forth in bankruptcy rules 6004(h) and 6006(d); and (3)
                                                              Granting Related Relief Filed by Debtor Don Teruo Kojima, Joint Debtor
                                                              Susan Lorraine Kojima (RE: related document(s)213 Reply). (Golubow,
   04/06/2022                                                 Richard) (Entered: 04/06/2022)

                                       216                    BNC Certificate of Notice - PDF Document. (RE: related document(s)212
                                       (4 pgs)                Order on Generic Motion (BNC-PDF)) No. of Notices: 1. Notice Date
   04/06/2022                                                 04/06/2022. (Admin.) (Entered: 04/06/2022)

                                       217                    Application to Employ The Law Office Of Ross L. Hollenkamp as Special
                                       (64 pgs)               Litigation Counsel Notice Of Application And Application Of Debtors And
                                                              Debtors-In-Possession For Authority To Employ The Law Office Of Ross
                                                              L. Hollenkamp As Special Litigation Counsel; Memorandum Of Points
                                                              And Authorities; And Declarations Of Ross L. Hollenkamp, Esq. and Don
                                                              Kojima In Support Thereof Filed by Debtor Don Teruo Kojima, Joint
   04/12/2022                                                 Debtor Susan Lorraine Kojima (Golubow, Richard) (Entered: 04/12/2022)

                                       218                    Hearing Set (RE: related document(s)217 Application For Authority To
                                                              Employ The Law Office Of Ross L Hollenkamp As Special Litigation
                                                              Counsel filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine
                                                              Kojima) The Hearing date is set for 5/4/2022 at 10:00 AM at Crtrm 5B,
                                                              411 W Fourth St., Santa Ana, CA 92701. The case judge is Theodor
   04/12/2022                                                 Albert (Daniels, Sally) (Entered: 04/12/2022)

                                       219                    Notice of lodgment of Order in Bankruptcy Case Re: Motion For Order:
                                       (17 pgs)               (1) Approving The Sale Of Real Property Of The Estate Free And Clear Of
                                                              Liens, Claims, And Interests Pursuant To 11 U.S.C. § 363; (2) Waiving The
                                                              14-Day Stay Periods Set Forth In Bankruptcy Rules 6004(h) and 6006(d);
                                                              and (3) Granting Related Relief Filed by Debtor Don Teruo Kojima, Joint
                                                              Debtor Susan Lorraine Kojima (RE: related document(s)192 Motion to
                                                              Sell Property of the Estate Free and Clear of Liens under Section 363(f)
                                                              Debtors Motion For Order: (1) Approving The Sale Of Real Property Of
                                                              The Estate Free And Clear Of Liens, Claims, And Interests Pursuant To 11
                                                              U.S.C. § 363; (2) Waiving The 14-Day Stay Periods Set Forth In
                                                              Bankruptcy Rules 6004(h) AND 6006(d); and (3) Granting Related Relief;
                                                              Memorandum Of Points And Authorities In Support. Fee Amount $188,
                                                              Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima).
   04/13/2022                                                 (Golubow, Richard) (Entered: 04/13/2022)

                                       220                    Order Granting Debtors' Motion For Order: (1) Approving The Sale Of
                                       (14 pgs)               Real Property Of The Estate Free And Clear Of Liens, Claims, And
                                                              Interests Pursuant To 11 USC § 363; (2) Waiving The 14-Day Stay Periods
                                                              Set Forth In Bankruptcy Rues 6004(h) And 6006(d); And (3) Granting
                                                              Related Relief (BNC-PDF) (Related Doc # 192 ) - Please See Order
   04/13/2022                                                 Signed on 4/13/2022 (Deramus, Glenda) (Entered: 04/13/2022)

   04/13/2022                          221                    Request for a Certified Copy Fee Amount $11 (2). (RE: related
                                                              document(s)220 Order on Motion To Sell (BNC-PDF)) (Law, Tamika)

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                             29/40


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                                                              (Entered: 04/13/2022)

                                       222                    Hearing Held (RE: related document(s)192 Motion to Sell Property of the
                                                              Estate Free and Clear of Liens under Section 363(f) - Fee filed by Debtor
                                                              Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima) - Motion is
                                                              granted. Movant to submit order. (Deramus, Glenda) (Entered:
   04/13/2022                                                 04/13/2022)

                                                              Receipt of Certification Fee - $22.00 by 08. Receipt Number 80076025.
   04/13/2022                                                 (admin) (Entered: 04/13/2022)

                                                              Receipt of Photocopies Fee - $14.00 by 08. Receipt Number 80076025.
   04/13/2022                                                 (admin) (Entered: 04/13/2022)

                                       223                    BNC Certificate of Notice - PDF Document. (RE: related document(s)220
                                       (16 pgs)               Order on Motion To Sell (BNC-PDF)) No. of Notices: 1. Notice Date
   04/15/2022                                                 04/15/2022. (Admin.) (Entered: 04/15/2022)

                                       224                    Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (25 pgs)               1(o)(3)) Declaration That No Party Requested a Hearing on Motion Filed
                                                              by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima (RE:
                                                              related document(s)209 Motion to Extend Exclusivity Period for Filing a
                                                              Chapter 11 Plan and Disclosure Statement Debtor's Notice of Motion and
                                                              Motion for Further Extension of the Exclusive Period to Solicit
                                                              Acceptances to Chapter 11 Plan; Memorandum of Points and Auth).
   04/19/2022                                                 (Golubow, Richard) (Entered: 04/19/2022)

                                       225                    Order Granting Debtors' Motion For Further Extension Of The Exclusive
                                       (2 pgs)                Period To Solicit Acceptances To Chapter 11 Plan (BNC-PDF) (Related
                                                              Doc # 209 ) - IT IS HEREBY ORDERED that: 1. The Motion is granted;
                                                              2. The Debtors' exclusive period to solicit acceptances to a plan is
                                                              extended from March 31, 2022 to June 30, 2022; 3. This Order is entered
                                                              without prejudice to any right that the Debtors may have to seek further
                                                              extension of the exclusivity period; and 4. No further notice or a hearing
                                                              shall be necessary to effectuate the foregoing. Signed on 4/20/2022
   04/20/2022                                                 (Deramus, Glenda) (Entered: 04/20/2022)

                                       226                    Opposition to (related document(s): 217 Application to Employ The Law
                                       (50 pgs)               Office Of Ross L. Hollenkamp as Special Litigation Counsel Notice Of
                                                              Application And Application Of Debtors And Debtors-In-Possession For
                                                              Authority To Employ The Law Office Of Ross L. Hollenkamp As Special
                                                              Litigation Cou filed by Debtor Don Teruo Kojima, Joint Debtor Susan
                                                              Lorraine Kojima) Creditors' Opposition to Debtors' Application for
                                                              Authority to Employ The Law Office Of Ross L. Hollenkamp as Special
                                                              Litigation Counsel; Declaration Of Michael I. Gottfried in Support
                                                              Thereof Filed by Creditors Michael Garrison, Chase Kaufman, Zach
   04/20/2022                                                 Powers (Gottfried, Michael) (Entered: 04/20/2022)

                                       227                    Application to Employ Hahn Fife & Company, LLP as Accountants to
                                       (22 pgs)               Debtor-in-Possession, Plus Exhibits and Proof of Service Filed by
   04/21/2022                                                 Accountant Hahn Fife & Company. (Fife, Donald) (Entered: 04/21/2022)

   04/21/2022                          228                    Notice of motion/application to Employ Hahn Fife & Co., LLP to Debtor-
                                       (8 pgs)                in-Possession Filed by Accountant Hahn Fife & Company (RE: related
                                                              document(s)227 Application to Employ Hahn Fife & Company, LLP as
                                                              Accountants to Debtor-in-Possession, Plus Exhibits and Proof of Service


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                                                              Filed by Accountant Hahn Fife & Company.). (Fife, Donald) (Entered:
                                                              04/21/2022)

                                       229                    BNC Certificate of Notice - PDF Document. (RE: related document(s)225
                                       (4 pgs)                Order on Motion to Extend Exclusivity Period (BNC-PDF)) No. of
   04/22/2022                                                 Notices: 1. Notice Date 04/22/2022. (Admin.) (Entered: 04/22/2022)

                                       230                    Reply to (related document(s): 226 Opposition filed by Creditor Chase
                                       (21 pgs)               Kaufman, Creditor Michael Garrison, Creditor Zach Powers) Debtors'
                                                              Reply to Plaintiffs' Opposition to Application of Debtors and Debtors-in-
                                                              Possession for Authority to Employ The Law Office of Ross L. Hollenkamp
                                                              as Special Litigation Counsel; Declaration of Ross L. Hollenkamp, Esq. in
                                                              Support Thereof Filed by Debtor Don Teruo Kojima, Joint Debtor Susan
   04/27/2022                                                 Lorraine Kojima (Golubow, Richard) (Entered: 04/27/2022)

                                       231                    Chapter 11 Monthly Operating Report for the Month Ending: 03/31/2022
                                       (16 pgs; 2 docs)       Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
   04/29/2022                                                 (Attachments: # 1 Exhibit) (Golubow, Richard) (Entered: 04/29/2022)

                                       232                    Hearing Held (RE: related document(s)217 Application to Employ filed
                                                              by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima)
                                                              Application is approved. Movant to submit order. (GD) (Entered:
   05/04/2022                                                 05/04/2022)

                                       233                    Transcript Order Form, regarding Hearing Date 05/04/2022 Filed by
                                       (1 pg)                 Creditors Michael Garrison, Chase Kaufman, Zach Powers (RE: related
                                                              document(s)217 Application to Employ The Law Office Of Ross L.
                                                              Hollenkamp as Special Litigation Counsel Notice Of Application And
                                                              Application Of Debtors And Debtors-In-Possession For Authority To
                                                              Employ The Law Office Of Ross L. Hollenkamp As Special Litigation
   05/05/2022                                                 Cou). (Gottfried, Michael) (Entered: 05/05/2022)

                                       234                    Notice of lodgment Of Order In Bankruptcy Case Re: Notice Of
                                       (5 pgs)                Application And Application Of Debtors And Debtors-in-Possession For
                                                              Authority To Employ The Law Office Of Ross L. Hollenkamp As Special
                                                              Litigation Counsel; Memorandum Of Points And Authorities; And
                                                              Declarations Of Ross L. Hollenkamp, Esq. And Don Kojima In Support
                                                              Thereof Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine
                                                              Kojima (RE: related document(s)217 Application to Employ The Law
                                                              Office Of Ross L. Hollenkamp as Special Litigation Counsel Notice Of
                                                              Application And Application Of Debtors And Debtors-In-Possession For
                                                              Authority To Employ The Law Office Of Ross L. Hollenkamp As Special
                                                              Litigation Counsel; Memorandum Of Points And Authorities; And
                                                              Declarations Of Ross L. Hollenkamp, Esq. and Don Kojima In Support
                                                              Thereof Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine
   05/05/2022                                                 Kojima). (Golubow, Richard) (Entered: 05/05/2022)

                                       235                    Supplemental Creditors' Objection to Debtors' Proposed Order on
                                       (14 pgs)               Application for Authority to Employ The Law Office Of Ross L.
                                                              Hollenkamp as Special Litigation Counsel; Declaration of Michael I.
                                                              Gottfried in Support Thereof (RE: related document(s) 234) Filed by
                                                              Creditors Michael Garrison, Chase Kaufman, Zach Powers. (Gottfried,
   05/06/2022                                                 Michael) (Entered: 05/06/2022)

   05/06/2022                          236                    Notice of lodgment of Order in Bankruptcy Case re: Application of
                                       (9 pgs)                Debtors and Debtors-In-Possession for Authority to Employ The Law
                                                              Office Of Ross L. Hollenkamp as Special Litigation Counsel Filed by
                                                              Creditors Michael Garrison, Chase Kaufman, Zach Powers (RE: related
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                                                              document(s)217 Application to Employ The Law Office Of Ross L.
                                                              Hollenkamp as Special Litigation Counsel Notice Of Application And
                                                              Application Of Debtors And Debtors-In-Possession For Authority To
                                                              Employ The Law Office Of Ross L. Hollenkamp As Special Litigation
                                                              Counsel; Memorandum Of Points And Authorities; And Declarations Of
                                                              Ross L. Hollenkamp, Esq. and Don Kojima In Support Thereof Filed by
                                                              Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima).
                                                              (Gottfried, Michael) (Entered: 05/06/2022)

                                       237                    Request for Removal from Courtesy Notice of Electronic Filing (NEF)
                                       (1 pg)                 Peter Hubbard Filed by Heston, Richard. (Heston, Richard) Warning: See
                                                              docket entry no: 238 for corrective action. Modified on 5/9/2022 (SD8).
   05/09/2022                                                 (Entered: 05/09/2022)

                                       238                    Notice to Filer of Error and/or Deficient Document Document filed
                                                              without electronic /s/ signature. THE FILER IS INSTRUCTED TO
                                                              RE-FILE THE DOCUMENT WITH THE PROPER SIGNATURES.
                                                              (RE: related document(s)237 Request for Removal from Courtesy Notice
                                                              of Electronic Filing (NEF) filed by Creditor Peter Hubbard) (SD8)
   05/09/2022                                                 (Entered: 05/09/2022)

                                       239                    Transcript Record Transmittal (Court transcript records have been
                                                              uploaded to FDS). For Order Number: 22-TA-14. RE Hearing Date:
                                                              05/04/22, [TRANSCRIPTION SERVICE PROVIDER: Briggs Reporting
                                                              Co, Inc, Telephone number (310) 410-4151.] (RE: related document(s)233
                                                              Transcript Order Form (Public Request) filed by Creditor Chase Kaufman,
                                                              Creditor Michael Garrison, Creditor Zach Powers) (SD8) (Entered:
   05/09/2022                                                 05/09/2022)

                                       240                    Request for Removal from Courtesy Notice of Electronic Filing (NEF)
                                       (1 pg)                 Peter Hubbard Filed by Heston, Richard. (Heston, Richard) (Entered:
   05/09/2022                                                 05/09/2022)

                                       241                    Objection (related document(s): 236 Notice of Lodgment filed by Creditor
                                       (9 pgs)                Chase Kaufman, Creditor Michael Garrison, Creditor Zach Powers)
                                                              Debtors Objection To Plaintiffs Alternative Form Of Order, And Reply To
                                                              Plaintiffs Objection To Debtors Form Of Order Re Application Of Debtors
                                                              And Debtors-In-Possession For Authority To Employ The Law Office Of
                                                              Ross L. Hollenkamp As Special Litigation Counsel; Declaration Of Peter
                                                              W. Lianides Filed by Debtor Don Teruo Kojima, Joint Debtor Susan
   05/10/2022                                                 Lorraine Kojima (Lianides, Peter) (Entered: 05/10/2022)

                                       242                    Order Granting Application of Debtors and Debtors-in-Possession for
                                       (4 pgs)                Authority to Employ the Law Office of Ross L. Hollenkamp as Special
                                                              Litigation Counsel (BNC-PDF) (Related Doc # 217) Signed on 5/10/2022.
   05/10/2022                                                 (AM) (Entered: 05/10/2022)

                                       243                    Notice of Change of Address Don & Susan Kojima; Kojima Development
                                       (5 pgs)                Company; Susan Kojima; Don Teruo Kojima; Susan Lorraine Kojima
                                                              Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
   05/11/2022                                                 (Golubow, Richard) (Entered: 05/11/2022)

                                       244                    Supplemental Creditors' Supplement in Support of Motion for Entry of
                                       (15 pgs)               Order Pursuant to 11 U.S.C. § 1112(b) to Converting Case to a Chapter 7
                                                              Liquidation; Declaration of Michael I. Gottfried in Support (RE: Related
                                                              to Docket No. 149) Filed by Creditors Michael Garrison, Chase Kaufman,
   05/11/2022                                                 Zach Powers. (Gottfried, Michael) (Entered: 05/11/2022)

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   05/12/2022                          245                    Chapter 11 Monthly Operating Report for the Month Ending: 04/30/2022
                                       (20 pgs; 2 docs)       Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
                                                              (Attachments: # 1 Exhibit) (Golubow, Richard) (Entered: 05/12/2022)

                                       246                    BNC Certificate of Notice - PDF Document. (RE: related document(s)242
                                       (6 pgs)                Order on Application to Employ (BNC-PDF)) No. of Notices: 1. Notice
   05/12/2022                                                 Date 05/12/2022. (Admin.) (Entered: 05/12/2022)

                                       247                    Declaration re: That No Party Requested a Hearing on Motion LBR 9013-
                                       (26 pgs)               1(o)(3( Filed by Accountant Hahn Fife & Company (RE: related
                                                              document(s)227 Application to Employ Hahn Fife & Company, LLP as
                                                              Accountants to Debtor-in-Possession, Plus Exhibits and Proof of Service
                                                              Filed by Accountant Hahn Fife & Company.). (Fife, Donald) (Entered:
   05/13/2022                                                 05/13/2022)

                                       248                    Order Granting Application to Employ Hahn Fife & Co LLP as
                                       (2 pgs)                Accountant (BNC-PDF) (Related Doc # 227) Signed on 5/16/2022. (AM)
   05/16/2022                                                 (Entered: 05/16/2022)

                                       249                    Status report /United States Trustee's Comments Re: Case Status;
                                       (11 pgs)               Declaration of Michele Steele; along with Proof of Service Filed by U.S.
                                                              Trustee United States Trustee (SA) (RE: related document(s) 198 Hearing
                                                              Rescheduled/Continued (Other) (BK Case - BNC Option)). (Ng, Queenie)
   05/18/2022                                                 (Entered: 05/18/2022)

                                       250                    Opposition to (related document(s): 244 Supplemental filed by Creditor
                                       (16 pgs)               Chase Kaufman, Creditor Michael Garrison, Creditor Zach Powers)
                                                              Debtors Opposition To Plaintiffs Supplement Re Motion For Entry Of
                                                              Order Pursuant To 11 U.S.C. § 1112(b) To Converting Case To A Chapter
                                                              7 Liquidation Filed by Debtor Don Teruo Kojima, Joint Debtor Susan
   05/18/2022                                                 Lorraine Kojima (Golubow, Richard) (Entered: 05/18/2022)

                                       251                    Request for judicial notice Request For Judicial Notice In Support Of
                                       (39 pgs)               Debtors Opposition To Plaintiffs Supplement Re Motion For Entry Of
                                                              Order Pursuant To 11 U.S.C. § 1112(b) To Converting Case To A Chapter
                                                              7 Liquidation Filed by Debtor Don Teruo Kojima, Joint Debtor Susan
                                                              Lorraine Kojima (RE: related document(s)250 Opposition). (Golubow,
   05/18/2022                                                 Richard) (Entered: 05/18/2022)

                                       252                    BNC Certificate of Notice - PDF Document. (RE: related document(s)248
                                       (5 pgs)                Order on Application to Employ (BNC-PDF)) No. of Notices: 1. Notice
   05/18/2022                                                 Date 05/18/2022. (Admin.) (Entered: 05/18/2022)

                                       253                    Reply to (related document(s): 249 Status report filed by U.S. Trustee
                                       (6 pgs)                United States Trustee (SA)) Debtor's Response to United States Trustee's
                                                              Comments Re: Case Status Filed by Debtor Don Teruo Kojima, Joint
   05/23/2022                                                 Debtor Susan Lorraine Kojima (Golubow, Richard) (Entered: 05/23/2022)

                                       254                    Response to (related document(s): 149 Motion to Convert Case From
                                       (3 pgs)                Chapter 11 to 7. Fee Amount $15 filed by Creditor Chase Kaufman,
                                                              Creditor Michael Garrison, Creditor Zach Powers) [Joinder to Supplement
                                                              in Support of Motion for Entry of Order Pursuant to 11 U.S.C. Section
                                                              1112(b) Converting Case to a Chapter 7 Liquidation] Filed by Creditor
                                                              Cory Meredith (O'Dea, Ryan) Warning: See docket entry no: 255 for
   05/23/2022                                                 corrective action. Modified on 5/23/2022 (SD8). (Entered: 05/23/2022)

   05/23/2022                          255                    Notice to Filer of Error and/or Deficient Document Incorrect hearing
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                              33/40


                                                                                                        EXHIBIT 1, PAGE 50
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                                                              date/time/location was selected. Incorrect hearing time reflected. This
                                                              hearing is set for 5/25/2022 at 11:00 am THE FILER IS
                                                              INSTRUCTED TO FILE AN AMENDED NOTICE OF
                                                              MOTION/HEARING WITH THE CORRECT HEARING
                                                              INFORMATION. (RE: related document(s)254 Response filed by
                                                              Creditor Cory Meredith) (SD8) (Entered: 05/23/2022)

                                       256                    Response to (related document(s): 149 Motion to Convert Case From
                                       (3 pgs)                Chapter 11 to 7. Fee Amount $15 filed by Creditor Chase Kaufman,
                                                              Creditor Michael Garrison, Creditor Zach Powers) [Revised Joinder to
                                                              Supplement in Support of Motion for Entry of Order Pursuant to 11 U.S.C.
                                                              Section 1112(b) Converting Case to a Chapter 7 Liquidation] Filed by
   05/24/2022                                                 Creditor Cory Meredith (O'Dea, Ryan) (Entered: 05/24/2022)

                                       257                    Response to (related document(s): 149 Motion to Convert Case From
                                       (4 pgs)                Chapter 11 to 7. Fee Amount $15 filed by Creditor Chase Kaufman,
                                                              Creditor Michael Garrison, Creditor Zach Powers) with proof of service
                                                              Filed by Creditor Katherine Meredith (Brown, Ronald) (Entered:
   05/24/2022                                                 05/24/2022)

                                       258                    Hearing Rescheduled/Continued Status Conference (RE: related
                                                              document(s)1 Voluntary Petition (Chapter 11) filed by Debtor Don Teruo
                                                              Kojima, Joint Debtor Susan Lorraine Kojima) Status hearing to be held on
                                                              7/13/2022 at 11:00 AM at Crtrm 5B, 411 W Fourth St., Santa Ana, CA
   05/25/2022                                                 92701. The case judge is Theodor Albert (GD) (Entered: 05/25/2022)

                                       259                    Hearing Rescheduled/Continued (RE: related document(s)149 Motion to
                                                              Convert Case filed by Creditor Chase Kaufman, Creditor Michael
                                                              Garrison, Creditor Zach Powers) The Hearing date is set for 7/13/2022 at
                                                              11:00 AM at Crtrm 5B, 411 W Fourth St., Santa Ana, CA 92701. The case
   05/25/2022                                                 judge is Theodor Albert (GD) (Entered: 05/25/2022)

                                       260                    Hearing Rescheduled/Continued Re:114 Debtor's Disclosure Statement In
                                                              Support Of Debtors' Chapter 11 Plan f Reorganization The Hearing date is
                                                              set for 7/13/2022 at 11:00 AM at Crtrm 5B, 411 W Fourth St., Santa Ana,
   05/25/2022                                                 CA 92701. The case judge is Theodor Albert (GD) (Entered: 05/25/2022)

                                       261                    Motion to Convert Case From Chapter 11 to 7. Debtor's Motion to
                                       (6 pgs)                Convert Case Under 11 U.S.C. §§ 706(a) OR 1112(a) Fee Amount $15
                                                              Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima
   06/22/2022                                                 (Golubow, Richard) (Entered: 06/22/2022)

                                                              Receipt of Motion to Convert Case( 8:21-bk-11352-TA) [motion,mconv] (
                                                              15.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount 15.00. (re:
   06/22/2022                                                 Doc# 261) (U.S. Treasury) (Entered: 06/22/2022)

                                       262                    Chapter 11 Monthly Operating Report for the Month Ending: 05/31/2022
                                       (19 pgs; 3 docs)       Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
                                                              (Attachments: # 1 Exhibit # 2 Exhibit) (Golubow, Richard) (Entered:
   06/24/2022                                                 06/24/2022)

   06/27/2022                          263                    Order Converting Case to Chapter 7 (BNC-PDF). Trustee (BNC-PDF)
                                       (2 pgs)                Signed on 6/27/2022 (RE: related document(s)1 Voluntary Petition
                                                              (Chapter 11) filed by Debtor Don Teruo Kojima, Joint Debtor Susan
                                                              Lorraine Kojima, Set Case Commencement Deficiency Deadlines (ccdn),
                                                              Hearing Rescheduled/Continued (Motion) (BK Case - BNC Option),
                                                              Hearing Rescheduled/Continued (Motion) (BK Case - BNC Option), 84

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                                                              Continuance of Meeting of Creditors (Rule 2003(e)) (by Trustee/US
                                                              Trustee - No PDF) filed by U.S. Trustee United States Trustee (SA), 86
                                                              Stipulation and ORDER thereon (BNC-PDF), 89 Notice of Hearing (BK
                                                              Case) filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine
                                                              Kojima, Hearing Rescheduled/Continued (Other) (BK Case - BNC
                                                              Option), 114 Disclosure Statement filed by Debtor Don Teruo Kojima,
                                                              Joint Debtor Susan Lorraine Kojima, 115 Notice of Hearing (BK Case)
                                                              filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima,
                                                              116 Hearing Set (Motion) (BK Case - BNC Option), Update Proof of
                                                              Claim Deadline, 140 Notice of Hearing (BK Case) filed by Debtor Don
                                                              Teruo Kojima, Joint Debtor Susan Lorraine Kojima, 145 Notice of
                                                              Hearing (BK Case) filed by Debtor Don Teruo Kojima, Joint Debtor Susan
                                                              Lorraine Kojima, 149 Motion to Convert Case filed by Creditor Chase
                                                              Kaufman, Creditor Michael Garrison, Creditor Zach Powers, 157 Hearing
                                                              Rescheduled/Continued (Motion) (BK Case - BNC Option), 166 Notice of
                                                              Hearing (BK Case) filed by Debtor Don Teruo Kojima, Joint Debtor Susan
                                                              Lorraine Kojima, 182 Hearing Rescheduled/Continued (Motion) (BK Case
                                                              - BNC Option), 190 Notice of Hearing (BK Case) filed by Debtor Don
                                                              Teruo Kojima, Joint Debtor Susan Lorraine Kojima, 200 Hearing
                                                              Rescheduled/Continued (Motion) (BK Case - BNC Option), 260 Hearing
                                                              Rescheduled/Continued (Motion) (BK Case - BNC Option)). (AM)
                                                              (Entered: 06/27/2022)

                                       264                    Meeting of Creditors 341(a) meeting to be held on 8/2/2022 at 09:00 AM
                                       (3 pgs)                at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
                                                              THE TRUSTEE. Cert. of Financial Management due by 10/3/2022. Cert.
                                                              of Financial Management - Joint Debtor due by 10/3/2022. Last day to
                                                              oppose discharge or dischargeability is 10/3/2022. (GD) (Entered:
   06/28/2022                                                 06/28/2022)

                                       265                    Notice of appointment and acceptance of trustee Filed by Trustee Richard
   06/29/2022                          (1 pg)                 A Marshack (TR). (Marshack (TR), Richard) (Entered: 06/29/2022)

                                       266                    BNC Certificate of Notice - PDF Document. (RE: related document(s)263
                                       (5 pgs)                Order Converting Case to Chapter 7 (BNC-PDF)) No. of Notices: 1.
   06/29/2022                                                 Notice Date 06/29/2022. (Admin.) (Entered: 06/29/2022)

                                       267                    BNC Certificate of Notice (RE: related document(s)264 Meeting of
                                       (8 pgs)                Creditors Chapter 7 No Asset) No. of Notices: 49. Notice Date
   06/30/2022                                                 06/30/2022. (Admin.) (Entered: 06/30/2022)

                                       268                    Hearing Held Re:149 Creditors Chase Kaufman, Michael Garrison, And
                                                              Zach Powers For Entry Of Order Pursuant To 11 USC § 1112(b) To
                                                              Converting Case To A Chapter 7 Liquidation - Off Calendar - Case
                                                              Converted To Chapter 7 On 6-27-22 See Order #263 (GD) (Entered:
   07/13/2022                                                 07/13/2022)

                                       269                    Hearing Held Re:1 Status Conference Re: Chapter 11 Voluntary Petition
                                                              Individual - Off Calendar - Case Converted To Chapter 7 On 6-27-22 See
   07/13/2022                                                 Order #263 (GD) (Entered: 07/13/2022)

                                       270                    Hearing Held Re:114 Debtors' Disclosure Statement In Support Of
                                                              Debtors' Chapter 11 Plan Of Reorganization - Off Calendar - Case
                                                              Converted To Chapter 7 On 6-27-22 - See Order #263 (GD) (Entered:
   07/13/2022                                                 07/13/2022)

   07/15/2022                          271                    Application to Employ Hahn Fife & Company LLP as Accountant for
                                       (12 pgs)               Trustee with Proof of Service Filed by Trustee Richard A Marshack (TR)
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                                                              (Marshack (TR), Richard) (Entered: 07/15/2022)

                                       272                    Notice of Motion For Order Without a Hearing (LBR 9013-1(p) or (q))
                                       (6 pgs)                with Proof of Service Filed by Trustee Richard A Marshack (TR) (RE:
                                                              related document(s)271 Application to Employ Hahn Fife & Company
                                                              LLP as Accountant for Trustee with Proof of Service Filed by Trustee
                                                              Richard A Marshack (TR) (Marshack (TR), Richard)). (Marshack (TR),
   07/15/2022                                                 Richard) (Entered: 07/15/2022)

                                       273                    Notice of Change of Address and Removal from Case and Firm- Ryan A.
                                       (3 pgs)                Baggs Filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine
                                                              Kojima. (Golubow, Richard) Warning: See docket entry 274 for
   07/15/2022                                                 correction. Modified on 7/18/2022 (TL). (Entered: 07/15/2022)

                                       274                    Notice to Filer of Error and/or Deficient Document Other - Electronic
                                                              signature does not correspond to the change of address for attorney
                                                              listed on pdf. (RE: related document(s)273 Notice of Change of Address
                                                              filed by Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima)
   07/18/2022                                                 (TL) (Entered: 07/18/2022)

                                       275                    Request for courtesy Notice of Electronic Filing (NEF) Filed by Hays, D.
   07/27/2022                          (1 pg)                 (Hays, D) (Entered: 07/27/2022)

                                       276                    Request for courtesy Notice of Electronic Filing (NEF) Filed by Masud,
   07/27/2022                          (1 pg)                 Laila. (Masud, Laila) (Entered: 07/27/2022)

                                       277                    Application to Employ Marshack Hays LLP as General Counsel ;
                                       (20 pgs)               Memorandum of Points and Authorities; Declaration of D. Edward Hays
                                                              in Support; with Proof of Service Filed by Trustee Richard A Marshack
   07/28/2022                                                 (TR) (Hays, D) (Entered: 07/28/2022)

                                       278                    Notice of motion/application Filed by Trustee Richard A Marshack (TR)
                                       (11 pgs)               (RE: related document(s)277 Application to Employ Marshack Hays LLP
                                                              as General Counsel ; Memorandum of Points and Authorities; Declaration
                                                              of D. Edward Hays in Support; with Proof of Service Filed by Trustee
   07/28/2022                                                 Richard A Marshack (TR)). (Hays, D) (Entered: 07/28/2022)

                                       279                    Declaration by Debtor as to Whether Debtor(s) Received Income From an
                                       (4 pgs)                Employer Within 60 Days of Petition (LBR Form F1002-1) Declaration
                                                              By Debtor(s) as to Whether Income Was Received From an Employer
                                                              Within 60 Days of the Petition Date Filed by Debtor Don Teruo Kojima,
                                                              Joint Debtor Susan Lorraine Kojima. (Golubow, Richard) (Entered:
   07/29/2022                                                 07/29/2022)

                                       280                    Final report of post-petition debts and account (rule 1019 - No additional
                                       (5 pgs)                debts Schedule of Unpaid Debts Incurred After the Filing of the Petition
                                                              and Before Conversion of the Ch. 11 Case Filed by Debtor Don Teruo
                                                              Kojima, Joint Debtor Susan Lorraine Kojima. (Golubow, Richard)
   07/29/2022                                                 (Entered: 07/29/2022)

                                       281                    Final report of post-petition debts and account (rule 1019 - No additional
                                       (7 pgs)                debts Final Report And Account Of Debtor Upon Conversion Of Chapter
                                                              11 Case To Chapter 7 Case Pursuant To Bankruptcy Rule 1019(5) Filed by
                                                              Debtor Don Teruo Kojima, Joint Debtor Susan Lorraine Kojima.
   07/31/2022                                                 (Golubow, Richard) (Entered: 07/31/2022)

   08/03/2022                          282                    Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                                36/40


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                                                              Filings) 341(a) Meeting Continued to be held on 9/6/2022 at 11:32 AM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
                                                              THE TRUSTEE. (Marshack (TR), Richard) (Entered: 08/03/2022)

                                       283                    Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (24 pgs)               1(o)(3)) with Proof of Service Filed by Trustee Richard A Marshack (TR)
                                                              (RE: related document(s)271 Application to Employ Hahn Fife &
                                                              Company LLP as Accountant for Trustee with Proof of Service).
   08/04/2022                                                 (Marshack (TR), Richard) (Entered: 08/04/2022)

                                       284                    Notice of Assets filed by trustee and court's notice of possible dividend
                                       (2 pgs; 2 docs)        (BNC) Filed by Trustee Richard A Marshack (TR). Proofs of Claims due
   08/09/2022                                                 by 11/14/2022. (Marshack (TR), Richard) (Entered: 08/09/2022)

                                       285                    Order Granting Chapter 7 Trustee Application to Employ Hahn Fife &
                                       (1 pg)                 Company LLP As Accountant (BNC-PDF) (Related Doc # 271) Signed on
   08/10/2022                                                 8/10/2022. (GD) (Entered: 08/10/2022)

                                       286                    BNC Certificate of Notice (RE: related document(s)284 Notice of Assets
                                       (7 pgs)                filed by trustee and court's notice of possible dividend (BNC) filed by
                                                              Trustee Richard A Marshack (TR)) No. of Notices: 53. Notice Date
   08/11/2022                                                 08/11/2022. (Admin.) (Entered: 08/11/2022)

                                       287                    BNC Certificate of Notice - PDF Document. (RE: related document(s)285
                                       (4 pgs)                Order on Application to Employ (BNC-PDF)) No. of Notices: 1. Notice
   08/12/2022                                                 Date 08/12/2022. (Admin.) (Entered: 08/12/2022)

                                       288                    Motion For Sale of Property of the Estate under Section 363(b) - No Fee
                                       (33 pgs)               Estate's Interest in Two Vehicles; Declarations in Support; with Proof of
                                                              Service Filed by Trustee Richard A Marshack (TR) (Marshack (TR),
   08/15/2022                                                 Richard) (Entered: 08/15/2022)

                                       289                    Application for Order Setting Hearing on Shortened Notice [DK 288];
                                       (6 pgs)                Declaration in Support; with Proof of Service Filed by Trustee Richard A
   08/15/2022                                                 Marshack (TR) (Marshack (TR), Richard) (Entered: 08/15/2022)

                                       290                    Order Granting Application and Setting Hearing on Shortened Notice. A
                                       (4 pgs)                hearing on the motion will take place on: August 19, 2022 at 10:00 a.m.,
                                                              Courtroom 5B-Virtual (See Order for Further Rulings) (BNC-PDF)
   08/16/2022                                                 (Related Doc # 289 ) Signed on 8/16/2022 (AM) (Entered: 08/16/2022)

                                       291                    Hearing Set (RE: related document(s)288 Motion to Sale of Property of
                                                              the Estate under Section 363(b) - No Fee filed by Trustee Richard A
                                                              Marshack (TR)) The Hearing date is set for 8/19/2022 at 10:00 AM at
                                                              Crtrm 5B, 411 W Fourth St., Santa Ana, CA 92701. The case judge is
   08/16/2022                                                 Theodor Albert (AM) (Entered: 08/16/2022)

                                       292                    Notice of Hearing with Proof of Service Filed by Trustee Richard A
                                       (7 pgs)                Marshack (TR) (RE: related document(s)288 Motion For Sale of Property
                                                              of the Estate under Section 363(b) - No Fee Estate's Interest in Two
                                                              Vehicles; Declarations in Support; with Proof of Service Filed by Trustee
                                                              Richard A Marshack (TR) (Marshack (TR), Richard)). (Marshack (TR),
   08/16/2022                                                 Richard) (Entered: 08/16/2022)

   08/16/2022                          293                    Notice of sale of estate property (LBR 6004-2) 2015 Audi R8 and 2015
                                       (4 pgs)                Porsche 911 Filed by Trustee Richard A Marshack (TR). (Marshack (TR),
                                                              Richard) (Entered: 08/16/2022)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                                   37/40


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                                       294                    Declaration re: Telephonic and E-Mail Service of Motion and Notice; with
                                       (5 pgs)                Proof of Service Filed by Trustee Richard A Marshack (TR) (RE: related
                                                              document(s)288 Motion For Sale of Property of the Estate under Section
                                                              363(b) - No Fee Estate's Interest in Two Vehicles; Declarations in
                                                              Support; with Proof of Service). (Marshack (TR), Richard) (Entered:
   08/17/2022                                                 08/17/2022)

                                       295                    BNC Certificate of Notice - PDF Document. (RE: related document(s)290
                                       (7 pgs)                Order on Generic Application (BNC-PDF)) No. of Notices: 1. Notice Date
   08/18/2022                                                 08/18/2022. (Admin.) (Entered: 08/18/2022)

                                       296                    Order Granting Trustee's Motion To Sell Two Vehicles Outside The
                                       (2 pgs)                Ordinary Course - (BNC-PDF) (Related Doc # 288 ) Signed on 8/19/2022
   08/19/2022                                                 (AM) (Entered: 08/19/2022)

                                       299                    Hearing Held - Motion is Granted. Overbid is Approved. Movant to
                                                              submit an order. (RE: related document(s)288 Motion to Sale of Property
                                                              of the Estate under Section 363(b) - No Fee filed by Trustee Richard A
   08/19/2022                                                 Marshack (TR)) (AM) (Entered: 08/22/2022)

                                       297                    BNC Certificate of Notice - PDF Document. (RE: related document(s)296
                                       (5 pgs)                Order on Motion for Sale of Property under Section 363(b) (BNC-PDF))
                                                              No. of Notices: 1. Notice Date 08/21/2022. (Admin.) (Entered:
   08/21/2022                                                 08/21/2022)

                                       298                    Monthly Operating Report. Operating Report Number: #13. For the Month
                                       (22 pgs; 2 docs)       Ending 06/27/2022 Filed by Debtor Don Teruo Kojima, Joint Debtor
                                                              Susan Lorraine Kojima. (Attachments: # 1 Exhibit) (Golubow, Richard)
   08/22/2022                                                 (Entered: 08/22/2022)

                                       300                    Statement of Property Sold - 2015 Audi and 2015 Porsche; with Proof of
                                       (3 pgs)                Service Filed by Trustee Richard A Marshack (TR). (Marshack (TR),
   09/02/2022                                                 Richard) (Entered: 09/02/2022)

                                       301                    Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 9/27/2022 at 11:02 AM
                                                              at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   09/07/2022                                                 THE TRUSTEE. (Marshack (TR), Richard) (Entered: 09/07/2022)

                                       302                    Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (36 pgs)               1(o)(3)) Filed by Trustee Richard A Marshack (TR) (RE: related
                                                              document(s)277 Application to Employ Marshack Hays LLP as General
                                                              Counsel ; Memorandum of Points and Authorities; Declaration of D.
                                                              Edward Hays in Support; with Proof of Service). (Hays, D) (Entered:
   09/12/2022                                                 09/12/2022)

                                       303                    Notice of Proposed Use, Sale or Lease of Property Outside of the Normal
                                       (7 pgs)                Course of Business 2002 Hummer; with Proof of Service Filed by Trustee
                                                              Richard A Marshack (TR). (Marshack (TR), Richard) (Entered:
   09/15/2022                                                 09/15/2022)

                                       304                    Notice of sale of estate property (LBR 6004-2) 2002 Hummer Filed by
                                       (4 pgs)                Trustee Richard A Marshack (TR). (Marshack (TR), Richard) (Entered:
   09/15/2022                                                 09/15/2022)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?371638801379608-L_1_0-1                                                             38/40


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   09/15/2022                          305                    Order Granting Application By Chapter 7 Trustee To Employ Marshack
                                       (2 pgs)                Hays LLP As General Counsel (BNC-PDF) (Related Doc # 277) Signed
                                                              on 9/15/2022. (GD) (Entered: 09/15/2022)

                                       306                    BNC Certificate of Notice - PDF Document. (RE: related document(s)305
                                       (5 pgs)                Order on Application to Employ (BNC-PDF)) No. of Notices: 1. Notice
   09/17/2022                                                 Date 09/17/2022. (Admin.) (Entered: 09/17/2022)

                                       307                    Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 10/11/2022 at 12:32 PM
                                                              at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   09/29/2022                                                 THE TRUSTEE. (Marshack (TR), Richard) (Entered: 09/29/2022)

                                       308                    Stipulation By Richard A Marshack (TR) and Debtors to Extend Deadline
                                       (4 pgs)                to File Complaint Objecting to Discharge Under 11 U.S.C. § 727, with
                                                              Proof of Service Filed by Trustee Richard A Marshack (TR) (Masud,
   09/30/2022                                                 Laila) (Entered: 09/30/2022)

                                       309                    Order Approving Stipulation To Extend Deadline To File Complaint
                                       (2 pgs)                Objecting To Discharge Under 11 USC § 727 (BNC-PDF) (Related Doc #
                                                              308 ) - IT IS ORDERED that: 1. The Stipulation is approved in its
                                                              entirety; 2. The Deadline for the Trustee to file a complaint to revoke/deny
                                                              the Debtors a discharge under 11 USC § 727 shall be extended from
                                                              October 3, 2022, to and including November 3, 2022. - See Order For
   09/30/2022                                                 Further Ruling Signed on 9/30/2022 (GD) (Entered: 09/30/2022)

                                       310                    BNC Certificate of Notice - PDF Document. (RE: related document(s)309
                                       (5 pgs)                Stipulation and ORDER thereon (BNC-PDF)) No. of Notices: 1. Notice
   10/02/2022                                                 Date 10/02/2022. (Admin.) (Entered: 10/02/2022)

                                       311                    Statement of Property Sold; with Proof of Service Filed by Trustee
                                       (3 pgs)                Richard A Marshack (TR). (Marshack (TR), Richard) (Entered:
   10/03/2022                                                 10/03/2022)

                                       312                    Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 10/25/2022 at 01:02 PM
                                                              at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   10/12/2022                                                 THE TRUSTEE. (Marshack (TR), Richard) (Entered: 10/12/2022)

                                       313                    Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 11/29/2022 at 11:02 AM
                                                              at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   10/27/2022                                                 THE TRUSTEE. (Marshack (TR), Richard) (Entered: 10/27/2022)

                                       314                    Stipulation By Richard A Marshack (TR) and Debtors to Extend Deadline
                                       (5 pgs)                to File Complaint Objecting to Discharge Under 11 U.S.C. Section 727;
                                                              with Proof of Service Filed by Trustee Richard A Marshack (TR) (Masud,
   11/02/2022                                                 Laila) (Entered: 11/02/2022)

                                       315                    Order Approving Stipulation To Extend Deadline To File Complaint
                                       (2 pgs)                Objecting To Discharge Under 11 USC § 727 (BNC-PDF) (Related Doc #
                                                              314 ) - IT IS ORDERED that: 1. The Stipulation is approved in its
                                                              entirety; 2. The Deadline for the Trustee to file a complaint to revoke/deny
                                                              the Debtors a discharge under 11 USC § 727 shall be extended from
                                                              November 3, 2022, to including December 16, 2022. Signed on 11/2/2022
   11/02/2022                                                 (GD) (Entered: 11/02/2022)


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   11/04/2022                          316                    BNC Certificate of Notice - PDF Document. (RE: related document(s)315
                                       (5 pgs)                Stipulation and ORDER thereon (BNC-PDF)) No. of Notices: 1. Notice
                                                              Date 11/04/2022. (Admin.) (Entered: 11/04/2022)




                                                        PACER Service Center
                                                             Transaction Receipt
                                                                11/29/2022 17:10:42
                                   PACER                       Client
                                                  atty322146              9999-001
                                   Login:                      Code:
                                                                         8:21-bk-11352-TA Fil or Ent: filed
                                                                         From: 8/31/2000 To: 11/29/2022
                                                  Docket       Search
                                   Description:                          Doc From: 0 Doc To: 99999999
                                                  Report       Criteria:
                                                                         Term: included Format: html Page
                                                                         counts for documents: included
                                   Billable
                                                  30           Cost:      3.00
                                   Pages:




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                                                      EXHIBIT 2
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               Case
                Case8:21-bk-11352-TA
                     8:21-bk-11352-TA Doc
                                       Doc30-1
                                           30 Filed
                                                Filed06/16/21
                                                      06/16/21 Entered
                                                                Entered06/16/21
                                                                           06/16/2113:59:25
                                                                                    13:59:25 Desc
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                                    CORECT  PDF W/O SSN  Page  11 of1165of 63
                                                             Page
 Fill in this information to identify your case and this filing:

 Debtor 1                    Don Teruo Kojima
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Susan Lorraine Kojima
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA

 Case number            8:21-bk-11352-TA                                                                                                                         Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        7 Shoreridge                                                                   Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Newport Coast                     CA        92657-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                           $12,000,000.00              $12,000,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Orange                                                                         Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                  $12,000,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1        Don Teruo Kojima
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3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       AMC                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Hummer                                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2002                                            Debtor 2 only
                                                                                                                              Current value of the     Current value of the
         Approximate mileage:                   53752                Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         Inoperable for several years
                                                                     Check if this is community property                              $30,000.00                 $30,000.00
                                                                     (see instructions)



  3.2    Make:       Audi                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      R8                                              Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2015                                            Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:                    5415                Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                              $80,000.00                 $80,000.00
                                                                     (see instructions)



  3.3    Make:       Porsche                                   Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      911                                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2015                                            Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:                   11051                Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                              $80,000.00                 $80,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>               $190,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Major appliances; Furniture; China/Crystal; Kitchenware                                                                       $11,000.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Televisions; Sound System                                                                                    $5,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Antiques; Pantings/Prints; Designer Luggage                                                                  $5,000.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Pool table; Golf Clubs; Exercise Equipment; Musical Equipment                                                $7,500.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Everyday clothes; Shoes; Fur Coat; Accessories (Purses)                                                      $5,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Watches; Earrings; Costume Jewelry; Rings; Bracelets                                                       $20,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                    Box Turtle                                                                                                         $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....




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 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                $53,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                   Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                       Cash                                 $1,200.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                                                  Wells Fargo - $5,194.95
                                              17.1.       Checking                                Chase Bank - $2,605.66                                                    $7,800.61


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                   % of ownership:

                                                  Kojima Development Company, LLC                                                         66.6         %                    Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
        Yes. Give specific information about them...

                                              California Department of Real Estate Broker License                                                   $1,000.00


 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..

                                                      Social Security received each month - Don Kojima - $1259.50
                                                      per month = $15,114 per year
                                                       Exemption intended to cover all present and future benefits                                  $1,259.50


                                                      Social Security received each month - Susan Kojima -
                                                      $1,276.50 per month = $15,318 per year
                                                       Exemption intended to cover all present and future benefits                                  $1,276.50


                                                      Unpaid loan made to Kojima Development Company, LLC                                     $4,500,000.00


                                                      Management Fee from Kojima Development Company, LLC                                       $300,000.00




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31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................         $4,812,536.61


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00




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 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................           $12,000,000.00
 56. Part 2: Total vehicles, line 5                                                                        $190,000.00
 57. Part 3: Total personal and household items, line 15                                                    $53,500.00
 58. Part 4: Total financial assets, line 36                                                             $4,812,536.61
 59. Part 5: Total business-related property, line 45                                                            $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                   $0.00
 61. Part 7: Total other property not listed, line 54                                             +              $0.00

 62. Total personal property. Add lines 56 through 61...                                                 $5,056,036.61                Copy personal property total        $5,056,036.61

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                     $17,056,036.61




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                                                                                                  1 ELKINS KALT WEINTRAUB REUBEN GARTSIDE LLP
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                                                                                                  2   mgottfried@elkinskalt.com
                                                                                                    ROYE ZUR, State Bar No. 273875                                FILED & ENTERED
                                                                                                  3   rzur@elkinskalt.com
                                                                                                    10345 W. Olympic Blvd.
                                                                                                  4 Los Angeles, California 90064                                      NOV 16 2021
                                                                                                    Telephone: 310.746.4400
                                                                                                  5 Facsimile: 310.746.4499                                       CLERK U.S. BANKRUPTCY COURT
                                                                                                                                                                  Central District of California
                                                                                                                                                                  BY deramus DEPUTY CLERK
                                                                                                  6 Attorneys for Creditors Chase Kaufman, Michael
                                                                                                    Garrison, and Zach Powers
                                                                                                  7
                                                                                                  8                         UNITED STATES BANKRUPTCY COURT

                                                                                                  9               CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

                                                                                                 10
                                            Telephone: 310.746.4400 • Facsimile: 310.746.4499
ELKINS KALT WEINTRAUB REUBEN GARTSIDE LLP




                                                                                                 11 In re                                            Case No. 8:21-bk-11352-TA
                                                                                                 12 DON TERUO KOJIMA and SUSAN                       Chapter 11
                                                      Los Angeles, California 90064




                                                                                                    LORRAINE KOJIMA,
                                                         10345 W. Olympic Blvd.




                                                                                                 13                                                  ORDER APPROVING STIPULATION
                                                                                                              Debtors.                               RE: RELIEF FROM THE AUTOMATIC
                                                                                                 14                                                  STAY TO PROCEED WITH STATE
                                                                                                                                                     COURT LITIGATION
                                                                                                 15
                                                                                                                                                     [Relates to Docket No. 106]
                                                                                                 16
                                                                                                                                                     Hon. Theodor Albert
                                                                                                 17

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                                                                                                         ORDER APPROVING STIPULATION RE: RELIEF FROM THE AUTOMATIC STAY TO PROCEED WITH
                                                                                                                                     STATE COURT LITIGATION


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                                                                                                  1               The Court having reviewed the Stipulation Re: Relief From the Automatic Stay to Proceed

                                                                                                  2 with State Court Litigation (the “Stipulation”) [Docket No. 106] entered into by creditors Chase
                                                                                                  3 Kaufman, Michael Garrison, and Zach Powers (collectively, “Creditors”) on one hand, and Don
                                                                                                  4 Teruo Kojima and Susan Lorraine Kojima (“Debtors”), on the other hand; and good cause
                                                                                                  5 appearing therefor,

                                                                                                  6               IT IS HEREBY ORDERED THAT:
                                                                                                  7               1.     The Stipulation shall be and hereby is APPROVED.
                                                                                                  8               2.     Thirty days after the date of entry of this Order, the automatic stay shall be

                                                                                                  9 modified to permit the action entitled Garrison, et al. v. Kojima, et al., Case No. CIVDS2001906,

                                                                                                 10 pending in the San Bernardino County Superior Court, to proceed to final judgement, including all
                                            Telephone: 310.746.4400 • Facsimile: 310.746.4499
ELKINS KALT WEINTRAUB REUBEN GARTSIDE LLP




                                                                                                 11 appeals.
                                                                                                 12               3.     No action may be taken to enforce any final judgment against Debtors absent
                                                      Los Angeles, California 90064
                                                         10345 W. Olympic Blvd.




                                                                                                 13 further order of the Court.
                                                                                                 14                                                        ###

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                                                                                                 23 Date: November 16, 2021

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                                                                                                                                     STATE COURT LITIGATION


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                                                                                                 1 ELKINS KALT WEINTRAUB REUBEN GARTSIDE LLP
                                                                                                   MICHAEL I. GOTTFRIED, State Bar No. 146689
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                                                                                                   ROYE ZUR, State Bar No. 273875
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                                                                                                 4 Los Angeles, California 90064
                                                                                                   Telephone: 310.746.4400
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                                                                                                 6 Attorneys for Plaintiffs Chase Kaufman, Michael
                                                                                                   Garrison, and Zach Powers
                                                                                                 7
                                                                                                 8                                 UNITED STATES BANKRUPTCY COURT
                                                                                                 9                    CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
                                                                                                10
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                                                                                                11 In re                                                    Case No. 8:21-bk-11352-TA
ELKINS KALT WEINTRAUB REUBEN GARTSIDE LLP




                                                                                                12 DON TERUO KOJIMA and SUSAN                               Chapter 11
                                                      Los Angeles, California 90064




                                                                                                   LORRAINE KOJIMA
                                                         10345 W. Olympic Blvd.




                                                                                                13                                                          Adv. No.:
                                                                                                             Debtors.
                                                                                                14                                                          COMPLAINT FOR:

                                                                                                15 CHASE KAUFMAN, MICHAEL                                   (1) DETERMINATION THAT DEBT IS
                                                                                                   GARRISON, and ZACH POWERS                                NON-DISCHARGEABLE PURSUANT TO
                                                                                                16                                                          11 U.S.C. § 523; AND
                                                                                                              Plaintiffs,
                                                                                                17                                                          (2) DENIAL OF DEBTORS’ DISCHARGE
                                                                                                        v.                                                  PURSUANT TO 11 U.S.C. § 727
                                                                                                18
                                                                                                   DON TERUO KOJIMA and SUSAN
                                                                                                19 LORRAINE KOJIMA                                          The Hon. Theodor C. Albert

                                                                                                20                       Defendants.
                                                                                                21
                                                                                                22               Plaintiffs Chase Kaufman, Michael Garrison, and Zach Powers (“Creditors” or “Plaintiffs”)

                                                                                                23 allege as follows:
                                                                                                24                                        JURISDICTION AND VENUE

                                                                                                25               1.      This Court has jurisdiction over this adversary proceeding (this “Action”) pursuant

                                                                                                26 to 28 U.S.C. §§ 157 and 1334. This Action is a core proceeding pursuant to the provisions of 28

                                                                                                27 U.S.C. § 157(b)(2)(A), (J) and (O), and this Court has jurisdiction over this adversary proceeding
                                                                                                28 pursuant to 28 U.S.C. § 1334. This Action arises in a case under Chapter 11 of title 11 of the
                                                                                                     4374931.1

                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

                                                                                                                                                                                 EXHIBIT 4, PAGE 67
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                                                                                                 1 United States Code entitled, In re Don Teruo Kojima and Susan Lorraine Kojima, which has been
                                                                                                 2 assigned case number 8:21-bk-11352-TA and is pending in the United States Bankruptcy Court,

                                                                                                 3 Central District of California, Santa Ana Division (the “Bankruptcy Case”) for Don Teruo Kojima
                                                                                                 4 and Susan Lorraine Kojima, as debtors (the “Debtors”). Plaintiffs consent to the entry in this
                                                                                                 5 Action of final orders or judgment by the Bankruptcy Court.
                                                                                                 6                                                THE PARTIES
                                                                                                 7               2.      Creditors are individuals residing in County of Los Angeles, California. Creditors

                                                                                                 8 are plaintiffs in a litigation pending in the Superior Court of the State of California for the County
                                                                                                 9 of San Bernardino against the Debtors and their son, Cameron Kojima.
                                                                                                10               3.      The Defendants are the Debtors in the above-captioned Bankruptcy Case, and are
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                                                                                                11 individuals who, at all relevant times, have resided in the County of Orange, California.
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                                                                                                12                                         GENERAL ALLEGATIONS
                                                      Los Angeles, California 90064
                                                         10345 W. Olympic Blvd.




                                                                                                13                    Debtors Fraudulently Induce Creditors to Invest in the Adelanto Project

                                                                                                14               4.      In early 2016, the Debtors’ son, Cameron Kojima (“Cameron”), arranged for a

                                                                                                15 series of meetings between Creditors and Debtors, for the purpose of soliciting and discussing
                                                                                                16 Creditors’ potential investment into and participation in the development of real property in

                                                                                                17 Adelanto, California, and business relationships associated therewith (the “Adelanto Project”).
                                                                                                18               5.      On or about February 9, 2016, Cameron Kojima arranged a meeting with Creditor

                                                                                                19 Chase Kaufman to solicit Kaufman’s investment into the Adelanto Project. Cameron Kojima then
                                                                                                20 followed up with additional solicitation efforts in a meeting with Kaufman on or about February
                                                                                                21 16, 2016.
                                                                                                22               6.      Following the February 2016 meetings wherein Cameron Kojima solicited

                                                                                                23 Kaufman to invest in the Adelanto Project, later in early 2016, Cameron Kojima arranged for
                                                                                                24 meetings between Kaufman and the Debtors, for the Debtors to elaborate, expand, and detail the
                                                                                                25 terms, strategy, and framework of the investment into the Adelanto Project.
                                                                                                26               7.      The meetings between Kaufman and Debtors took place at the Debtors’ residence

                                                                                                27 at 7 Shoreridge, Newport Beach, CA 92657 (the “Residence”) in or about February and March,
                                                                                                28 2016. At those meetings at the Residence, Debtors made several representations of material fact
                                                                                                     4374931.1
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                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

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                                                                                                 1 pertaining to Debtors, the Adelanto Project, the investment opportunity for Kaufman and others,
                                                                                                 2 and for a partnership to be created among Debtors, Creditors, and Cameron Kojima. At the

                                                                                                 3 meetings at the Residence Debtor Don Kojima, in the presence of and with the assistance of
                                                                                                 4 Debtor Susan Kojima, represented that Debtors and Creditors would be partners in the Adelanto
                                                                                                 5 Project. Debtors’ primary solicitation was designed to induce Creditor Kaufman to deposit
                                                                                                 6 $250,000 into an entity formed by Debtors for the purpose of serving as the investment vehicle for
                                                                                                 7 the Adelanto Project.
                                                                                                 8               8.    Separately, and simultaneously, in or about the first half of 2016, the Debtors
                                                                                                 9 solicited Creditor Michael Garrison (“Garrison”) and Creditor Zachary Powers (“Powers”) to
                                                                                                10 invest in the Adelanto Project, similarly meeting with Garrison and Powers at the Residence,
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                                                                                                11 making statements and representations to Garrison and Powers concerning the Debtors’ financial
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                                                                                                12 affairs and concerning the Debtors’ investment in and contribution to the Adelanto Project.
                                                      Los Angeles, California 90064
                                                         10345 W. Olympic Blvd.




                                                                                                13               9.    At the meetings with Debtors and Cameron at the Residence, the Debtors made
                                                                                                14 representations of material fact, which representations were false and which falsity was known to

                                                                                                15 Debtors at the time that the representations were made, and which misrepresentations were made
                                                                                                16 with the goal of inducing Creditors to invest money into the Adelanto Project, and which

                                                                                                17 misrepresentations Creditors in fact relied upon in agreeing to invest in the Adelanto Project
                                                                                                18 (hereinafter the “Fraudulent Inducement Statements”).
                                                                                                19               10.   At the meetings at the Residence, Debtors induced Creditors to invest collectively
                                                                                                20 more than $1,000,000 with Debtors and their son Cameron Kojima, as described more fully
                                                                                                21 below. Debtors used the Residence as part of their device and scheme to lure unsuspecting
                                                                                                22 investors to believing Debtors’ misrepresentations as to Debtors’ financial wherewithal and as to
                                                                                                23 Debtors’ investments into the Adelanto Project. Debtors affirmatively misrepresented the nature
                                                                                                24 and extent of their financial affairs to induce Creditors to invest funds into the Adelanto Project.
                                                                                                25 Creditors relied upon Debtors’ representations as to (1) their financial condition; and (2) their
                                                                                                26 investment into the Adelanto Project, in agreeing to invest in the Adelanto Project.

                                                                                                27               11.   The Fraudulent Inducement Statements included, inter alia: (1) that Debtors had
                                                                                                28 already invested millions of dollars of their own into the Adelanto Project, which investments
                                                                                                     4374931.1
                                                                                                                                                         3
                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

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                                                                                                 1 would remain in the Adelanto Project for the duration of Creditors’ investment into the Adelanto
                                                                                                 2 Project; (2) that if Creditors invested money into the Adelanto Project, Creditors would be co-

                                                                                                 3 owners of the assets and business of the Adelanto Project alongside Debtors, in equal
                                                                                                 4 proportionate shares based upon the capital contributions of the owners into the Adelanto Project;
                                                                                                 5 (3) that if Creditors invested sums of between $250,000 - $550,000, Creditors would be minority
                                                                                                 6 shareholders based upon an equal percentage interest relative to the capital contributions of the
                                                                                                 7 owners of the Adelanto Project, who were primarily the Debtors; (4) that if Creditors invested in
                                                                                                 8 the Adelanto Project, Creditors would be actively involved in the management, operation, and
                                                                                                 9 control of the operations and investments of the Adelanto Project as co-owners of the entirety of
                                                                                                10 the Adelanto Project.
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                                                                                                11               12.   Based upon and in reasonable reliance upon the Fraudulent Inducement Statements,
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                                                                                                12 Creditors invested more than $450,000 with Debtors, depositing the sums into entities as directed
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                                                                                                13 by Debtors, which entities were created by Debtors, purportedly for the purposes of the Adelanto
                                                                                                14 Project. In true fact, the entities into which Creditors deposited the sums in excess of $450,000

                                                                                                15 were nothing but empty shell companies without any business activity, not used for the Adelanto
                                                                                                16 Project or for the purposes described to Creditors, which entities Debtors used solely as

                                                                                                17 instrumentalities and conduits for Debtors’ theft, misappropriation, and embezzlement of the
                                                                                                18 entirety of Creditors’ investment, unbeknownst to Creditors.
                                                                                                19               13.   Unbeknownst to Creditors, the true facts, at the time that the Debtors made the
                                                                                                20 Fraudulent Inducement Statements, were that (1) Debtors had not invested “millions” into the
                                                                                                21 Adelanto Project; (2) Debtors had no intention to keep any meaningful percentage of funds or
                                                                                                22 interest in the Adelanto Project, and indeed Debtors withdrew 80% of Debtors’ capital
                                                                                                23 contributions and/or investments into the Adelanto Project within less than 30 days of Creditors’
                                                                                                24 deposit of funds into the Adelanto Project; (3) Debtors created a complex web of shell entities and
                                                                                                25 companies designed to distance and cut off Creditors from any ownership of the Adelanto Project
                                                                                                26 and/or any of its assets, while intentionally masking Debtors’ lack of capital contributions to the

                                                                                                27 Adelanto Project as well as Debtors’ ownership of entities that Debtors caused to own all the
                                                                                                28 valuable assets of the Adelanto Project (all of which were created at or about the time of
                                                                                                     4374931.1
                                                                                                                                                         4
                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

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                                                                                                 1 Creditors’ investment into the Adelanto Project); (4) Debtors deprived Creditors of any actual
                                                                                                 2 ownership interest in the Adelanto Project or its assets, while embezzling and wrongfully

                                                                                                 3 transferring Creditors’ investments to entities owned by Debtors; and (5) Debtors denied
                                                                                                 4 Creditors’ ownership of the approximately 47 acres of real property in Adelanto, California that
                                                                                                 5 was acquired for and as part of the Adelanto Project, using primarily if not exclusively Creditors’
                                                                                                 6 funds.
                                                                                                 7               14.   Subsequent to the initial investment of Creditors, Debtors made additional
                                                                                                 8 representations of material fact, which representations were false and which falsity was known to
                                                                                                 9 Debtors at the time that the representations were made, and which misrepresentations were made
                                                                                                10 with the goal of inducing Creditors to (i) invest additional sums into the Adelanto Project; (ii)
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                                                                                                11 devote significant time and labor to the Adelanto Project; (iii) incur significant expenses and out-
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                                                                                                12 of-pocket costs for the development, furtherance, and improvement of the Adelanto Project
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                                                                                                13 including specifically the approximately 47 acres of unimproved real property acquired for the
                                                                                                14 Adelanto Project; and (iv) refrain from taking steps to protect their interests (hereinafter the “Post-

                                                                                                15 Investment Misrepresentations”).
                                                                                                16               15.   The Post-Investment Misrepresentations included, inter alia: (1) that there was a

                                                                                                17 requirement that the land that was to be acquired for the Adelanto Project must be initially titled in
                                                                                                18 a “holding company” other than the entity that would own, operate, and manage the Adelanto
                                                                                                19 Project; (2) that immediately post-closing, Creditors and the other co-owners of the Adelanto
                                                                                                20 Project would be equal proportionate-share owners of the “holding company” in which title to the
                                                                                                21 acquired land was vested; (3) that title to the 47 acres of land acquired as part of the Adelanto
                                                                                                22 Project had to be, and was in fact, transferred to Mitsui Adelanto Partners, LLC; (4) that the
                                                                                                23 entities in which Creditors invested would each own at least two valuable manufacturing and
                                                                                                24 distribution licenses; and (5) other statements concerning the capitalization, ownership, control,
                                                                                                25 and operation of the Adelanto Project and the land acquired for the Adelanto Project.
                                                                                                26               16.   Based upon and in reasonable reliance upon the Post-Investment

                                                                                                27 Misrepresentations, which misrepresentations Creditors in fact relied upon, (i) Creditors invested
                                                                                                28 additional sums of more than $750,000 into the Adelanto Project; (ii) Creditors devoted significant
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                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

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                                                                                                 1 time and labor to the Adelanto Project, and Creditors further brought contracts and business
                                                                                                 2 relationships to Debtors and to the Adelanto Project; (iii) Creditors incurred significant expenses

                                                                                                 3 and out of-pocket costs for the development, furtherance, and improvement of the Adelanto
                                                                                                 4 Project including specifically improvements and added utilities and structures on the
                                                                                                 5 approximately 47 acres of unimproved real property acquired for the Adelanto Project; and (iv)
                                                                                                 6 Creditors refrained from taking steps to protect their interests in the Adelanto Project and/or to
                                                                                                 7 confirm their ownership interest in the Adelanto Project.
                                                                                                 8               17.   Unbeknownst to Creditors, the true facts, at the time that the Debtors made the
                                                                                                 9 Post-Investment Misrepresentations, were that (1) there was no requirement that the land acquired
                                                                                                10 for the Adelanto Project be titled in a “holding company” other than the entity that would own,
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                                                                                                11 operate, and manage the Adelanto Project; (2) Creditors and the owners of the Adelanto Project
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                                                                                                12 were not made equal proportionate-share owners of the “holding company” in which title to the
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                                                                                                13 acquired land was vested; (3) title to the 47 acres of land acquired as part of the Adelanto Project
                                                                                                14 (acquired using primarily, if not exclusively, Creditors’ investment) was not transferred to Mitsui

                                                                                                15 Adelanto Partners, LLC; (4) the entities into which Creditors deposited their investment funds
                                                                                                16 were not the entities that ultimately would own the valuable licenses; and (5) Debtors usurped,

                                                                                                17 misappropriated, and embezzled the additional funds invested by Creditors for Debtors’ own
                                                                                                18 personal gain and benefit, not in accordance with the representations made to Creditors.
                                                                                                19                               Debtors’ Embezzlement of Creditors’ Funds
                                                                                                20               18.   In 2016 Creditors invested more than $1,200,000 as requested and directed by

                                                                                                21 Debtors, for the Adelanto Project. Creditors’ investments were primarily made into entities created
                                                                                                22 by Debtors, purportedly for the benefit of Creditors and as part of the Adelanto Project: Dionysus
                                                                                                23 Cultivation Partners, I, LLC (“Dio I”) and Dionysus Cultivation Partners III, LLC (“Dio III”).
                                                                                                24               19.   Debtors and their son, Cameron, created, controlled, managed, operated, and

                                                                                                25 directed Dio I and Dio III. After Creditors deposited their investments, Debtors and Cameron
                                                                                                26 specifically excluded Creditors from access to the bookkeeping, record-keeping, accounting, and

                                                                                                27 written corporate minutes of Dio I and Dio III, while engaging and meeting with Creditors
                                                                                                28 routinely, at times up to three (3) times per week, to discuss the operations, management,
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                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

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                                                                                                 1 direction, and development of the Adelanto Project, at all relevant times treating Creditors as
                                                                                                 2 owners in the Adelanto Project and all of its assets.

                                                                                                 3               20.   Debtor Susan Kojima acted as the bookkeeper of Dio I and Dio III. Debtor Susan
                                                                                                 4 Kojima and Cameron were the sole signatories on the bank accounts of Dio I and Dio III. Debtors
                                                                                                 5 installed the sister of Debtor Susan Kojima, Janet Luyet, as the accountant for Dio I and Dio III.
                                                                                                 6 Creditors reposed trust and confidence upon Susan Kojima’s and Cameron Kojima, including
                                                                                                 7 without limitation by entrusting Susan and Cameron to sole access to and authority over the bank
                                                                                                 8 accounts of Dio I and Dio III.
                                                                                                 9               21.   By virtue of the foregoing relationships of reposed trust and confidence (which
                                                                                                10 reposed trust and confidence Debtors and Cameron knowingly and voluntarily assumed onto
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                                                                                                11 themselves, including in representations by Susan and Cameron to financial institutions including
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                                                                                                12 without limitation Wells Fargo Bank, holding themselves out as “key executive[s] with control of
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                                                                                                13 the Entity”), and owing to the managerial positions of Debtors and their affiliates, together with
                                                                                                14 Debtors’ intentional and deliberate failure to share with Creditors any of the information

                                                                                                15 concerning the accounting, bookkeeping, and recordkeeping in connection with Dio I and Dio III;
                                                                                                16 and in withholding written corporate minutes from Creditors, Debtors owed Creditors a fiduciary

                                                                                                17 duty, including without limitation in connection with (1) handling of Creditors’ investments; (2)
                                                                                                18 management of the books, accounts, records, and accounting of the entities into which Debtors
                                                                                                19 directed Creditors to invest, including Dio I and Dio III; and (3) management and operation of Dio
                                                                                                20 I and Dio III.
                                                                                                21               22.   Debtors and Cameron, working together on a common scheme and plan, conspired
                                                                                                22 to and did in fact breach their fiduciary duties to Creditors in at least the following ways: (1)
                                                                                                23 transferring Creditors’ investments (in sums of more than $500,000) out of Dio I and Dio III for
                                                                                                24 no consideration and without any benefit to Dio I and Dio III, for the Debtors’ own benefit; (2)
                                                                                                25 misusing, misappropriating, and embezzling Creditors’ investments into Dio I and Dio III for their
                                                                                                26 own personal profit and gain, including without limitation by unilaterally transferring money out

                                                                                                27 of Dio I and Dio III without any justification or business purpose therefore, to Debtors’ company
                                                                                                28 Kojima Development Company, LLC (“KDC”), to the Debtors directly, and to other entities
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                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

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                                                                                                 1 owned by Debtors and Cameron (but often masking and hiding said transactions from Creditors,
                                                                                                 2 including by transferring funds through intermediary entities in attempt to conceal the transfer of

                                                                                                 3 funds to Debtors or their entities); (3) excluding Creditors from the revenues and profits generated
                                                                                                 4 by the Adelanto project; (4) misappropriating, transferring, misusing, and embezzling the proceeds
                                                                                                 5 of the efforts and labor devoted by Creditors into the Adelanto Project, by, for example, secretly
                                                                                                 6 and without Creditors’ knowledge causing the valuable licenses generated by Creditors’ efforts
                                                                                                 7 and paid for by Creditor Kaufman, to be issued to entities in which Creditors shared no ownership
                                                                                                 8 or participation (unbeknownst to Creditors); (5) misappropriating the contracts and key business
                                                                                                 9 relationships of Creditors, which Creditors devoted to the Adelanto Project under the belief,
                                                                                                10 formed based upon the Debtors’ statements including without limitation the Fraudulent
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                                                                                                11 Inducement Statements and the Post-Investment Misrepresentations, that Creditors are equity
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                                                                                                12 owners of the Adelanto Project and its assets, land, licenses, and resources; and (6) engaging in a
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                                                                                                13 series of self-dealing transactions whereby the money, time, resources, relationships, assets, and
                                                                                                14 investments of Creditors were misappropriated and converted by Debtors and Cameron for their

                                                                                                15 own use and benefit, to Creditors’ detriment.
                                                                                                16               23.   Creditors are informed and believe and thereon allege that Debtors engaged in the

                                                                                                17 conduct as alleged hereinabove knowingly, intentionally, deliberately, and maliciously to
                                                                                                18 embezzle Creditors’ investments and money, to breach their fiduciary obligations and duties to
                                                                                                19 Creditors, to defraud Creditors, and to embezzle Creditors’ assets and investments by abusing the
                                                                                                20 trust and confidence reposed in Debtors by Creditors.
                                                                                                21               24.   Creditors are informed and believe and thereon allege that Debtors engaged in the
                                                                                                22 conduct as alleged hereinabove knowingly, intentionally, deliberately, and maliciously, as part of a
                                                                                                23 preplanned scheme and plan to take the property of Creditors and to injure Creditors and their
                                                                                                24 investments into the Adelanto Project.
                                                                                                25               25.   Creditors are further informed and thereon allege that at a minimum, even if the
                                                                                                26 Court finds that Debtors’ conduct as hereinabove alleged does not rise to the level of malicious,

                                                                                                27 willful, and/or fraudulent conduct, and even if the Court finds that the conduct as hereinabove
                                                                                                28 alleged is not embezzlement, the Debtors nonetheless defalcated Creditors’ assets and investments
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                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

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                                                                                                 1 while acting in a fiduciary capacity, including specifically as fiduciaries of Creditors’ investments
                                                                                                 2 into the Adelanto Project.

                                                                                                 3               26.    Based on the foregoing allegations (and others), on January 22, 2020, Creditors
                                                                                                 4 commenced an action against the Debtors and Cameron in San Bernardino County Superior Court,
                                                                                                 5 which action is entitled Garrison, et al. v. Kojima, et al., Case No. CIVDS2001906.
                                                                                                 6                     Debtors’ Bankruptcy Filing; Debtors Submit False and Misleading
                                                                                                 7                                 Schedules and Statement of Financial Affairs

                                                                                                 8               27.    On May 26, 2021, the Debtors filed a voluntary petition for relief under Chapter 11

                                                                                                 9 of the Bankruptcy Code, thereby commencing this Bankruptcy Case. The Debtors’ purported
                                                                                                10 purpose for filing this Bankruptcy Case was to avoid a scheduled foreclosure of the Residence.
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                                                                                                11               28.    On or about June 16, 2021, the Debtors filed their Schedules and Statement of
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                                                                                                12 Financial Affairs [Docket No. 30]. As provided more fully herein, the Schedules and Statement of
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                                                         10345 W. Olympic Blvd.




                                                                                                13 Financial Affairs: (i) fail to disclose the Debtors’ connections with multiple business entities that
                                                                                                14 were owned and/or controlled by the Debtors prior to the filing of the bankruptcy case; (iii) mis-

                                                                                                15 characterize the Debtors’ initial capital contribution to Debtors’ entity, Kojima Development
                                                                                                16 Corporation (“KDC”), as a loan in the amount of $4,500,000; and (iii) vastly inflate the Debtors’

                                                                                                17 purported Income in Schedule I of the Schedules.
                                                                                                18               29.    Debtors failed to disclose their ownership and/or other connections with multiple

                                                                                                19 business entities as required by question 27 of the Statement of Financial Affairs. In response to
                                                                                                20 this question, Debtors falsely state that Mrs. Kojima’s only connection to a business is as a
                                                                                                21 member of KDC. That response is contradicted by, inter alia, the Debtors’ testimony at the 341(a)
                                                                                                22 meetings regarding the Debtors’ ownership and divestment of multiple business entities involved
                                                                                                23 in the cannabis business (the “Adelanto Entities”).1
                                                                                                24               30.    Debtors’ failure to disclose their business connections, ownership and/or other

                                                                                                25
                                                                                                     1
                                                                                                26     The Adelanto Entities consist of: Apollo Cultivation Management, LLC (“ACM”), Cameron Ranch Adelanto
                                                                                                     Partners, LLC (“CRAP”), DIO I, II, and III, Mitsui Adelanto Partners (“Mitsui”), and Apollo Management (“AM”).
                                                                                                27   At this time, the only entities with any remaining value are: (a) ACM, which holds two cannabis licenses (for
                                                                                                     manufacturing and distribution) and operates a cannabis business and is the sole operating business entity; (b) CRAP,
                                                                                                28   which owns 47 acres of real property in Adelanto, California; and (c) AM, which as the purported property manager
                                                                                                     of CRAP’s real property, and which may hold leases or contracts involving said property.
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                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

                                                                                                                                                                                          EXHIBIT 4, PAGE 75
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                                                                                                 1 connections with the Adelanto Entities on their Schedules and Statement of Financial Affairs also
                                                                                                 2 is contradicted by Mrs. Kojima’s filings with the California Secretary of State which provide that:

                                                                                                 3 (a) Mrs. Kojima was a member of CRAP as of February 26, 2020; (b) Mrs. Kojima was a partner
                                                                                                 4 of ACM as of April 25, 2020; (c) Mrs. Kojima was a manager of Apollo Management as of
                                                                                                 5 February 18, 2021; and (d) Mrs. Kojima was a member of CK Development as of February 26,
                                                                                                 6 2020.
                                                                                                 7               31.   Debtors’ failure to disclose their business connections, ownership, and/or other
                                                                                                 8 interests in the Adelanto Entities on their Schedules and Statement of Financial Affairs also is
                                                                                                 9 contradicted by the fact that Mrs. Kojima signed virtually all checks on behalf of ACM (including
                                                                                                10 a post-petition check of ACM), and that Mrs. Kojima signed a Ground Lease between CRAP and
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                                                                                                11 ACM, dated as of October 11, 2016, as Manager of ACM.
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                                                                                                12               32.   Debtors’ failure to disclose their business connections, ownership, and/or other
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                                                                                                13 interests in the Adelanto Entities on their Schedules and Statement of Financial Affairs is a willful
                                                                                                14 attempt to shield themselves from their connection with the cannabis industry and their transfer of

                                                                                                15 valuable estate assets to their son, Cameron Kojima.
                                                                                                16               33.   The Debtors also grossly inflate their income on Schedule I, which they state is

                                                                                                17 $64,739 consisting primarily of a “management fee” from KDC in the amount of $25,000 per
                                                                                                18 month, and monthly interest of $37,500 from an unsubstantiated loan to KDC. There are,
                                                                                                19 however, two fundamental issues with respect to the reported income on the Schedules: (1) KDC
                                                                                                20 does not have the funds or the ability to pay the Debtors $62,500 per month and it has rarely, if
                                                                                                21 ever, done so; and (2) the Debtors’ purported “loan” to KDC is not a loan at all, but instead, is a
                                                                                                22 capital contribution. As the Debtors testified at their 341(a) meeting, the Debtors simply withdraw
                                                                                                23 funds from KDC as they deem necessary, with no regard for KDC’s separate corporate identity –
                                                                                                24 the purported bases for doing so are a sham.
                                                                                                25               34.   On or about June 29, 2021, the Debtors filed their Periodic Report Regarding
                                                                                                26 Value, Operations, and Profitability of Entities in Which the Debtor’s Estate Holds a Substantial

                                                                                                27 or Controlling Interest (the “Kojima Development Report”) [Docket No. 38].
                                                                                                28               35.   The Kojima Development Report – which largely pertains to the Debtors’ wholly-
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                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

                                                                                                                                                                                EXHIBIT 4, PAGE 76
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                                                                                                 1 owned entity, KDC – provides information that is inconsistent with the Schedules, and with the
                                                                                                 2 Debtors’ testimony at the 341(a) meetings.

                                                                                                 3               36.   The Kojima Development Report includes a December 31, 2019 Balance Sheet of
                                                                                                 4 KDC in which the Debtors’ purported loan to KDC is listed as a capital contribution. Indeed, the
                                                                                                 5 KDC Balance Sheet reflects that KDC had total liabilities of only $324,838, and does not reflect
                                                                                                 6 any loan made by the Debtors to KDC.
                                                                                                 7                         Debtors Undisclosed Divestment of the Adelanto Entities
                                                                                                 8               37.   On June 30, 2021, the Office of the United States Trustee (the “U.S. Trustee”) held

                                                                                                 9 the initial 341(a) meeting of creditors at which counsel for the U.S. Trustee questioned the Debtors
                                                                                                10 for over three hours regarding, among other things, the Debtors’ purported divestment of their
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                                                                                                11 ownership interest in the Adelanto Entities, including ACM and CRAP. The U.S. Trustee
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                                                                                                12 continued the 341(a) meeting to August 25, 2021, at which time the U.S. Trustee continued to
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                                                                                                13 question the Debtors about the purported divestment of the Adelanto Entities.
                                                                                                14               38.   The Debtors’ testimony at the 341(a) meetings regarding their purported

                                                                                                15 divestments of the Adelanto Entities for so-called “estate planning purposes” was inconsistent
                                                                                                16 with the Kojima Development Report, as well as the tax returns for the Adelanto Entities, as well

                                                                                                17 as a Membership Purchase Agreement dated April 30, 2020, each of which tells a different story.
                                                                                                18               39.   According to the Debtors’ testimony at the 341(a) meeting, KDC purportedly

                                                                                                19 transferred a 25% ownership in the Adelanto Entities to Cameron in 2018, and another 25% in
                                                                                                20 2019. As such, if the Debtors’ testimony was true, KDC would have owned only a 50% interest in
                                                                                                21 those entities by the end of 2019. However, Debtors’ testimony regarding the transfer of the
                                                                                                22 Adelanto Entities to their son and/or his entity is directly contradicted by the Adelanto Entities’
                                                                                                23 federal tax returns, which reflect that as of 2018 and 2019, KDC owned 90% of the profit of
                                                                                                24 ACM, 90% of the profit of CRAP, and 90% of the profit of Apollo Management.
                                                                                                25               40.   Debtors’ testimony at the 341(a) meeting and the aforementioned tax returns of the

                                                                                                26 Adelanto Entities are further contradicted by the Kojima Development Report, which provides that

                                                                                                27 as of 2019, KDC owned a 66.7% interest in CRA without any reference to KDC’s ownership of
                                                                                                28 CRAP, ACM, or Apollo Management in any amounts. Instead, the Kojima Development Report
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                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

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                                                                                                 1 includes a Balance Sheet for KDC that simply reflects a negative $40,481.22 investment in CRAP,
                                                                                                 2 and an investment of $19,246.77 in ACM.

                                                                                                 3               41.   The Debtors’ various and contradictory stories entirely are contradicted by the
                                                                                                 4 Membership Purchase Agreement dated April 30, 2020, in which KDC sold 10 membership
                                                                                                 5 interest units of ACM, representing 10% of the entirety of membership interest units of ACM, to
                                                                                                 6 Tri-Epic I, Inc. (“Tri-Epic”) for $50,000. The Membership Purchase Agreement, which is signed
                                                                                                 7 by Don Kojima as Manager of KDC, includes the representation by KDC that it is “the record and
                                                                                                 8 beneficial owner of the Units free and clear of all liens, encumbrances, claims, pledges,
                                                                                                 9 mortgages, security interests or other limitations . . . .” and further recites that KDC is the “owner
                                                                                                10 of 100 membership interests units of Apollo Cultivation Management, LLC . . . representing one
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                                                                                                11 hundred percent of the membership interest units of ACM.” In other words, as of April 30, 2020,
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                                                                                                12 Don Kojima, as Manager of KDC, represented that KDC owned 100% of ACM - - not 25% as
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                                                                                                13 represented by him at the 341(a) meetings; not 90% as provided in the 2019 tax returns of the
                                                                                                14 Adelanto Entities prepared by Mrs. Kojima’s sister; and not 0% as of 2019 as represented to this

                                                                                                15 Court in the Kojima Development Report.
                                                                                                16      Debtors Improperly Obtain Post-Petition Financing From Mrs. Kojima’s Sister Without

                                                                                                17                                  Proper Notice or Prior Court Approval

                                                                                                18               42.   On or about July 26, 2021, the Debtors entered into an adequate protection

                                                                                                19 stipulation (the “Adequate Protection Stipulation”) with the four creditors holding a total of
                                                                                                20 approximately $8.1 million in secured claims against their personal residence: Wells Fargo with
                                                                                                21 an approximate claim amount of $2,910,717; Bank of America with an approximate claim amount
                                                                                                22 of $2.4 million; Ms. Katherine Meredith with an approximate claim amount of $870,218; and Mr.
                                                                                                23 Cory Meredith with an approximate claim amount of $1,985,445. Pursuant to the Adequate
                                                                                                24 Protection Stipulation, the Debtors agreed to make adequate protection payments to these creditors
                                                                                                25 in the combined amount of approximately $42,000 per month. [Docket No. 54.]
                                                                                                26               43.   Creditors filed a limited objection [Docket No. 70] to the Adequate Protection

                                                                                                27 Stipulation on the basis that the Debtors did not appear to have the ability to make monthly
                                                                                                28 payments in the amount of approximately $42,000 given the Debtors’ testimony at the 341(a)
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                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

                                                                                                                                                                                EXHIBIT 4, PAGE 78
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                                                                                                 1 meeting that their only regular source of income is from Social Security.
                                                                                                 2               44.   At the continued 341(a) meeting of creditors, the Debtors conceded that they

                                                                                                 3 completely had depleted the bank account of a non-debtor affiliate (which purportedly owed a
                                                                                                 4 “debt” to KDC) in order to pay the secured creditors as required by the Adequate Protection
                                                                                                 5 Stipulation. The Debtors also disclosed, after being prodded by Creditors and the Office of the
                                                                                                 6 United States Trustee, that they obtained a loan from Mrs. Kojima’s sister, Janet Luyet, who also
                                                                                                 7 happens to be the accountant for the Debtors, the Kojima Entities, and the Adelanto Entities.
                                                                                                 8               45.   Ms. Luyet loaned the money to the Debtors’ entity, KDC, which then funneled the
                                                                                                 9 loan proceeds directly to the Debtors. The loan agreement between Ms. Luyet and KDC provides
                                                                                                10 that payment will be due to Ms. Luyet in one installment due on August 23, 2022 in the amount of
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                                                                                                11 $104,000. At the 341(a) meeting of creditors, Mr. Kojima indicated that Ms. Luyet likely would
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                                                                                                12 be making a larger loan to KDC for the purpose of enabling the Debtors to make ongoing adequate
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                                                                                                13 protection payments. Debtors have yet to disclose the total amount of loans made by Ms. Luyet,
                                                                                                14 or where they are getting the funds to make adequate protection payments to the secured lenders.

                                                                                                15               46.   The loan to “KDC” by Ms. Luyet was a sham transaction designed to circumvent
                                                                                                16 the requirement to obtain court approval. The loan agreement is signed by Don Kojima on behalf

                                                                                                17 of KDC, and the address of KDC is the same address as that of the Debtors. As KDC has no
                                                                                                18 business operations (other than as a part owner of another non-debtor entity that Debtors also have
                                                                                                19 depleted of any significant ongoing value), and no employees, there is no possible business reason
                                                                                                20 why KDC would require a loan. And indeed, KDC immediately funneled the loan proceeds to the
                                                                                                21 Debtors for the purpose of making their adequate protection payments. Moreover, Debtors
                                                                                                22 admitted at the 341(a) meeting that they do not distinguish themselves from KDC. As stated by
                                                                                                23 Mrs. Kojima: “Because the assets that in Don and Sue’s name are our personal possessions . . . .
                                                                                                24 Anything else of value that we have, so to speak it’s in Kojima Development. So we - - it’s kind
                                                                                                25 of - - and the only people in Kojima Development are Don, Sue, and Cameron. So we kind of
                                                                                                26 look at it in the same way.”

                                                                                                27
                                                                                                28
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                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

                                                                                                                                                                               EXHIBIT 4, PAGE 79
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                                                                                                 1                                        FIRST CLAIM FOR RELIEF
                                                                                                 2               (For a Determination of Non-Dischargeability Under 11 U.S.C. § 523(a)(2)(A))

                                                                                                 3               47.   Plaintiffs incorporate herein, by this reference, the allegations in paragraphs 1

                                                                                                 4 through 22, inclusive, of this Complaint.
                                                                                                 5               48.   As set forth in detail above, the Debtors made the Fraudulent Inducement

                                                                                                 6 Statements for the express purpose of inducing Creditors to invest over $500,000 with the
                                                                                                 7 Debtors. The Debtors also made the Post-Investment Misrepresentations to the Debtors for the
                                                                                                 8 express purpose of inducing Creditors to invest over $700,000 in additional funds. The Fraudulent
                                                                                                 9 Inducement Statements and the Post-Investment Misrepresentations were false, were known by
                                                                                                10 the Debtors to be false, and were made intentionally and maliciously. Creditors justifiably relied
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                                                                                                11 on the Debtors’ false statements and were harmed as a result.
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                                                                                                12               49.   The damages suffered by Creditors and the debt resulting therefrom by the Debtors
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                                                         10345 W. Olympic Blvd.




                                                                                                13 are of the kind specified in 11 U.S.C. § 523(a)(2)(A). Accordingly, by reason of the foregoing,
                                                                                                14 Creditors are entitled to a judgment determining that their claims against the Debtors are non-

                                                                                                15 dischargeable pursuant to 11 U.S.C. § 523(a)(2)(A).
                                                                                                16                                      SECOND CLAIM FOR RELIEF

                                                                                                17                (For a Determination of Non-Dischargeability Under 11 U.S.C. § 523(a)(4))

                                                                                                18               50.   Plaintiffs incorporate herein, by this reference, the allegations in paragraphs 1

                                                                                                19 through 22, inclusive, of this Complaint.
                                                                                                20               51.   As set forth in detail above, the Debtors owed Creditors a fiduciary duty including

                                                                                                21 without limitation in connection with (1) handling of Creditors’ investments; (2) management of
                                                                                                22 the books, accounts, records, and accounting of the entities into which Debtors directed Creditors
                                                                                                23 to invest, including Dio I and Dio III; (3) management and operation of Dio I and Dio III.
                                                                                                24               52.   While acting in a fiduciary capacity, Debtors willfully, wrongfully, intentionally,

                                                                                                25 and/or fraudulently transferred, misused, misappropriated, and embezzled Creditors’ investments,
                                                                                                26 money, and other property.

                                                                                                27               53.   The damages suffered by Creditors and the debt resulting therefrom by the Debtors

                                                                                                28 are of the kind specified in 11 U.S.C. § 523(a)(4). Accordingly, By reason of the foregoing,
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                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

                                                                                                                                                                                  EXHIBIT 4, PAGE 80
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                                                                                                 1 Creditors are entitled to a judgment determining that their claims against the Debtors are non-
                                                                                                 2 dischargeable pursuant to 11 U.S.C. § 523(a)(4).

                                                                                                 3                                         THIRD CLAIM FOR RELIEF
                                                                                                 4                (For a Determination of Non-Dischargeability Under 11 U.S.C. § 523(a)(6))

                                                                                                 5               54.     Plaintiffs incorporate herein, by this reference, the allegations in paragraphs 1

                                                                                                 6 through 22, inclusive, of this Complaint.
                                                                                                 7               55.     The Debtors’ conduct described in paragraphs 4-22 above constitutes a willful and

                                                                                                 8 malicious injury to Creditors. The damages suffered by Creditors and the debt resulting therefrom
                                                                                                 9 by the Debtors are of the kind specified in 11 U.S.C. § 523(a)(6). Accordingly, by reason of the
                                                                                                10 foregoing, Plaintiffs are entitled to a judgment determining that their claims against the Debtors
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                                                                                                11 are non-dischargeable pursuant to 11 U.S.C. § 523(a)(6).
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                                                                                                12                                        FOURTH CLAIM FOR RELIEF
                                                      Los Angeles, California 90064
                                                         10345 W. Olympic Blvd.




                                                                                                13                     (For Denial of the Debtors’ Discharge Under 11 U.S.C. § 727(a)(2)(A))

                                                                                                14               56.     Plaintiffs incorporate herein, by this reference, all allegations in paragraphs 1

                                                                                                15 through 3 and 23 through 42, inclusive, of this Complaint.
                                                                                                16               57.     Within one year of the Petition Date, the Debtors, with intent to hinder, delay, or

                                                                                                17 defraud their creditors, transferred certain of their property – including some or all of their direct
                                                                                                18 and/or indirect interests in the Adelanto Entities – to Cameron.
                                                                                                19               58.     The Debtors are not entitled to a discharge pursuant to 11 U.S.C. § 727(a)(2)(A)

                                                                                                20 and other applicable law.
                                                                                                21               59.     The Court should deny the Debtors’ discharge.

                                                                                                22                                          FIFTH CLAIM FOR RELIEF

                                                                                                23                      (For Denial of the Debtors’ Discharge Under 11 U.S.C. § 727(a)(3))

                                                                                                24               60.     Plaintiffs incorporate herein, by this reference, all allegations in paragraphs 1

                                                                                                25 through 3 and 23 through 42, inclusive, of this Complaint.
                                                                                                26               61.     The Debtors have concealed, destroyed, mutilated, falsified, or failed to keep or

                                                                                                27 preserve any recorded information, including books, documents, records, and papers, from which
                                                                                                28 the Debtors’ financial condition or business transactions might be ascertained, including, without
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                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

                                                                                                                                                                                    EXHIBIT 4, PAGE 81
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                                                                                                 1 limitation, documents pertaining to the purported transfers of their interests in the Adelanto
                                                                                                 2 Entities to Cameron (or his entity), and such act or failure to act was not justified under all of the

                                                                                                 3 circumstances of this Bankruptcy Case.
                                                                                                 4               62.      The Debtors are not entitled to a discharge pursuant to 11 U.S.C. § 727(a)(3) and
                                                                                                 5 other applicable law.
                                                                                                 6               63.      The Court should deny the Debtors’ discharge.
                                                                                                 7                                          SIXTH CLAIM FOR RELIEF
                                                                                                 8                     (For a Denial of the Debtors’ Discharge Under 11 U.S.C. § 727(a)(4)(A))

                                                                                                 9               64.      Plaintiffs incorporate herein, by this reference, all allegations in paragraphs 1

                                                                                                10 through 3 and 23 through 42, inclusive, of this Complaint.
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                                                                                                11               65.      The Debtors have knowingly and fraudulently made a false oath or account in and
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                                                                                                12 in connection with the Bankruptcy Case with respect to: (a) the purported loan from KDC which
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                                                                                                13 was nothing more than a capital contribution; (b) their purported divestment of the Adelanto
                                                                                                14 Entities; and (c) other false statements made at the 341(a) meetings, and in the Debtors’ Schedules

                                                                                                15 and Statement of Financial Affairs as described herein.
                                                                                                16               66.      The Debtors are not entitled to a discharge pursuant to 11 U.S.C. § 727(a)(4)(A)

                                                                                                17 and other applicable law.
                                                                                                18               67.      The Court should deny the Debtors’ discharge.

                                                                                                19                                        SEVENTH CLAIM FOR RELIEF

                                                                                                20                      (For a Denial of the Debtors’ Discharge Under 11 U.S.C. § 727(a)(5))

                                                                                                21               68.      Plaintiffs incorporate herein, by this reference, all allegations in paragraphs 1

                                                                                                22 through 3 and 23 through 42, inclusive, of this Complaint.
                                                                                                23               69.      The Debtors have failed to explain satisfactorily any loss of assets or deficiency of

                                                                                                24 assets to meet the Debtors’ liabilities. Specifically, as described above, the Debtors have failed to
                                                                                                25 explain satisfactorily the purported transfers of their interests in the Adelanto Entities to Cameron
                                                                                                26 (or his entity).

                                                                                                27               70.      The Debtors are not entitled to a discharge pursuant to 11 U.S.C. § 727(a)(5) and

                                                                                                28 other applicable law.
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                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

                                                                                                                                                                                     EXHIBIT 4, PAGE 82
                                                                     Case 8:21-bk-11352-TA                                    Doc 317 Filed 11/29/22 Entered 11/29/22 19:38:59                          Desc
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                                                                                                 1               71.   The Court should deny the Debtors’ discharge.
                                                                                                 2                                           PRAYER FOR RELIEF

                                                                                                 3               WHEREFORE, Creditors pray that the Court enter a judgment against the Debtors as

                                                                                                 4 follows:
                                                                                                 5               A.    On the First Claim for Relief, for a determination that Creditors’ claims against the

                                                                                                 6 Debtors are non-dischargeable pursuant to 11 U.S.C. § 523(a)(2)(A).
                                                                                                 7               B.    On the Second Claim for Relief, for a determination that Creditors’ claims against

                                                                                                 8 the Debtors are non-dischargeable pursuant to 11 U.S.C. § 523(a)(4).
                                                                                                 9               C.    On the Third Claim for Relief, for a determination that Creditors’ claims against

                                                                                                10 the Debtors are non-dischargeable pursuant to 11 U.S.C. § 523(a)(6).
                                            Telephone: 310.746.4400 • Facsimile: 310.746.4499




                                                                                                11               D.    On the Fourth Claim for Relief, for a denial of the Debtors’ discharge pursuant to
ELKINS KALT WEINTRAUB REUBEN GARTSIDE LLP




                                                                                                12 11 U.S.C. § 727(a)(2)(A).
                                                      Los Angeles, California 90064
                                                         10345 W. Olympic Blvd.




                                                                                                13               E.    On the Fifth Claim for Relief, for a denial of the Debtors’ discharge pursuant to 11

                                                                                                14 U.S.C. § 727(a)(3).

                                                                                                15               F.    On the Sixth Claim for Relief, for a denial of the Debtors’ discharge pursuant to 11

                                                                                                16 U.S.C. § 727(a)(4)(A).

                                                                                                17               G.    On the Seventh Claim for Relief, for a denial of the Debtors’ discharge pursuant to

                                                                                                18 11 U.S.C. § 727(a)(5).
                                                                                                19               H.    On all claims for relief, for costs of suit and such other and further relief as the

                                                                                                20 Court deems just and proper.
                                                                                                21
                                                                                                22 DATED: February 28, 2022                    ELKINS KALT WEINTRAUB REUBEN GARTSIDE LLP

                                                                                                23
                                                                                                24
                                                                                                                                               By:
                                                                                                25                                                   MICHAEL I. GOTTFRIED
                                                                                                                                                     Attorneys for Plaintiffs Chase Kaufman, Michael
                                                                                                26                                                   Garrison, and Zach Powers
                                                                                                27
                                                                                                28
                                                                                                     4374931.1
                                                                                                                                                           17
                                                                                                         COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11
                                                                                                            U.S.C. § 523; AND (2) DENIAL OF DEBTORS’ DISCHARGE PURSUANT TO 11 U.S.C. § 727

                                                                                                                                                                                   EXHIBIT 4, PAGE 83
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Elkins Kalt Weintraub Reuben Gartside LLP, 10345 W. Olympic Blvd., Los Angeles, CA 90064

A true and correct copy of the foregoing document entitled (specify):

COMPLAINT FOR: (1) DETERMINATION THAT DEBT IS NON-DISCHARGEABLE PURSUANT TO 11 U.S.C. § 523;
AND (2) DENIAL OF DEBTORS' DISCHARGE PURSUANT TO 11 U.S.C. § 727

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
February 28, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                            Service information continued on attached page


2. SERVED BY UNITED STATES MAIL:
On (date) February 28, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.



                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) September 1, 2021, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


Honorable Judge Theodor Albert
United States Bankruptcy Court, Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5085 / Courtroom 5B
Santa Ana, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 February 28, 2022             Cecilia G. Avila                                                 /s/ Cecilia G. Avila
 Date                           Printed Name                                                    Signature



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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
                                                                                                                   EXHIBIT 4, PAGE 84
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1. TO BE SERVED BY THE COURT VIA NEF (Contd.):

x Ryan A. Baggs, rbaggs@wghlawyers.com
x Richard H. Golubow, rgolubow@wghlawyers.com
x Ronald K. Brown, ronrkbrownlaw.com
x Nancy L. Lee, bknotice@mccarthyholthus.com
x Ryan D. O’Dea, rodea@shulmanbastian.com
x Sarah M. St John, sstjohn@shulmanbastian.com
x Katie Irene Wolff, katie.wolff@bofa.com
x Jennifer C. Wong, bknotice@mccarthyholthus.com
x Queenie K. Ng, queenie.k.ng@usdoj.gov
x Richard G. Heston, rheston@hestonlaw.com

2. TO BE SERVED BY UNITED STATES MAIL (Contd.):

Internal Revenue Service                            Nishimuta Landscape                                 American Express
P.O. Box 7346                                       3079 Platte Drive                                   P.O. Box 0001
Philadelphia, PA 19101-7346                         Costa Mesa, CA 92626                                Los Angeles, CA 90096-8000


National Bankruptcy Services.com                    Chase Bank                                          National Bankruptcy Services.com
14841 Dallas Parkway, Ste. 300                      Cardmember Service                                  14841 Dallas Parkway, Ste. 300
Dallas, TX 75254                                    P.O. Box 6294                                       Dallas, TX 75254
                                                    Carol Stream, IL 60197-6294

Capital One                                         Macy’s                                              Southern California Edison
P.O. Box 60599                                      P.O. Box 790040                                     Attn: Legal Dept
City of Industry, CA 91716-0599                     Saint Louis, MO 63179-0149                          P.O. Box 600
                                                                                                        Rosemead, CA 91771-0001
SoCalGas                                            Cox                                                 Deepools
P.O. Box C                                          P.O. Box 1259                                       25885 Trabuco Rd
Monterey Park, CA 91756-5111                        Dept. 102280                                        Unit 152
                                                    Oaks, PA 19456                                      Lake Forest, CA 92630

C&H Custom Security Systems,                        Irvine Ranch Water District                         AT&T
Inc.                                                15600 Sand Canyon Ave.                              P.O. Box 537104
2201 E. Willow Street, D-331                        Irvine, CA 92618                                    Atlanta, GA 30353
Signal Hill, CA 90755

Anthem Blue Cross                                   Pelican Crest II Community                          Irvine Ranch Water District
P.O. Box 659816                                     Newport Coast Community Assoc.                      15600 Sand Canyon Ave.
San Antonio, TX 78265-9116                          c/o FirstService Residential                        Irvine, CA 92618
                                                    15241 Laguna Canyon Road
                                                    Irvine, CA 92618



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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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Aetna                                               Chase Miles Kaufman                                 Wells Fargo Home Mortgage
Attn: c/o SilverScript Insurance                    Schimmel & Parks, APLC                              Payments
Company                                             c/o Michael W. Parks, Esq.,                         P.O. Box 51120
PO Box 504849                                       15303 Ventura Blvd, Suite 650                       Los Angeles, CA 90051
Saint Louis, MO 63150                               Sherman Oaks, CA 91403


Anthem Blue Cross                                   U.S. Trustee                                        Don Teruo Kojima
P.O. Box 54587                                      United States Trustee (SA)                          Susan Lorraine Kojima
Los Angeles, CA 90054                               411 W. Fourth Street, Suite 7160                    434 Via Lido Nord
                                                    Santa Ana, CA 92701-4593                            Newport Beach, CA 92663

Wells Fargo Home Mortgage                           U.S. Securities and Exchange                        MK Consultants, Inc.
P.O. Box 10335                                      Commission                                          One West Deer Valley, Suite 103
Des Moines, IA 50306                                Attn: Bankruptcy Counsel                            Phoenix, AZ 85027
                                                    444 South Flower Street, Suite 900
                                                    Los Angeles, CA 90071

Kaufman Steinberg, LLP                              Kevin E. Robinson, Esq.,                            Bank of America,
Stephen J. Kaufman, Esq.,                           Law Office of Kevin E. Robinson,                    Tampa Mail Services
2020 Main Street, Suite 345                         970 West 17th Street, Suite D                       PO Box 31785
Irvine, CA 92614                                    Santa Ana, CA 92706                                 Tampa, FL 33631

Michael P. McNamara, Esq.                           Cordell Meredith,                                   Employment Dev. Dept.,
Jenner and Block LLP                                6552 Horseshoe Lane                                 Bankruptcy Group MIC 92E
633 W. 5th Street, Ste. 360                         Huntington Beach, CA 92648                          P.O. Box 826880
Los Angeles, CA 90071                                                                                   Sacramento, CA 94280

Franchise Tax Board Bankruptcy                      Pelican Crest II Community,                         State Board of Equalization,
Sect, MS: A-340                                     Newport Coast Community Assoc,                      Acct. Information Group,
P.O. Box 2952                                       c/o FirstService Residential Calif,                 MIC: 29
Sacramento, CA 95812                                P.O. Box 62053                                      P.O. Box 942879
                                                    Newark, NJ 07101                                    Sacramento, CA 94279

Total Lender Solutions, Inc.                        Total Lender Solutions, Inc.                        Irvine Ranch Water District,
10505 Sorrento Valley Rd.                           PO Box 910739                                       P.O. Box 51403,
Suite 125                                           San Diego, CA 92191                                 Los Angeles, CA 90051
San Diego, CA 92121

Ronald K. Brown Jr.                                 Katherine J Meredith, c/o S.B.S.
Law Offices of Ronald K. Brown,                     Trust Deed Network
Jr., APC                                            31194 La Baya Drive #106,
901 Dove Street, Suite 120                          Westlake Village, CA 91362
Newport Beach, CA 92660




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                       Adversary Proceeding Cover Sheet Page 1 of 2
 B1040 (FORM 1040) (12/15)

        ADVERSARY PROCEEDING COVER SHEET                                                        ADVERSARY PROCEEDING NUMBER
                                                                                                (Court Use Only)
                (Instructions on Reverse)

PLAINTIFFS                                                                       DEFENDANTS



ATTORNEYS (Firm Name, Address, and Telephone No.)                                ATTORNEYS (If Known)



PARTY (Check One Box Only)                                                       PARTY (Check One Box Only)
                  Trustee/Bankruptcy Admin                                         Debtor                 U.S. Trustee/Bankruptcy Admin
                                                                                   Creditor               Other
                                                                                   Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)




                                                                     NATURE OF SUIT

       (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

   FRBP 7001(1) – Recovery of Money/Property                                     FRBP 7001(6) – Dischargeability (continued)
   11-Recovery of money/property - §542 turnover of property                        61-Dischargeability - §523(a)(5), domestic support
   12-Recovery of money/property - §547 preference                                  68-Dischargeability - §523(a)(6), willful and malicious injury
   13-Recovery of money/property - §548 fraudulent transfer                         63-Dischargeability - §523(a)(8), student loan
   14-Recovery of money/property - other                                            64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                       (other than domestic support)
   FRBP 7001(2) – Validity, Priority or Extent of Lien                              65-Dischargeability - other
   21-Validity, priority or extent of lien or other interest in property
                                                                                 FRBP 7001(7) – Injunctive Relief
   FRBP 7001(3) – Approval of Sale of Property                                      71-Injunctive relief – imposition of stay
   31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                    72-Injunctive relief – other

  FRBP 7001(4) – Objection/Revocation of Discharge                               FRBP 7001(8) Subordination of Claim or Interest
4 41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                    81-Subordination of claim or interest

   FRBP 7001(5) – Revocation of Confirmation
                                                                                 FRBP 7001(9) Declaratory Judgment
   51-Revocation of confirmation                                                    91-Declaratory judgment

   FRBP 7001(6) – Dischargeability                                               FRBP 7001(10) Determination of Removed Action
   66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
                                                                                    01-Determination of removed claim or cause
   62-Dischargeability - §523(a)(2), false pretenses, false representation,
       actual fraud                                                              Other
   67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny       SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                      (continued next column)                                        02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
  Check if this case involves a substantive issue of state law                     Check if this is asserted to be a class action under FRCP 23
                 trial is demanded in complaint                                  Demand $
Other Relief Sought


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                      Adversary Proceeding Cover Sheet Page 2 of 2
 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.

DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE

                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                 ADVERSARY
                                                                                                         PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                    NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)




                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.

                                                                                                  EXHIBIT 4, PAGE 88
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          Summons and Notice of Status Conference in Adversary Proceeding Page 1 of 3

 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Michael I. Gottfried (SBN 146689)
 Roye Zur (SBN 273875)
 10345 W. Olympic Blvd.
 Los Angeles, CA 90064
 T: (310) 746-4400
 F: (310) 746-4499
 mgottfried@elkinskalt.com
 rzur@elkinskalt.com




 Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISIONDIVISION

 In re:
 Don Teruo Kojima and Susan Lorraine Kojima
                                                                          CASE NO.: 8:21-bk-11352-TA
                                                                          CHAPTER: 11
                                                                          ADVERSARY NO.:

                                                          Debtor(s).
Chase Kaufman, Michael Garrison, and Zach Powers




                                                          Plaintiff(s)
                                                                             SUMMONS AND NOTICE OF STATUS
                               Versus                                     CONFERENCE IN ADVERSARY PROCEEDING
                                                                                      [LBR 7004-1]
 Don Teruo Kojima and Susan Lorraine Kojima




                                                      Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

            Hearing Date:                                 Address:
            Time:                                            255 East Temple Street, Los Angeles, CA 90012
            Courtroom:                                       3420 Twelfth Street, Riverside, CA 92501
                                                             411 West Fourth Street, Santa Ana, CA 92701
                                                             1415 State Street, Santa Barbara, CA 93101
                                                             21041 Burbank Boulevard, Woodland Hills, CA 91367

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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          Summons and Notice of Status Conference in Adversary Proceeding Page 2 of 3


You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                By:
                                                                                             Deputy Clerk




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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           Summons and Notice of Status Conference in Adversary Proceeding Page 3 of 3


                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
_________________________________________________________________________________________________
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                         Printed Name                                                    Signature



          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                       Page 3                                   F 7004-1.SUMMONS.ADV.PROC
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CIVDS2001906
GARRISON, ETAL -V- KOJIMA, ETAL


Case Information                                          Case Flags
Case Type:            Fraud Unlimited
Case Number:          CIVDS2001906
Citation Number:
Filing Date:          1/22/2020
Case Status:          Active
Court Location:       San Bernardino
Judicial Officer:     Gilbert Ochoa
Next Hearing:         2/23/2023 9:00AM Dept S24
                      - SBJC


Demographic Information                                   Address
Date of Birth                                             Street Name:
Race:                                                     City:
Sex:                                                      State:
Height:                 #Error                            Zip:
Weight:
Hair Color:
Eye Color:
DL #:
FBI #:
State ID:



Alias(s) / Nickname(s)




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Case Summary (CIVDS2001906)                                                      11/29/2022 17:28:01




Cross Reference



Parties
Type                    Name                                                    Status
Conversion Event        CONV                                                    Active
Erroneously Sued As     KOJIMA, DONALD TERUO                                    Active
Plaintiff               GARRISON, MICHAEL                                       Active
Plaintiff               KAUFMAN, CHASE MILES                                    Active
Plaintiff               POWERS, ZACHARY                                         Active
Defendant               KOJIMA, CAMERON TERUO                                   Active
Defendant               KOJIMA, DONALD TERUO                                    Inactive
Defendant               KOJIMA, SUSAN                                           Active
Defendant               KOJIMA, DON TERUO                                       Active
                        KOJIMA, DONALD TERUO
Defendant               Kojima, Donald Teruo                                    Active
Defendant               Cameron Ranch Adelanto Partners, LLC                    Active
                        A CALIFORNIA LIMITED LIABILITY COMPANY
Defendant               Cameron Ranch Associates, LLC                           Active
                        A CALIFORNIA LIMITED LIABILITY COMPANY
Defendant               Apollo Cultivation Management, LLC                      Active
                        A CALIFORNIA LIMITED LIABILITY COMPANY
Defendant               Apollo Management, LLC                                  Active
                        A CALIFORNIA LIMITED LIABILITY COMPANY
Defendant               Dionysus Cultivation Partners I, LLC                    Active
                        A CALIFORNIA LIMITED LIABILITY COMPANY
Defendant               Dionysus Cultivation Partners II, LLC                   Active
                        A CALIFORNIA LIMITED LIABILITY COMPANY
Defendant               Dionysus Cultivation Partners III, LLC                  Active
                        A CALIFORNIA LIMITED LIABILITY COMPANY
Defendant               Mitsui Adelanto Partners, LLC                           Active
                        A CALIFORNIA LIMITED LIABILITY COMPANY
Defendant               CK Development Associates, LLC                          Active
                        A CALIFORNIA LIMITED LIABILITY COMPANY




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Parties
Type                     Name                                                    Status
Defendant                Kojima Development Company, LLC                         Active
                         A CALIFORNIA LIMITED LIABILITY COMPANY
Defendant                DOES 1-100                                              Active
Defendant                Kojima, Don Teruo                                       Active
                         KOJIMA, DONALD TERUO
Plaintiff in 1st Cross   Cameron Ranch Adelanto Partners, LLC                    Active
Complaint                A CALIFORNIA LIMITED LIABILITY COMPANY
Plaintiff in 1st Cross   Apollo Cultivation Management, LLC                      Active
Complaint                A CALIFORNIA LIMITED LIABILITY COMPANY
Plaintiff in 1st Cross   Apollo Management, LLC                                  Active
Complaint                A CALIFORNIA LIMITED LIABILITY COMPANY
Plaintiff in 1st Cross   Dionysus Cultivation Partners I, LLC                    Active
Complaint                A CALIFORNIA LIMITED LIABILITY COMPANY
Plaintiff in 1st Cross   Dionysus Cultivation Partners II, LLC                   Active
Complaint                A CALIFORNIA LIMITED LIABILITY COMPANY
Plaintiff in 1st Cross   Dionysus Cultivation Partner III, LLC                   Active
Complaint                A CALIFORNIA LIMITED LIABILITY COMPANY
Plaintiff in 1st Cross   Mitsui Adelanto Partners, LLC                           Active
Complaint                A CALIFORNIA LIMITED LIABILITY COMPANY
Plaintiff in 1st Cross   CK Development Associates, LLC                          Active
Complaint                A CALIFORNIA LIMITED LIABILITY COMPANY
Defendant in 1st Cross   Garrison, Michael                                       Active
Complaint
Defendant in 1st Cross   Kaufman, Chase Miles                                    Active
Complaint
Defendant in 1st Cross   Powers, Zachary                                         Active
Complaint
Defendant in 1st Cross   ROES 1 through 100, inclusive                           Active
Complaint




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Attorneys
Representing                                       Name
MICHAEL GARRISON                                   TQM Law Corporation
CHASE MILES KAUFMAN                                TQM Law Corporation
ZACHARY POWERS                                     TQM Law Corporation
CAMERON TERUO KOJIMA                               Law Office of Ross L. Hollenkamp
SUSAN KOJIMA                                       Law Office of Ross L. Hollenkamp
Cameron Ranch Adelanto Partners, LLC               Law Office of Ross L. Hollenkamp
Cameron Ranch Associates, LLC                      Law Office of Ross L. Hollenkamp
Apollo Cultivation Management, LLC                 Law Office of Ross L. Hollenkamp
Apollo Management, LLC                             Law Office of Ross L. Hollenkamp
Dionysus Cultivation Partners I, LLC               Law Office of Ross L. Hollenkamp
Dionysus Cultivation Partners II, LLC              Law Office of Ross L. Hollenkamp
Dionysus Cultivation Partners III, LLC             Law Office of Ross L. Hollenkamp
Mitsui Adelanto Partners, LLC                      Law Office of Ross L. Hollenkamp
CK Development Associates, LLC                     Law Office of Ross L. Hollenkamp
Kojima Development Company, LLC                    Law Office of Ross L. Hollenkamp
Don Teruo Kojima                                   Law Office of Ross L. Hollenkamp
Cameron Ranch Adelanto Partners, LLC               Law Office of Ross L. Hollenkamp
Apollo Cultivation Management, LLC                 Law Office of Ross L. Hollenkamp
Apollo Management, LLC                             Law Office of Ross L. Hollenkamp
Dionysus Cultivation Partners I, LLC               Law Office of Ross L. Hollenkamp
Dionysus Cultivation Partners II, LLC              Law Office of Ross L. Hollenkamp
Dionysus Cultivation Partner III, LLC              Law Office of Ross L. Hollenkamp
Mitsui Adelanto Partners, LLC                      Law Office of Ross L. Hollenkamp
CK Development Associates, LLC                     Law Office of Ross L. Hollenkamp
Michael Garrison                                   TQM Law Corporation
Michael Garrison                                   Each Legal, PC
Chase Miles Kaufman                                TQM Law Corporation
Chase Miles Kaufman                                Each Legal, PC
Zachary Powers                                     TQM Law Corporation
Zachary Powers                                     Each Legal, PC



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Events
File Date   File Type                         Filed By
11/23/2022 Amended Cross Complaint and        Cameron Ranch Adelanto Partners, LLC, Apollo Cultivation
           Proof of Service Filed             Management, LLC, Apollo Management, LLC, Dionysus Cultivation
                                              Partners I, LLC, Dionysus Cultivation Partners II, LLC, Dionysus
                                              Cultivation Partner III, LLC, Mitsui Adelanto Partners, LLC, CK
                                              Development Associates, LLC
Comment: First Amended Cross complaint filed on 11/23/2022
11/8/2022   Fax Received
Comment: notice of remote appearance
11/8/2022   Correspondence Coversheet          TQM Law Corporation, Law Office of Ross L. Hollenkamp, Each
            Generated to Mail:                Legal, PC
Comment: Minute Order dated 11/08/22
11/8/2022   Court Order Filed
Comment: Court's Ruling on Demurrer to Cross Complaint
11/8/2022   Notice of Remote Appearance           CHASE KAUFMAN
Comment: Plaintiff Notice of Remote Appearance (hearing already heald)
11/8/2022   Correspondence Coversheet          TQM Law Corporation, Law Office of Ross L. Hollenkamp, Each
            Generated to Mail:                Legal, PC
Comment: Minute Order dated 11/08/22
11/8/2022   Filing Fee Paid by                    CHASE KAUFMAN
Comment: $5.00 fee paid on 11/8/22 for fax fees
11/8/2022   Leave of Court Granted for        Cameron Ranch Adelanto Partners, LLC, Apollo Cultivation
                                              Management, LLC, Apollo Management, LLC, Dionysus Cultivation
                                              Partners I, LLC, Dionysus Cultivation Partners II, LLC, Dionysus
                                              Cultivation Partner III, LLC, Mitsui Adelanto Partners, LLC, CK
                                              Development Associates, LLC
Comment: 10 days leave to amend
10/10/2022 Summons Issued on
Comment: 1st Amended Complaint
10/6/2022   Proof of Service Filed                Michael Garrison, Chase Kaufman, Zachary Powers
Comment: as to Demurrer to Cross Complaint
10/6/2022   Declaration Filed                     Michael Garrison, Chase Kaufman, Zachary Powers




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Events
File Date   File Type                             Filed By
Comment: Dec of Laura D. Each Re Meet and Confer in support of Demurrer to Cross-Complaint filed by Cross-
         Defendants filed on 10/6/22
10/6/2022   Demurrer Filed                         Michael Garrison, Chase Kaufman, Zachary Powers
Comment: to Cross-Complaint filed by Cross-Defendants filed on 10/6/22
9/1/2022    Declaration Filed                      MICHAEL GARRISON, CHASE KAUFMAN, ZACHARY POWERS
Comment: Declaration of Laura D. Each In Support of Automatic Extension to October 8, 2022 For Cross-Defendants
         to File Demurrer to Cross-COmplaint of Cameron Ranch Adelanto Partners, LLC; Dionysus Cultivation
         Partners I, LLC; Dionysus Cultivation Partners II LLC; Dionysus Cultivation partners III, LLC; Mitsui Adelanto
         PArtners, LLC; and CK Development Associates, LLC
8/8/2022    Filing Fee Paid by                     Cameron Ranch Adelanto Partners, LLC, Cameron Ranch Associates,
                                                  LLC, Apollo Cultivation Management, LLC, Apollo Management, LLC,
                                                  Dionysus Cultivation Partners I, LLC, Dionysus Cultivation Partners II,
                                                  LLC, Dionysus Cultivation Partners III, LLC, Mitsui Adelanto Partners,
                                                  LLC, CK Development Associates, LLC, Kojima Development
                                                  Company, LLC
Comment: $4350.00 check paid on 08-16-22 for first appearance fees
8/8/2022    Cross-Complaint Filed                 Cameron Ranch Adelanto Partners, LLC, Apollo Cultivation
                                                  Management, LLC, Apollo Management, LLC, Dionysus Cultivation
                                                  Partners I, LLC, Dionysus Cultivation Partners II, LLC, Dionysus
                                                  Cultivation Partner III, LLC, Mitsui Adelanto Partners, LLC, CK
                                                  Development Associates, LLC
Comment: Filed by defendants/Cross-complainants Cameron Ranch Adelanto Partners, LLC on amended complaint
         filed on 05-03-22
8/8/2022    Answer Filed                           Cameron Ranch Adelanto Partners, LLC, Cameron Ranch Associates,
                                                  LLC, Apollo Cultivation Management, LLC, Apollo Management, LLC,
                                                  Dionysus Cultivation Partners I, LLC, Dionysus Cultivation Partners II,
                                                  LLC, Dionysus Cultivation Partners III, LLC, Mitsui Adelanto Partners,
                                                  LLC, CK Development Associates, LLC, Kojima Development
                                                  Company, LLC
Comment: AND Demand for Jury Trial; Filed by defendant Cameron Ranch Adelanto Partners, LLC on amended
         complaint filed on 05-03-22
7/5/2022    Notice of Association of Counsel for MICHAEL GARRISON, CHASE KAUFMAN, ZACHARY POWERS
            Plaintiff Filed
Comment: Filed by plainitff michael Garrison, et al. on complaint filed 5/3/22
6/23/2022   Fax Received
Comment: summons-first amended complaint


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Events
File Date   File Type                            Filed By
6/23/2022   Filing Fee Paid by                   TQM Law Corporation
Comment: $4.30 cc paid on 10.12.22 for faxes, copies, and mailing
6/8/2022    Answer Filed                         CAMERON KOJIMA, SUSAN KOJIMA, Don Kojima
Comment: Filed by defendants Cameron Teruo Kojima, Don Teruo Kojima and Susan Kojima on First Amended
         Complaint filed 5/3/22
5/26/2022   Document is Returned by Court for    MICHAEL GARRISON, CHASE KAUFMAN
            the Following Reason(s):
Comment: Proof of Service/ #1 of the items served is unreadable
5/3/2022    Order Filed Re:                      MICHAEL GARRISON
Comment: Granting Motion for Leave to Amend Complaint
5/3/2022    Amended Complaint Filed              MICHAEL GARRISON, CHASE KAUFMAN, ZACHARY POWERS
Comment: First Amended Complaint filed by Plaintiffs against Defendants
4/25/2022   Notice Filed                         MICHAEL GARRISON, CHASE KAUFMAN, ZACHARY POWERS
Comment: of entry of order 4/19/22 filed by plaintiffs
4/21/2022   Volume Begins on this Date
Comment: Volume 2 4/5/22 - Present
4/21/2022   New Volume Made. Volume
            Includes Documents Filed Between
Comment: Volume 1 1/22/20 - 3/25/22
4/19/2022   Correspondence Coversheet
            Generated to Mail:
Comment: Copy of 4/19/22 minute order and ruling.
4/19/2022   Order Filed Re:                      MICHAEL GARRISON
Comment: Granting Motion for Leave to Amend Complaint
4/19/2022   Notice of Entry of Judgment or
            Order
4/19/2022   Correspondence Coversheet
            Generated to Mail:
Comment: Copy of 4/19/22 minute order and ruling.
4/19/2022   Order Filed Re:
Comment: Ruling on Motion for Leave to file Amended Complaint.
4/7/2022    Miscellaneous Document Filed         CAMERON KOJIMA, SUSAN KOJIMA, DON KOJIMA


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Events
File Date   File Type                          Filed By
Comment: Defendants' Statement of Non-Opposition to Plaintiffs' Motion for leave to file First Amended Complaint
         filed by all Defendants on 4/7/22
4/7/2022    Substitution of Attorney Filed      SUSAN KOJIMA
Comment: filed by Defendant Susan Kojima on 4/7/22
4/7/2022    Substitution of Attorney Filed      DON KOJIMA
Comment: filed by Defendant Don Teruo Kojima on 4/7/22
4/6/2022    Order Filed Re:
Comment: Order Granting Ex Parte- Application to Continue Trial
4/6/2022    Opposition to Motion Filed          CAMERON KOJIMA, DON KOJIMA
Comment: DEF OPPOSITION TO PLA EX PARTE APPLICATION TO CONTINUE TRIAL
4/6/2022    Declaration re:                     CAMERON KOJIMA, SUSAN KOJIMA, DON KOJIMA
Comment: DECLARATION OF RESSL. HOLLENKAMP, ESQ. IN SUPPORT OF DEF OPPOSITION TO PLA EX PARTE
         APPLICATION TO CONTINUE TRIAL
4/5/2022    Declaration re:                     MICHAEL GARRISON, CHASE KAUFMAN, ZACHARY POWERS
Comment: DECLARATION OF ALON HACOHEN ISO EX PARTE APPLICATION TO CONTINUE TRIAL OR IN THE
         ALTERNATIVE TO SHORTEN TIME AND SPECIALLY SET FOR HEARING A MOTION TO CONTINUE TRIAL
4/5/2022    Filing Fee Paid by                  MICHAEL GARRISON
Comment: $90.00 Check for Ex Parte fees paid on 04/05/2022
4/5/2022    Ex Parte Application                MICHAEL GARRISON, CHASE KAUFMAN, ZACHARY POWERS
Comment: EX PARTE APPLICATION TO CONTINUE TRIAL FOLLOWING BANKRUPTCY COURT ORDER LIFTING THE
         AUTOMATIC STAY OR IN THE ALTERNATIVE TO SHORTEN TIME AND SPECIALLY SETTING FOR HEARING
         A MOTION TO CONTINUE TRIAL;MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
3/25/2022   Motion for Leave to File Amended    MICHAEL GARRISON, ZACHARY POWERS
            Complaint
Comment: Pltfs' Motion for Leave to File First Amended Complaint
3/25/2022   Declaration in Support of Motion re: TQM Law Corporation
Comment: Moton for Leave of Court to Amend
3/25/2022   Comment:
Comment: fax received
3/25/2022   Points and Authorities Filed        MICHAEL GARRISON, ZACHARY POWERS
Comment: Pltfs' P&A's iso Motion for Leave to Amend
3/25/2022   Comment:


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Events
File Date   File Type                            Filed By
Comment: Fax received
3/25/2022   Filing Fee Paid by                   MICHAEL GARRISON
Comment: $90.00 ez pd on 3/28/2022 for motion
3/25/2022   Notice of Returned Documents
Comment: check # D5018158 in the amount of $90.00 RETURNED via Attorney Bin. Fees were paid through turbo
         court.
2/7/2022    Notice of Pendency of Action Filed   MICHAEL GARRISON, CHASE KAUFMAN, ZACHARY POWERS
Comment: Filed by plaintiffs MIchael Garrison, Chasse Kaufman, and Zachary Powers on complaint filed 01/22/2020.
2/7/2022    Notice of Pendency of Action Filed   MICHAEL GARRISON, CHASE KAUFMAN, ZACHARY POWERS
Comment: Filed by plaintiffs Michael Garrison, Chase Kaufman, and Zachary Powers on complaint filed 01/22/2020.
2/7/2022    Notice of Pendency of Action Filed   MICHAEL GARRISON, CHASE KAUFMAN, ZACHARY POWERS
Comment: Filed by plaintiffs Michael Garrison, Chase Kaufman, and Zachary Powers on complaint filed 01/22/2020.
2/7/2022    Filing Fee Paid by                   MICHAEL GARRISON, CHASE KAUFMAN, ZACHARY POWERS
Comment: $120 check paid on 03/25/2022 for 3 lis pendens.
2/3/2022    Document is Returned by Court for    MICHAEL GARRISON, CHASE KAUFMAN, ZACHARY POWERS
            the Following Reason(s):
Comment: (Three) Notice of Pendency of Action- Each Lis Pendens requires a $40.00 fee. Please resubmit with
         appropriate fee.
1/31/2022   Substitution of Attorney Filed       CAMERON KOJIMA
11/29/2021 Correspondence Coversheet             TQM Law Corporation, CAMERON KOJIMA, SUSAN KOJIMA, DON
           Generated to Mail:                    KOJIMA
Comment: Minute order dated 11/29/21
11/3/2021   Notice of Advanced Jury Fees         MICHAEL GARRISON
            Posted Filed
Comment: filed by Plainiffs Michael Garrison, Chase Miles Kaufman, Zachary Powers
11/3/2021   Filing Fee Paid by                   MICHAEL GARRISON, CHASE KAUFMAN, ZACHARY POWERS
Comment: $150.00 ck paid on 11/05/2021 for Advanced Jury Fees
9/13/2021   Substitution of Attorney Filed       MICHAEL GARRISON
Comment: filed by Plaintiff Michael Garrison on 9/13/21
9/13/2021   Substitution of Attorney Filed       CHASE KAUFMAN
Comment: filed by Plaintiff Chase Kaufman on 9/13/21




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Events
File Date   File Type                            Filed By
9/13/2021   Substitution of Attorney Filed       ZACHARY POWERS
Comment: filed by Plaintff Zachary Powers on 9/13/21
7/28/2021   Notice of Pendency of Action Filed   MICHAEL GARRISON, CHASE KAUFMAN, ZACHARY POWERS
Comment: (recorded) filed by all Plaintiffs on Complaint filed 1/22/2020
7/12/2021   Filing Fee Paid by                   MICHAEL GARRISON, ZACHARY POWERS, CAMERON KOJIMA
Comment: $40.00 Check for Lis Pendens paid on 07/12/2021
7/12/2021   Balance Paid on Case                 MICHAEL GARRISON, CHASE KAUFMAN, ZACHARY POWERS
6/28/2021   Balance Due on Case                  MICHAEL GARRISON
Comment: Lis Pendens Fees $40
6/28/2021   Filing Fees Due to the Court on or   MICHAEL GARRISON
            Before
Comment: Lis Pendens fee
6/25/2021   Notice of Pendency of Action Filed   MICHAEL GARRISON
6/2/2021    Document(s) Placed in File           DON KOJIMA
Comment: United States Bankruptcy Court Central District of California - Santa Ana Division
         Substitution of Attorney
5/27/2021   Notice of Bankruptcy Filed           SUSAN KOJIMA, DON KOJIMA
            (Individual Party)
Comment: Case not stayed.
8/14/2020   Proof of Sub-Service Filed, As to:
            with fees of:
Comment: PROOF OF SUB-SERVICE OF SUMMONS AND COMP/PET AS TO CAMERON TERUO KOJIMA SERVED ON
         01/31/20 WITH FEES OF $212.37.
8/6/2020    Notice of Return of Document(s)
Comment: NOTICE OF RETURN OF DOCUMENT(S)
8/6/2020    Document is Returned by Court for
            the Following Reason(s):
Comment: PROOF OF SERVICE IS RETURNED BY COURT FOR THE FOLLOWING REASON(S): THE DATE ON THE
         FOLLOWING DOCUMENT IS INCORRECT AND NEEDS TO BE ADJUSTED TO THE COR.
7/22/2020   Conversion event
Comment: INITIAL TRIAL SETTING CONFERENCE ORDER SIGNED AND FILED.
7/22/2020   Order Filed Re:



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Case Summary (CIVDS2001906)                                                        11/29/2022 17:28:01




Events
File Date   File Type                            Filed By
Comment: ORDER RE: DISCOVERY CONFERENCE FILED
7/22/2020   Document(s) Placed in File
Comment: TRIAL COURT ORDERS FOR DEPT. S24 PLACED IN FILE
7/20/2020   Proof of Sub-Service Filed, As to:
            with fees of:
Comment: PROOF OF SUB-SERVICE OF SUMMONS AND COMP/PET AS TO DON TERUO KOJIMA SERVED ON
         03/23/20 WITH FEES OF $406.60.
7/20/2020   Proof of Service of Summons and
            Comp/Pet Filed
Comment: PROOF OF SERVICE OF SUMMONS AND COMP/PET ON SUSAN KOJIMA; DEFENDANT/RESPONDENT
         SERVED ON 01/22/20 WITH COSTS OF $200.91 FILED.
6/11/2020   Party Removed
Comment: ON COMPLAINT (UNLIMITED) OF MICHAEL GARRISON, DONALD TERUO KOJIMA REMOVED AS A PARTY.
6/10/2020   Party Added
Comment: ON THE COMPLAINT (UNLIMITED) OF MICHAEL GARRISON, DON TERUO KOJIMA IS ADDED AS A
         DEFENDANT.
6/10/2020   Defendant First Paper Fee Paid in
            Full
Comment: DEFENDANT DON TERUO KOJIMA FIRST PAPER FEE PAID IN FULL
6/10/2020   Answer Filed                         DON KOJIMA
Comment: ANSWER FILED BY DON TERUO KOJIMA; PARTY REPRESENTED BY PRO/PER.
6/10/2020   AKA added for Defendant
Comment: ON COMPLAINT (UNLIMITED) OF MICHAEL GARRISON FOR DON TERUO KOJIMA, ADD DONALD TERUO
         KOJIMA.
6/10/2020   Filing Fee Paid by
Comment: FILING FEE PAID BY DON TERUO KOJIMA FOR FIRST PAPER FEES
         200611-0150-CK CVT/ 435.00         PAYMT
         200611-0150-CK REFERENCE NUMBER 3713442
5/29/2020   Notice Sent re:
Comment: NOTICE OF RETURN OF DOCUMENTS SENT.
3/11/2020   Answer Filed                         CAMERON KOJIMA
Comment: ANSWER FILED BY CAMERON TERUO KOJIMA; PARTY REPRESENTED BY PRO/PER.
3/11/2020   Filing Fee Paid by


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     Case 8:21-bk-11352-TA          Doc 317 Filed 11/29/22 Entered 11/29/22 19:38:59    Desc
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Events
File Date   File Type                           Filed By
Comment: FILING FEE PAID BY CAMERON TERUO KOJIMA FOR ANSWER
         200311-0039-CK CVT/ 435.00         PAYMT
         200311-0039-CK REFERENCE NUMBER 3713271
3/11/2020   Defendant First Paper Fee Paid in
            Full
Comment: DEFENDANT CAMERON TERUO KOJIMA FIRST PAPER FEE PAID IN FULL
3/10/2020   Attorney Added for Defendant
Comment: ON COMPLAINT (UNLIMITED) OF MICHAEL GARRISON FOR CAMERON TERUO KOJIMA, ATTORNEY
         PRO/PER ADDED.
3/10/2020   Notice of Return of Document(s)
Comment: NOTICE OF RETURN OF DOCUMENT(S)
3/10/2020   Document is Returned by Court for
            the Following Reason(s):
Comment: ANSWER IS RETURNED BY COURT FOR THE FOLLOWING REASON(S): DEF CAMERON TERUO KOJIMA
         MUST ANSWER AS SUED OR STATE ESA.
2/20/2020   Answer Filed                        SUSAN KOJIMA
Comment: ANSWER FILED BY SUSAN KOJIMA; PARTY REPRESENTED BY PRO/PER.
2/20/2020   Filing Fee Paid by
Comment: FILING FEE PAID BY SUSAN KOJIMA FOR FIRST APPEARANCE FEE
         200220-0035-CK CVT/ 435.00          PAYMT
         200220-0035-CK REFERENCE NUMBER 3713193
2/20/2020   Defendant First Paper Fee Paid in
            Full
Comment: DEFENDANT SUSAN KOJIMA FIRST PAPER FEE PAID IN FULL
1/22/2020   Complaint and Party Information
            Entered
Comment: COMPLAINT AND PARTY INFORMATION ENTERED
1/22/2020   Update Party Address
Comment: PARTY ZACHARY POWERS UPDATED: PLAINTIFF'S NAME
1/22/2020   Filing Fee Paid by                  CHASE KAUFMAN, ZACHARY POWERS
Comment: FILING FEE PAID BY MICHAEL GARRISON, CHASE MILES KAUFMAN, ZACHARY POWERS FOR 1ST
         APPEARANCE FEE
         200122-1040-CK CVH/ 435.00           PAYMT




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Events
File Date    File Type                            Filed By
1/22/2020    Civil Case Cover Sheet Filed
Comment: CIVIL CASE COVER SHEET FILED.
1/22/2020    Notice Imaged
Comment: NOTICE IMAGED
1/22/2020    Summons Issued and Filed
Comment: SUMMONS ISSUED AND FILED
1/22/2020    Case Number Changed
Comment: CASE NUMBER CHANGED FROM CIV/DS2991906
1/22/2020    Certificate of Assignment Received
Comment: CERTIFICATE OF ASSIGNMENT RECEIVED.
1/22/2020    Case Assigned for All Purposes
Comment: CASE ASSIGNED FOR ALL PURPOSES TO DEPARTMENT S24



Hearings
Department       Judge                Court Reporter Type               Date         Time     Result
Department       Ochoa, Gilbert                       Demurrer: to Cross 11/8/2022   8:30AM   Held
S24 - SBJC                                            Complaint filed by
                                                      Cross-Defendants
                                                      filed on 10/6/22




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Case Summary (CIVDS2001906)                                                                 11/29/2022 17:28:01




Hearings
Department     Judge              Court Reporter Type                Date         Time      Result
Department     Ochoa, Gilbert                     Ex Parte Hearing - 4/6/2022     9:00AM    Held
S24 - SBJC                                        Predisposition: EX
                                                  PARTE
                                                  APPLICATION TO
                                                  CONTINUE TRIAL
                                                  FOLLOWING
                                                  BANKRUPTCY
                                                  COURT ORDER
                                                  LIFTING THE
                                                  AUTOMATIC STAY
                                                  OR IN THE
                                                  ALTERNATIVE TO
                                                  SHORTEN TIME
                                                  AND SPECIALLY
                                                  SETTING FOR
                                                  HEARING A
                                                  MOTION TO
                                                  CONTINUE
                                                  TRIAL;MEMORAN
                                                  DUM OF POINTS
                                                  AND
                                                  AUTHORITIES IN
                                                  SUPPORT
                                                  THEREOF
Department     Ochoa, Gilbert                     Jury Trial: JURY 2/27/2023      10:00AM
S24 - SBJC                                        TRIAL --
                                                  ESTIMATED TRIAL
                                                  LENGTH HOURS.
Department     Ochoa, Gilbert                     Motion for Leave to 4/19/2022   9:00AM    Held
S24 - SBJC                                        File Amended
                                                  Complaint: Pltfs'
                                                  Motion for Leave to
                                                  File First Amended
                                                  Complaint
Department     Ochoa, Gilbert                     Order to Show      2/23/2023    9:00AM
S24 - SBJC                                        Cause Re:
                                                  Dismissal: OSC
                                                  RE: DISMISSAL
Department     Ochoa, Gilbert                     Readiness          2/23/2023    9:00AM
S24 - SBJC                                        Calendar:
                                                  READINESS
                                                  CALENDAR
               Ochoa, Gilbert                     Trial Setting     7/22/2020     9:00AM    Held
                                                  Conference: TRIAL
                                                  SETTING
                                                  CONFERENCE



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Hearings
Department         Judge               Court Reporter Type             Date         Time     Result
                                                     Trial Setting     7/22/2020    8:30AM
                                                     Conference: TRIAL
                                                     SETTING
                                                     CONFERENCE




Charges Disposition & PLEAS
Count Date                 Details                                              Citation #    Jurisdiction


           Plea:           -



Financial Transactions
Total                  $6,679.30 Total Balance:              $0.00
Date                  Charges          Payments       Credits
1/22/2020                  $435.00           $0.00           $0.00
1/22/2020                      $0.00       $435.00           $0.00
10/12/2022                     $4.30         $0.00           $0.00
10/12/2022                     $0.00         $4.30           $0.00
10/7/2022                   $90.00           $0.00           $0.00
10/7/2022                      $0.00        $90.00           $0.00
11/5/2021                  $150.00           $0.00           $0.00
11/5/2021                      $0.00       $150.00           $0.00
11/8/2022                      $5.00         $0.00           $0.00
11/8/2022                      $0.00         $5.00           $0.00
2/20/2020                  $435.00           $0.00           $0.00
2/20/2020                      $0.00       $435.00           $0.00
3/11/2020                  $435.00           $0.00           $0.00
3/11/2020                      $0.00       $435.00           $0.00
3/25/2022                  $120.00           $0.00           $0.00
3/25/2022                      $0.00       $120.00           $0.00
3/28/2022                   $90.00           $0.00           $0.00



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Date               Charges        Payments         Credits
3/28/2022                $0.00          $90.00            $0.00
4/5/2022                $90.00           $0.00            $0.00
4/5/2022                 $0.00          $90.00            $0.00
6/11/2020              $435.00           $0.00            $0.00
6/11/2020                $0.00         $435.00            $0.00
6/11/2020                $0.00           $0.00            $0.00
6/28/2021               $40.00           $0.00            $0.00
7/12/2021                $0.00          $40.00            $0.00
8/16/2022              $435.00           $0.00            $0.00
8/16/2022                $0.00         $435.00            $0.00
8/16/2022              $435.00           $0.00            $0.00
8/16/2022                $0.00         $435.00            $0.00
8/16/2022              $435.00           $0.00            $0.00
8/16/2022                $0.00         $435.00            $0.00
8/16/2022              $435.00           $0.00            $0.00
8/16/2022                $0.00         $435.00            $0.00
8/16/2022              $435.00           $0.00            $0.00
8/16/2022                $0.00         $435.00            $0.00
8/16/2022              $435.00           $0.00            $0.00
8/16/2022                $0.00         $435.00            $0.00
8/16/2022              $435.00           $0.00            $0.00
8/16/2022                $0.00         $435.00            $0.00
8/16/2022              $435.00           $0.00            $0.00
8/16/2022                $0.00         $435.00            $0.00
8/16/2022              $435.00           $0.00            $0.00
8/16/2022                $0.00         $435.00            $0.00
8/16/2022              $435.00           $0.00            $0.00
8/16/2022                $0.00         $435.00            $0.00
Total                $6,679.30       $6,679.30            $0.00




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Bonds
Type                      Description                           Posted Date    Set Date       Amount




Related Cases
Case Number      Case Type        Case SubType    Description                 Comments




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                                                      EXHIBIT 7
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11/29/22, 5:21 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)

                                             Central District of California
                                                   Claims Register
         8:21-bk-11352-TA Don Teruo Kojima and Susan Lorraine Kojima Converted 06/27/2022

                          Judge: Theodor Albert                              Chapter: 7
                          Office: Santa Ana                                  Last Date to file claims: 11/14/2022
                          Trustee: Richard A Marshack (TR)                   Last Date to file (Govt):
  Creditor:     (40821612) History                       Claim No: 1                         Status:
  Wells Fargo Bank, N.A.                                 Original Filed                      Filed by: CR
  MAC N9286-01Y                                          Date: 06/09/2021                    Entered by: Jennifer C Wong
  P.O. Box 1629                                          Original Entered                    Modified:
  Minneapolis, MN 55440-9790                             Date: 06/09/2021

    Amount claimed: $2388319.68
    Secured claimed: $2388319.68

  History:
  Details           1-1 06/09/2021 Claim #1 filed by Wells Fargo Bank, N.A., Amount claimed: $2388319.68 (Wong, Jennifer)
                    doc 12/15/2021 Supplemental Proof of Claim for CARES Forbearance Claim, Director's Form 4100S. (Claim
                                   # 1) . Filed by Creditor Wells Fargo Bank, N.A.. (Wong, Jennifer)
  Description:
  Remarks:

  Creditor:      (40801069)                              Claim No: 2                         Status:
  Internal Revenue Service                               Original Filed                      Filed by: CR
  PO Box 7346                                            Date: 06/14/2021                    Entered by: Timothy C Schakow
  Philadelphia, PA 19101-7346                            Original Entered                    Modified:
                                                         Date: 06/14/2021
                                                         Last Amendment
                                                         Filed: 09/21/2022
                                                         Last Amendment
                                                         Entered: 09/21/2022
    Amount claimed: $119777.70
    Secured claimed:      $0.00
    Priority claimed: $89243.87

  History:
  Details           2-1   06/14/2021 Claim #2 filed by Internal Revenue Service, Amount claimed: $48260.50 (Schakow,
                                     Timothy)
   Details          2-2   12/16/2021 Amended Claim #2 filed by Internal Revenue Service, Amount claimed: $121543.59
                                     (Schakow, Timothy)
   Details          2-3   09/21/2022 Amended Claim #2 filed by Internal Revenue Service, Amount claimed: $119777.70
                                     (Schakow, Timothy)
  Description:
  Remarks:


  Creditor:     (40828122)                               Claim No: 3                         Status:
  Toyota Lease Trust                                     Original Filed                      Filed by: CR
  c/o Toyota Motor Credit Corporation                    Date: 06/15/2021




https://ecf.cacb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=1926364;sc                                                             1/8


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11/29/22, 5:21 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)
  PO Box 9013                                            Original Entered                    Entered by: Ryan Forrest
  Addison, Texas 75001                                   Date: 06/15/2021                    Modified:

    Amount claimed: $2874.48

  History:
  Details           3-1   06/15/2021 Claim #3 filed by Toyota Lease Trust, Amount claimed: $2874.48 (Forrest, Ryan)
  Description:
  Remarks:

  Creditor:     (40831792)                               Claim No: 4                         Status:
  American Express National Bank                         Original Filed                      Filed by: CR
  c/o Becket and Lee LLP                                 Date: 06/18/2021                    Entered by: Greg Deegan
  PO Box 3001                                            Original Entered                    Modified:
  Malvern PA 19355-0701                                  Date: 06/18/2021

    Amount claimed: $23302.55

  History:
  Details           4-1   06/18/2021 Claim #4 filed by American Express National Bank, Amount claimed: $23302.55 (Deegan,
                                     Greg)
  Description:
  Remarks:


  Creditor:     (40832748)                               Claim No: 5                         Status:
  JPMorgan Chase Bank, N.A.                              Original Filed                      Filed by: CR
  s/b/m/t Chase Bank USA, N.A.                           Date: 06/18/2021                    Entered by: Can Guner
  c/o Robertson, Anschutz & Schneid, P.L.                Original Entered                    Modified:
  6409 Congress Avenue, Suite 100                        Date: 06/18/2021
  Boca Raton, FL 33487
    Amount claimed: $4142.70

  History:
  Details           5-1   06/18/2021 Claim #5 filed by JPMorgan Chase Bank, N.A., Amount claimed: $4142.70 (Guner, Can)
  Description:
  Remarks:

  Creditor:     (40844450)                               Claim No: 6                         Status:
  Nissan Motor Acceptance Corporation                    Original Filed                      Filed by: CR
  PO Box 9013                                            Date: 06/25/2021                    Entered by: Alexander Deegan
  Addison, Texas 75001                                   Original Entered                    Modified: 02/17/2022
                                                         Date: 06/25/2021
                                                         Last Amendment
                                                         Filed: 02/18/2022
                                                         Last Amendment
                                                         Entered: 02/18/2022
    Amount claimed: $13562.19
    Secured claimed: $13562.19

  History:
  Details           6-1   06/25/2021 Claim #6 filed by Nissan Motor Acceptance Corporation, Amount claimed: $13562.19
                                     (Forrest, Ryan)
   Details          6-2   02/18/2022 Amended Claim #6 filed by Nissan Motor Acceptance Corporation, Amount claimed:
                                     $13562.19 (Deegan, Alexander)
  Description:
  Remarks: (6-1) This Claim Has Been Redact



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11/29/22, 5:21 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)
  Creditor:     (40801085)          History              Claim No: 7                         Status:
  SoCalGas                                               Original Filed                      Filed by: CR
  PO Box 30337                                           Date: 07/07/2021                    Entered by:
  Los Angeles, CA 90030                                  Original Entered                    Modified:
                                                         Date: 07/07/2021
                                                         Last Amendment
                                                         Filed: 07/15/2022
                                                         Last Amendment
                                                         Entered: 07/15/2022
    Amount claimed: $558.69

  History:
  Details           7-1   07/07/2021 Claim #7 filed by SoCalGas, Amount claimed: $327.10 (VN)
  Details           7-2   07/15/2022 Amended Claim #7 filed by SoCalGas, Amount claimed: $558.69 (VN)
  Description: (7-1) #0263; Natural Gas Utility
  (7-2) #0263; Natural Gas Utility
  Remarks: (7-2) #2638 Natural Gas Utility


  Creditor:     (40881660)                               Claim No: 8                         Status:
  The Bank of New York Mellon fka The Bank               Original Filed                      Filed by: CR
  c/o Bank of America, N.A.                              Date: 07/28/2021                    Entered by: Nancy L Lee
  P.O. Box 31785                                         Original Entered                    Modified:
  Tampa, FL 33631-3785                                   Date: 07/28/2021

    Amount claimed: $2911545.39
    Secured claimed: $2911545.39

  History:
  Details           8-1   07/28/2021 Claim #8 filed by The Bank of New York Mellon fka The Bank, Amount claimed:
                                     $2911545.39 (Lee, Nancy)
  Description:
  Remarks:

  Creditor:     (40818421) History                       Claim No: 9                         Status:
  Katherine Meredith                                     Original Filed                      Filed by: CR
  c/o Ronald K. Brown, Jr                                Date: 09/01/2021                    Entered by: Ronald K Brown
  LAW OFFICES OF RONALD K. BROWN,                        Original Entered                    Modified:
  JR., APC                                               Date: 09/01/2021
  901 Dove Street, Suite 120                             Last Amendment
  Newport Beach, California 92660                        Filed: 11/09/2021
                                                         Last Amendment
                                                         Entered: 11/09/2021
    Amount claimed: $978012.41
    Secured claimed: $978012.41

  History:
  Details           9-1   09/01/2021 Claim #9 filed by Katherine Meredith, Amount claimed: $949330.81 (Brown, Ronald)
  Details           9-2   11/09/2021 Amended Claim #9 filed by Katherine Meredith, Amount claimed: $978012.41 (Brown,
                                     Ronald)
  Description:
  Remarks:


  Creditor:         (40927328)                           Claim No: 10                        Status:




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11/29/22, 5:21 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)
  Cameron Meredith                                       Original Filed                      Filed by: CR
  2442 Ladoga Ave                                        Date: 09/07/2021                    Entered by: Ryan D O'Dea
  Long Beach, CA 90815                                   Original Entered                    Modified:
                                                         Date: 09/07/2021

    Amount claimed: $100000.00

  History:
  Details           10-1 09/07/2021 Claim #10 filed by Cameron Meredith, Amount claimed: $100000.00 (O'Dea, Ryan)
  Description: (10-1) Dionysis II cannabis business on Adelanto property. Alter ego, fraudulent inducement
  Remarks:

  Creditor:     (40890140)                               Claim No: 11                        Status:
  Cory Meredith                                          Original Filed                      Filed by: CR
  2442 Ladoga Ave                                        Date: 09/07/2021                    Entered by: Ryan D O'Dea
  Long Beach, CA 90815                                   Original Entered                    Modified:
                                                         Date: 09/07/2021

    Amount claimed: $104000.00

  History:
  Details           11-1 09/07/2021 Claim #11 filed by Cory Meredith, Amount claimed: $104000.00 (O'Dea, Ryan)
  Description: (11-1) Cameron Ranch (2006 Invested $208,000 with ex wife. February 2016 split with ex @$104,000 each).
  Alter ego, fraudulent inducement
  Remarks:

  Creditor:     (40890140)                               Claim No: 12                        Status:
  Cory Meredith                                          Original Filed                      Filed by: CR
  2442 Ladoga Ave                                        Date: 09/07/2021                    Entered by: Ryan D O'Dea
  Long Beach, CA 90815                                   Original Entered                    Modified:
                                                         Date: 09/07/2021

    Amount claimed: $78000.00

  History:
  Details           12-1 09/07/2021 Claim #12 filed by Cory Meredith, Amount claimed: $78000.00 (O'Dea, Ryan)
  Description: (12-1) IRA Cameron Ranch Associates LLC 2010. Alter ego, fraudulent inducement
  Remarks:

  Creditor:     (40890140)                               Claim No: 13                        Status:
  Cory Meredith                                          Original Filed                      Filed by: CR
  2442 Ladoga Ave                                        Date: 09/07/2021                    Entered by: Ryan D O'Dea
  Long Beach, CA 90815                                   Original Entered                    Modified:
                                                         Date: 09/07/2021

    Amount claimed: $100000.00

  History:
  Details           13-1 09/07/2021 Claim #13 filed by Cory Meredith, Amount claimed: $100000.00 (O'Dea, Ryan)
  Description: (13-1) Dionysis II LLC cannabis business on Adelanto property 2016. Alter ego, fraudulent inducement
  Remarks:




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11/29/22, 5:21 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.4 - LIVE)
  Creditor:     (40890140)                               Claim No: 14                        Status:
  Cory Meredith                                          Original Filed                      Filed by: CR
  2442 Ladoga Ave                                        Date: 09/07/2021                    Entered by: Ryan D O'Dea
  Long Beach, CA 90815                                   Original Entered                    Modified:
                                                         Date: 09/07/2021

    Amount claimed: $40000.00

  History:
  Details           14-1 09/07/2021 Claim #14 filed by Cory Meredith, Amount claimed: $40000.00 (O'Dea, Ryan)
  Description: (14-1) $20,000 personal cash loan for personal use 2018 and $20,000 personal loan to Don Kojima to buy
  cannabis product for manufactory 2018
  Remarks:

  Creditor:     (40890140)                               Claim No: 15                        Status:
  Cory Meredith                                          Original Filed                      Filed by: CR
  2442 Ladoga Ave                                        Date: 09/07/2021                    Entered by: Ryan D O'Dea
  Long Beach, CA 90815                                   Original Entered                    Modified:
                                                         Date: 09/07/2021

    Amount claimed: $1985445.00
    Secured claimed: $1985445.00
    Priority claimed: $523945.00

  History:
  Details           15-1 09/07/2021 Claim #15 filed by Cory Meredith, Amount claimed: $1985445.00 (O'Dea, Ryan)
  Description: (15-1) Deed of Trust and Promissory Note
  Remarks:

  Creditor:     (40818421) History                       Claim No: 16                        Status:
  Katherine Meredith                                     Original Filed                      Filed by: CR
  c/o Ronald K. Brown, Jr                                Date: 09/07/2021                    Entered by: Ronald K Brown
  LAW OFFICES OF RONALD K. BROWN,                        Original Entered                    Modified:
  JR., APC                                               Date: 09/07/2021
  901 Dove Street, Suite 120
  Newport Beach, California 92660
    Amount claimed: $160320.00

  History:
  Details           16-1 09/07/2021 Claim #16 filed by Katherine Meredith, Amount claimed: $160320.00 (Brown, Ronald)
  Description:
  Remarks:


  Creditor:      (41087789)                              Claim No: 17                        Status:
  Peter Hubbard                                          Original Filed                      Filed by: CR
  Heston & Heston, Attorneys at Law                      Date: 02/04/2022                    Entered by: AUTP
  19700 Fairchild Road, Suite 280                        Original Entered                    Modified:
  Irvine, CA 92612                                       Date: 02/04/2022

    Amount claimed: $150000.00

  History:
  Details           17-1 02/04/2022 Claim #17 filed by Peter Hubbard, Amount claimed: $150000.00 (AUTP)
  Description:
  Remarks:




https://ecf.cacb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=1926364;sc                                                          5/8


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  Creditor:       (41087835)                             Claim No: 18                        Status:
  Chase Kaufman                                          Original Filed                      Filed by: CR
  Michael I. Gottfried                                   Date: 02/04/2022                    Entered by: AUTP
  c/o Elkins Kalt Weintraub Reuben Gartside              Original Entered                    Modified: 11/14/2022
  LLP                                                    Date: 02/04/2022
  10345 W. Olympic Blvd.                                 Last Amendment
  Los Angeles, CA 90064                                  Filed: 11/14/2022
                                                         Last Amendment
                                                         Entered: 11/14/2022
    Amount claimed: $14600000.00

  History:
  Details           18-1 02/04/2022 Claim #18 filed by Chase Kaufman, Amount claimed: $5000000.00 (AUTP)
  Details           18-2 11/14/2022 Amended Claim #18 filed by Chase Kaufman, Amount claimed: $14600000.00 (AUTP)
  Description:
  Remarks: (18-1) Filer Comment: Claim is in excess of $5000000
  (18-2) Filer Comment: See Attachment.

  Creditor:       (41087885)                             Claim No: 19                        Status:
  Michael Garrison                                       Original Filed                      Filed by: CR
  Michael I. Gottfried                                   Date: 02/04/2022                    Entered by: AUTP
  c/o Elkins Kalt Weintraub Reuben Gartside              Original Entered                    Modified: 11/14/2022
  LLP                                                    Date: 02/04/2022
  10345 W. Olympic Blvd.                                 Last Amendment
  Los Angeles, CA 90064                                  Filed: 11/14/2022
                                                         Last Amendment
                                                         Entered: 11/14/2022
    Amount claimed: $14600000.00

  History:
  Details           19-1 02/04/2022 Claim #19 filed by Michael Garrison, Amount claimed: $5000000.00 (AUTP)
  Details           19-2 11/14/2022 Amended Claim #19 filed by Michael Garrison, Amount claimed: $14600000.00 (AUTP)
  Description:
  Remarks: (19-1) Filer Comment: in excess of $5000000
  (19-2) Filer Comment: See Attachment

  Creditor:       (41087939)                             Claim No: 20                        Status:
  Zachary Powers                                         Original Filed                      Filed by: CR
  Michael I. Gottfried                                   Date: 02/04/2022                    Entered by: AUTP
  c/o Elkins Kalt Weintraub Reuben Gartside              Original Entered                    Modified: 11/14/2022
  LLP                                                    Date: 02/04/2022
  10345 W. Olympic Blvd.                                 Last Amendment
  Los Angeles, CA 90064                                  Filed: 11/14/2022
                                                         Last Amendment
                                                         Entered: 11/14/2022
    Amount claimed: $14600000.00

  History:
  Details           20-1 02/04/2022 Claim #20 filed by Zachary Powers, Amount claimed: $5000000.00 (AUTP)
  Details           20-2 11/14/2022 Amended Claim #20 filed by Zachary Powers, Amount claimed: $14600000.00 (AUTP)
  Description:
  Remarks: (20-1) Filer Comment: in excess of $5000000
  (20-2) Filer Comment: See Attachment.




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  Creditor:      (40801092)                              Claim No: 21                        Status:
  United States Trustee                                  Original Filed                      Filed by: CR
  411 West Fourth Street                                 Date: 10/07/2022                    Entered by: Kenneth Misken
  Suite 7160                                             Original Entered                    Modified:
  Santa Ana, CA 92701                                    Date: 10/07/2022

    Amount claimed: $72197.00
    Priority claimed: $72197.00

  History:
  Details           21-1 10/07/2022 Claim #21 filed by United States Trustee, Amount claimed: $72197.00 (Misken, Kenneth)
  Description:
  Remarks:

  Creditor:   (41331585)                                 Claim No: 22                        Status:
  FRANCHISE TAX BOARD                                    Original Filed                      Filed by: CR
  BANKRUPTCY SECTION MS A340                             Date: 11/02/2022                    Entered by: Anthony Franklin
  PO BOX 2952                                            Original Entered                    Modified:
  SACRAMENTO CA 95812-2952                               Date: 11/02/2022

    Amount claimed: $18487.19
    Priority claimed: $14789.75

  History:
  Details           22-1 11/02/2022 Claim #22 filed by FRANCHISE TAX BOARD, Amount claimed: $18487.19 (Franklin,
                                    Anthony)
  Description: (22-1) Claim Filed
  Remarks:


  Creditor:     (41354197)                               Claim No: 23                        Status:
  U.S. Bank National Association                         Original Filed                      Filed by: CR
  Bankruptcy Department                                  Date: 11/14/2022                    Entered by: Amira Avdic
  PO Box 108                                             Original Entered                    Modified:
  Saint Louis MO 63166-0108                              Date: 11/14/2022

    Amount claimed: $2914.98

  History:
  Details           23-1 11/14/2022 Claim #23 filed by U.S. Bank National Association, Amount claimed: $2914.98 (Avdic,
                                    Amira)
  Description: (23-1) Credit Card 3787
  Remarks:



                                                      Claims Register Summary
                                    Case Name: Don Teruo Kojima and Susan Lorraine Kojima
                                              Case Number: 8:21-bk-11352-TA
                                                         Chapter: 7
                                                   Date Filed: 05/26/2021
                                                Total Number Of Claims: 23

                                               Total Amount Claimed* $53053459.96
                                               Total Amount Allowed*


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                                                    *Includes general unsecured claims

       The values are reflective of the data entered. Always refer to claim documents for actual amounts.

                                                                            Claimed       Allowed
                                                 Secured                  $8276884.67
                                                 Priority                 $700175.62
                                                 Administrative



                                                         PACER Service Center
                                                              Transaction Receipt
                                                                 11/29/2022 17:21:18
                                    PACER                       Client
                                                   atty322146                9999-001
                                    Login:                      Code:
                                                                          8:21-bk-11352-TA Filed or Entered
                                                   Claims       Search
                                    Description:                          From: 1/1/1900 Filed or Entered To:
                                                   Register     Criteria:
                                                                          11/29/2022
                                    Billable
                                                   3            Cost:        0.30
                                    Pages:




https://ecf.cacb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=1926364;sc                                                     8/8


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                                       SETTLEMENT AGREEMENT

This Settlement Agreement dated as of November 23, 2022, by and among Richard A. Marshack in his
capacity as the Chapter 7 Trustee (“Trustee”) of the Bankruptcy Estate (“Estate”) of Don Kojima and
Susan Kojima (“Debtors”), on one hand, and Chase Miles Kaufman (“Kaufman”), Michael Garrison
(“Garrison”), and Zachary Powers (“Powers” and collectively with Kaufman and Garrison, “KGP”), on the
other hand, provides the terms of an agreement to: (a) resolve the competing claims of the Estate and
those held by KGP against the Debtors and other Defendants as set forth in the state court action
entitled Garrison, et al. v. Kojima, et al., Case No. CIVDS2001906, pending in the San Bernardino County
Superior Court (“State Court Action”), (b) the allowance and partially subordinated priority of claims
held by KGP against the Estate, and (c) and other issues related to Debtors’ bankruptcy case. Powers,
Kaufman, Garrison, and Trustee are each individually a “Party” and collectively, the “Parties.”

    1. The following terms of settlement are subject to and effective upon entry of a final bankruptcy
       court order (“Effective Date”) approving the terms of a definitive settlement agreement
       between the Parties (“Settlement Agreement”).

    2. Within five business days after entry of an Order approving the Settlement Agreement, Trustee
       shall file a motion to substantively consolidate the Debtors and Kojima Development Company,
       LLC (“KDC”) (“Substantive Consolidation Motion”). The granting of the Substantive Consolidation
       Motion is not a condition to the effectiveness of this agreement.

    3. Trustee shall investigate and, if appropriate, file one or more actions to avoid and recover any
       pre-petition transfers of the interests of the Debtors and KDC in property including, but not
       limited to, transfers relating to their interests in the Adelanto Entities (and/or the property
       owned by those entities) to Debtors’ son, Cameron Kojima, CK Development Associates, LLC,
       and one or more of the Adelanto Entities or other entities controlled by and/or affiliated with
       the Debtors (“Fraudulent Transfer Actions”). For the avoidance of doubt, “Fraudulent Transfer
       Actions” may include actions to determine that no such transfers actually took place. Nothing
       herein binds Trustee to administer any property or prosecute the Fraudulent Transfer Actions.
       However, if Trustee determines that he will not prosecute all or some of the potential
       Fraudulent Transfer Actions, Trustee shall assign them to KGP for their own benefit.

    4. KGP shall dismiss without prejudice the Debtors and the Debtors’ Estate from the State Court
       Action and shall seek to stay the State Court Action against all non-debtor defendants therein,
       including KDC. Except as expressly provided in paragraph 6 hereof, KGP shall not prosecute any
       claims or causes of action or seek any judgment or remedies that directly or indirectly affect the
       Estate’s rights and claims, including Trustee’s efforts to seek substantive consolidation or
       prosecute the Fraudulent Transfer Actions. The Parties will use their best efforts to resolve
       informally any disputes regarding whether KGP’s efforts conflict with Trustee’s claims. To the
       extent any dispute cannot be resolved informally, the bankruptcy court shall have the sole and
       exclusive jurisdiction to resolve any such dispute. KGP hereby irrevocably offers to assign its
       claims to Trustee. The assignment by KGP to the Trustee shall be deemed effective upon
       written notice by the Trustee of acceptance of such assignment. Following such assignment,



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      KGP’s aforementoned claims shall be prosecuted by the Estate, with recoveries to be distributed
      as set forth in paragraph 6 below.

  5. Trustee shall file an application to employ Elkins Kalt as special litigation counsel for the purpose
     of objecting to Debtors’ discharge under 11 U.S.C. § 727 (“Objection to Discharge”). The granting
     of this application is not a condition of this agreement. Subject to approval of the Bankruptcy
     Court, Elkins Kalt shall be entitled to a Chapter 7 administrative claim against the Estate for its
     allowed fees and costs related to the Objection to Discharge. Trustee has requested and Elkins
     Kalt has agreed that the Estate’s responsibility for its fees will be capped at a reduced blended
     hourly rate of $350 per hour. Elkins Kalt retains the right to seek compensation from KGP for the
     difference between its regular hourly rates and this capped blended hourly rate. Trustee shall be
     the sole plaintiff in such action and shall retain all decision-making authority. To effectuate
     these provisions, Elkins Kalt shall file Trustee’s 727 complaint and, if Elkins Kalt is approved as
     the Estate’s counsel, KGP agrees to dismiss its 727 action without prejudice. If the application to
     employ Elkins Kalt is denied, Trustee will retain alternate counsel.

  6. Pursuant to the State Court Action, KGP contends that it is entitled to, inter alia: (a) an order
     that the Adelanto Entities are a single enterprise in which KGP is the majority stakeholder; (b) a
     constructive trust over all of the assets of the Adelanto Entities; (c) general damages in an
     amount of at least $5 million; (d) punitive and exemplary damages; (e) pre-judgment interest;
     and (f) attorneys’ fees and costs. If it prevailed on all its claims, KGP contends that it would be
     the sole owner of the Adelanto Entities and its ownership of real property which would
     constitute a recovery in excess of $15 million. Trustee contends that the Estate has fraudulent
     transfer claims against, among others, Cameron Kojima and CK Development Associates, LLC to
     avoid and recover transfers by Debtors and KDC including transfers of money used to acquire
     the commercial real properties owned by the Adelanto Entities. The Parties acknowledge that
     KGP’s and Trustee’s claims may conflict in that they both seek to recover property transferred to
     or assets held by the Adelanto Entities. Based on these conflicting theories as to ownership or
     claims to the entities and their assets, Trustee and KGP agree that recovery on claims currently
     held by either shall constitute property of the Estate. If requested by Trustee, KGP’s counsel
     shall provide assistance to Trustee, including serving as special litigation counsel (on terms
     mutually acceptable to the Trustee and Elkins Kalt), to prosecute or jointly prosecute all such
     litigation claims. Subject to bankruptcy court approval, Elkins Kalt shall be entitled to an
     administrative claim at their regular hourly rates for all such services. Lastly, Trustee contends
     that some or all of KGPs claims may be subject to subordination under Section 510; KGP
     disagrees with the Trustee’s contention. To resolve such claims and as additional consideration
     given in support of this Agreement, the Parties agree that distributions by Trustee to allowed
     claims will be as follows:

          a. Allowed Chapter 7 Administrative Claims to be paid in full. Notwithstanding ¶ 7 below,
             KGP shall be responsible for and must pay all fees and expenses associated with the 4.7
             Acre Parcel including all allowed Chapter 7 administrative claims. Trustee’s
             compensation shall be calculated at 4% of the value of such property on the date of
             recovery if title is recovered and delivered to KGP.


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              b. Allowed Chapter 11 Administrative Claims, including any capital gains taxes arising from
                 Debtors’ sale of their residence, to be paid in full.
              c. Trustee and KGP shall each retain standing to respond to any applications for allowance
                 of fees and costs including any application by former counsel for the Debtors, Winthrop
                 Golubow Hollander, LLP, or any other Chapter 11 professionals.
              c. Allowed Priority Claims to be paid in full.
              d. Allowed Unsecured Claims (other than KGP) – to be paid 75% of their allowed amounts.
              e. KGP shall have an allowed claim of $6.98 million, which claim will be partially
                 subordinated to the extent necessary for other allowed unsecured claims to be paid as
                 set forth above. After other allowed unsecured claims have received distributions equal
                 to 75% of their allowed amounts, KGP shall be entitled to pro rata distributions along
                 with all other unsecured creditors based on their reduced, unpaid balances.

      7. To the extent recovered as a result of the Fraudulent Transfer Actions or otherwise, title to the
         4.7 acres (parcel number 3129-261-27 Cameron Ranch Adelanto Partners “4.7 Acre Parcel”),
         shall be vested in KGP. Nothing in this Agreement shall limit Trustee’s ability to settle any claim
         or dispute regarding the 4.7 Acre Parcel in a manner that does not include a transfer or recovery
         of real property. To the extent Trustee’s settles claims relating to the 4.7 Acre Parcel, all cash or
         other consideration attributable to the 4.7 Acre Parcel, less allowed Chapter 7 administrative
         claims relating to such property, shall be paid to KGP. To the extent that KGP does not agree to
         a cash settlement of claims relating to the 4.7 Acre Parcel, the Trustee shall promptly abandon
         or assign such claims to KGP. After any abandonment or assignment of claims, KGP’s liability to
         pay allowed Chapter 7 administrative claims including compensation to Trustee (calculated at a
         reduced 2% of the value of the property to the extent recovered or of the value of any
         settlement) shall remain payable. KGP’s allowed unsecured claim of $6.98 million shall not be
         offset or diminished by the transfer of the 4.7 Acre Parcel (or the cash or other consideration
         attributable to the 4.7 Acre Parcel) to KGP and, instead, shall be deemed to be additional
         consideration to KGP.

      8. Trustee and KGP shall each retain standing to object to the allowance of any claim regardless of
         priority. KGP shall retain standing to object to any compromise proposed by Trustee that results
         in the allowance of any unsecured claim.

      9. Except as set forth in the Settlement Agreement, the Parties shall exchange mutual and general
         releases including 1542 waivers. Trustee’s agreement to exchange such releases is dependent
         upon KGP’s representations that they have not received any transfers of property from Debtors.

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   10. Trustee’s motion for approval of the Settlement Agreement shall seek confirmation by the
       bankruptcy court that Ross Hollenkamp’s services to the Estate terminated upon conversion to
       Chapter 7. Trustee shall also seek turnover of all client documents in Mr. Hollenkamp’s
       possession including attorney-client communications. Trustee retains the privilege and decision
       whether to retain or waive such privilege.




Name: Chase Kaufman                                   Name: Richard A. Marshack
Title:                                                Title: Trustee of the Estate of Don and
Date:                                                        Susan Kojima
                                                      Date: November 23, 2022



Name: Michael Garrison
Title:
Date:



Name: Zach Powers
Title:
Date:




                                                  4



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   10. Trustee’s motion for approval of the Settlement Agreement shall seek confirmation by the
       bankruptcy court that Ross Hollenkamp’s services to the Estate terminated upon conversion to
       Chapter 7. Trustee shall also seek turnover of all client documents in Mr. Hollenkamp’s
       possession including attorney-client communications. Trustee retains the privilege and decision
       whether to retain or waive such privilege.




Name: Chase Kaufman                                   Name: Richard A. Marshack
Title:                                                Title: Trustee of the Estate of Don and
Date:                                                        Susan Kojima
                                                      Date: November 23, 2022



Name: Michael Garrison
Title:
Date:



Name: Zach Powers
Title:
Date:




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: TRUSTEE’S MOTION: (1) TO APPROVE SETTLEMENT
AGREEMENT WITH CHASE MILES KAUFMAN, MICHAEL GARRISON, AND ZACHARY POWERS, AND (2) FOR
TURNOVER OF ALL CLIENT DOCUMENTS FROM THE LAW OFFICE OF ROSS L. HOLLENKAMP; MEMORANDUM
OF POINTS AND AUTHORITIES; DECLARATION OF RICHARD A. MARSHACK IN SUPPORT will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
November 29, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On November 29, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR                                                                       JOINT DEBTOR
 DON TERUO KOJIMA                                                             SUSAN LORRAINE KOJIMA
 26 ENCHANTED                                                                 26 ENCHANTED
 IRVINE, CA 92620                                                             IRVINE, CA 92620

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on November 29, 2022, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

PURSUANT TO THE REVISED INTERIM PROCEDURES RE: COVID-19, UPDATED OCTOBER 21, 2021, OF THE
HONORABLE THEODOR C. ALBERT, CHIEF JUDGE, THE REQUIREMENT OF LBR 5005-2(d) TO PROVIDE JUDGES
COPIES IS SUSPENDED AT THIS TIME.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 29, 2022                        Layla Buchanan                                         /s/ Layla Buchanan
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR DEBTOR DON TERUO KOJIMA and JOINT DEBTOR SUSAN LORRAINE KOJIMA: Ryan A
       Baggs rabaggs@michaelbest.com
     ATTORNEY FOR CREDITOR KATHERINE MEREDITH: Ronald K Brown ron@rkbrownlaw.com
     ATTORNEY FOR DEBTOR DON TERUO KOJIMA and JOINT DEBTOR SUSAN LORRAINE KOJIMA: Richard
       H Golubow rgolubow@wghlawyers.com, jmartinez@wghlawyers.com; svillegas@wghlawyers.com
     ATTORNEY FOR CREDITOR AND PLAINTIFF CHASE KAUFMAN; CREDITOR AND PLAINTIFF MICHAEL
       GARRISON; CREDITOR AND PLAINTIFF ZACH POWERS: Michael I. Gottfried mgottfried@elkinskalt.com,
       cavila@elkinskalt.com, myuen@elkinskalt.com, docketing@elkinskalt.com
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): D Edward Hays ehays@marshackhays.com,
       ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
       cmendoza@ecf.courtdrive.com
     ATTORNEY FOR DEBTOR AND DEFENDANT DON TERUO KOJIMA, JOINT DEBTOR AND DEFENDANT
       SUSAN LORRAINE KOJIMA, and INTERESTED PARTY CAMERON KOJIMA: Ross L Hollenkamp
       rlh@hollenkamplaw.com
     ATTORNEY FOR CREDITOR THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK,
       SUCCESSOR INDENTURE TRUSTEE TO JPMORGAN CHASE BANK, N.A., AS INDENTURE TRUSTEE ON
       BEHALF OF THE NOTEHOLDERS OF THE CWHEQ INC., CWHEQ REVOLVING HOM: Nancy L Lee
       bknotice@mccarthyholthus.com, nlee@ecf.courtdrive.com
     ATTORNEY FOR DEBTOR DON TERUO KOJIMA and JOINT DEBTOR SUSAN LORRAINE KOJIMA: Peter W
       Lianides plianides@wghlawyers.com, jmartinez@wghlawyers.com; svillegas@wghlawyers.com
     CHAPTER 7 TRUSTEE RICHARD A MARSHACK (TR): Richard A Marshack (TR) pkraus@marshackhays.com,
       rmarshack@iq7technology.com; ecf.alert+Marshack@titlexi.com
     ATTORNEY FOR CREDITOR NISSAN MOTOR ACCEPTANCE CORPORATION: Kirsten Martinez
       Kirsten.Martinez@bonialpc.com, Notices.Bonial@ecf.courtdrive.com
     INTERESTED PARTY COURTESY NEF: Laila Masud lmasud@marshackhays.com,
       lmasud@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com
     ATTORNEY FOR CREDITOR NISSAN MOTOR ACCEPTANCE CORPORATION: Austin P Nagel
       edward.yoo@bonialpc.com, Notices.Bonial@ecf.courtdrive.com
     ATTORNEY FOR U.S. TRUSTEE: Queenie K Ng queenie.k.ng@usdoj.gov
     ATTORNEY FOR CREDITOR CORY MEREDITH: Ryan D O'Dea rodea@shulmanbastian.com,
       lgauthier@shulmanbastian.com
     ATTORNEY FOR CREDITOR CORY MEREDITH: Sarah M St John sstjohn@shulmanbastian.com,
       avernon@shulmanbastian.com
     ATTORNEY FOR CREDITOR WELLS FARGO BANK, N.A.: John Tamburo john.tamburo@wellsfargo.com
     U.S. TRUSTEE (SA): United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
     ATTORNEY FOR CREDITOR BANK OF AMERICA, N.A.: Katie Irene Wolff katie.wolff@bofa.com
     ATTORNEY FOR CREDITOR WELLS FARGO BANK, N.A.: Jennifer C Wong bknotice@mccarthyholthus.com,
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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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